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 Exhibit 9-1
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     1
                                 ~~--J ORIGINAL                              1


     2       UNITED STATES DISTRICT COURT NEW YORK
             FOR THE EASTERN DISTRICT OF NEW YORK
     3       ------------------------------------------X
    4        MARTIN TANKLEFF,

     5                               Plaintiff,

     6           -against-

     7       THE COUNTY OF SUFFOLK~ K. JAMES McCREADY ~
             NORMAN REIN, CHARLES KOSCIUK, ROBERT DOYLE,
     8       JOHN McLELHONE, JOHN DOE POLICE OFFICERS
             #1-10, RICHARD ROE SUFFOLK COUNTY EMPLOYEES
     9       #1-10,

    10                               Defendants.

    11       ------------------------------------------ X
    12
                                     666 Old Country Road
    13                               Garden City, New York

    14
                                     December 11, 2012
    15                               11:29 a.m.

    16

    17           DEPOSITION of K.         JAMES McCREADY, one of

    18        the Defendants herein, taken by the

    19        Plaintiff, pursuant to Federal Rules of

    20       Civil Procedure and Notice, held at the

    21        above-mentioned time and place, before Dolly

    22        Fevola, Notary Public of the State of New

    23        York.

    24

)   25



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     1                                                                    2

     2       A P P E A R A N C E S

     3
             BARKET, MARION EPSTEIN & KEARON, LLP
     4              Attorneys for the Plaintiff
                     666 Old Country Road
     5              Garden City, New York 11530
             BY:    BRUCE BARKET, ESQ.
     6              AMY MARION, ESQ.

     7       NEUFELD SCHECK & BRUSTIN, LLP
                    Attorneys for the Plaintiff
     8              99 Hudson Street, Eighth Floor
                    New York, New York 10013
     9       BY:    EMMA FREUDENPERGER, ESQ.

    10
             MILLER & CHEVALIER CHARTERED
    11              Attorneys for the Plaintiff
                    655 Fifteenth Street, NW, Suite 900
    12              Washington D.C. 20005
             BY:    BARRY J. POLLACK, ESQ.
    13
)
    14       SUFFOLK COUNTY DEPARTMENT OF LAW
                    Attorneys for the Defendants
    15              H. Lee Dennison Building
                    Hauppauge, New York
    16       BY:    RICHARD T. DUNNE, ESQ.

    17
             ALSO PRESENT:
    18
             KATHY PASCHAL,      Videographer
    19
             MARTIN TANKLEFF,       Plaintiff
    20
             ROBERT DOYLE
    21
             NORMAN REIN
    22

    23

    24

    25



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 1    I                                                                  3

 2                                     STIPULATIONS

 3           IT IS HEREBY STIPULATED AND AGREED,                 by

 4        and among counsel for the respective parties

 5        hereto,   that the filing,           sealing and

 6        certification of the within deposition shall

 7        be and the same are hereby waived;

 8           IT IS FURTHER STIPULATED AND AGREED that

 9        all objections,       except as to form of the

10        question,    shall be reserved to the time of

11        the trial;

12           IT IS FURTHER STIPULATED AND AGREED that

13        the within deposition may be signed before

14        any Notary Public with the same force and

15        effect as if signed and sworn to before the

16        Court.

17                       *         *       *
18

19

20

21

22

23

24

25



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 1                                                                       4

 2                          THE VIDEOGRAPHER:             This is reel

 3                 number one of the deposition of K.

 4                 James McCready in the matter of

 5                 Martin Tankleff versus the County of

 6                 Suffolk and others.              The United

 7                 States District Court for the

 8                 Eastern District of New York.

 9                          The deposition is being held at

10                 666 Old Country Road,             Garden City,

11                 at Barket, Marion,          Epstein & Kearon

12                 on December 11,          2012,    at

13                 approximately 11:29 a.m.

14                          My name is Kathy Paschal,             the

15                 videographer from Pro Video

16                 Productions located in Nesconset,

17                 New York.       The court reporter today

18                 is Dolly E.      Fevola,     an associate in

19                 for Fevola Reporting and

20                 Transcription Inc.

21                          Will counsel please introduce

22                 themselves and state the parties you

23                 represent.

24                          MR.   BARKET:     Bruce Barket for

25                 the Plaintiff, Martin Tankleff.



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     1                                   K.   James    McCready               5
)
     2                          MR.    POLLACK:       Barry Pollack on

     3                   behalf of Mr. Tankleff.

     4                          MS.   FREUDENPERGER:         Emma

     5                   Freudenperger also on behalf of Mr.

     6                   Tankleff.

     7                          MR.    DUNNE:     Richard T.      Dunne on

     8                   behalf of the County of Suffolk and

     9                   individually named defendants

    10                   including the next witness,           retired

    11                   Detective McCready.

    12                          THE VIDEOGRAPHER:          Will the

    13                   court reporter please swear in the
)
    14                   witness.

    15              K.   J A M E S      M c C R E A D Y,       after

    16        having been first duly sworn by a Notary

    17        Public of the State of New York,               was

    18        examined and testified as follows:

    19        EXAMINATION BY

    20        MR.    BARKET:

    21                   Q      State your name for the record,

    22        please?

    23                   A      K.    James McCready.

    24                   Q      State your address,          please.

)   25                   A      30 Yaphank,       Yaphank,    New York.



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     1                                   K.   James    McCready              6


     2                          MR.    BARKET:   Good morning,         Mr.

     3                 McCready.

     4                          THE WITNESS:          Good morning.

     5                          MR.    BARKET:    I'm going to ask

     6                 you a series of questions.              If,    at

     7                 any time,       the question is not clear

     8                 or if for whatever reason you don't

     9                 understand,       ask me to rephrase it.

    10                 If you don't ask,         we're all going to

    11                 assume that you understood the

    12                 question the way I asked.

)   13                 Q        Did you prepare or review any

    14        material in preparation for your deposition

    15        today?

    16                 A        Yes.

    17                 Q        What was that?

    18                 A        Some reports,         notes.   I don't

    19        know.    Photos, my court testimony,             I

    20        believe.     Yeah.

    21                 Q        Let's go through it.           The

    22        supplemental reports are reports that were

    23        prepared at or about the time of this

    24        investigation by you or other members of

)   25        your team?



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     1                                  K.   James   McCready              7
)
     2                 A        Yes.

     3                 Q        And those you're referring to

     4        are the notes you took concerning this

     5        investigation?

     6                 A        Yes,   and some of Norman's notes

     7        and some other notes.           Whatever I    could get

     8        my hands on.

     9                 Q        And you said you reviewed your

    10        trial testimony?

    11                 A        Yes.

    12                 Q        How about your hearing

    13        testimony?      You testified at a pretrial
)
    14        hearing;     is that right?

    15                 A        Yes.

    16                 Q        Did you review that testimony?

    17                 A        I don't remember reviewing

    18        that.

    19                 Q        You said you looked at

    20        photographs.       I'm assuming you mean crime

    21        scene photographs?

    22                 A        Yes.

    23                 Q        By the way,    you gave a number

    24        of media interviews in connection with this

)   25        case;   is that correct?



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     1                                  K.   James   McCready              8

     2                 A        Yes.

     3                 Q        Did you review the media,           look

     4        at the media interviews

     5                 A        No.

     6                 Q        -- tapes of the media

     7        interviews?

     8                 A        No.

     9                 Q        You sat through the deposition

    10        yesterday and this morning of your,                I guess,

    11        your former partner Norman Rein?

    12                 A        Yes.

    13                 Q        You did not have to do that,

    14        right?

    15                 A        What?

    16                 Q        You didn't have to do that?

    17                 A        No.

    18                 Q        You chose to do that?

    19                 A        Well, actually,      I thought I was

    20        going to go first but as I pointed out the

    21        other day,    I need hearing aides and I was

    22        hoping to get them before I actually sat

    23        down here.     I'm supposed to pick them up

    24        today.

)   25                 Q        Can you hear me okay now?



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     1                                  K.   James   McCready                    9


     2                  A       I can hear you but I have to

     3        really pay attention.

     4                  Q       Hopefully I ' l l keep your

     5        interest and speak loudly.             By the way,          you

     6        all get paid as part of the contract with

     7        the police department so you're being paid

     8        some kind of salary or compensation for

     9        testifying today;         is that right?

    10                  A       Yes.

    11                  Q       That's through the contract the

    12        police department has with the County?

    13                          Yes.
)                       A

    14                  Q       Could you tell me your general

    15        employment history.            Were you a Suffolk

    16        County police officer for a number of years?

    17                  A       Well,   I ' l l start at the very

    18        beginning.        October 24,     1969,   I was

    19        appointed to the New York City Police

    20        Department.        I think in April 24,        1970,        I

    21        was appointed to the Suffolk County Police

    22        Department.        I worked in various -- worked

    23        in the Second Precinct.            I worked in the

    24        narcotics squad.          I worked anticorruption

)   25        bureau,       rackets bureau.      I made detective



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     1                                   K.   James   McCready            10

     2        while I was in the Fourth Precinct and I

     3        went to the Sixth Precinct and from the

     4        Sixth Precinct I was transferred into the

     5        homicide squad.

     6                  Q      When did you enter the homicide

     7        squad?

     8                  A       March of 1980.

     9                  Q       Okay.     Is it correct that yours

    10        was the fastest promotion to homicide in the

    11        history of the Suffolk County Police

    12        Department?

    13                  A       Yes.

    14                  Q       I saw somewhere or a quote from

    15        you that this was the best job in the world,

    16        being a homicide detective?

    17                  A       Yes,    it is.

    18                  Q       You liked what you did?

    19                  A       Yes.

    20                  Q       You're good at it?

    21                  A       Yes.

    22                  Q       I understand that you've worked

    23        over 300 homicides?

    24                  A       Close to that.        Not as the lead

)   25        detective but ...



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     1                                  K.   James   McCready              11

     2                  Q       Two hundred murders,       lead

     3        detective on 60;         is that right?

     4                  A       I believe so.        I'm not sure.

     5                  Q       Do you have a -- favorite might

     6        not be the right word,          but do you have one

     7        of those 60 or 300 that sticks out as being

     8        particularly memorable to you?

     9                  A       Yes.

    10                  Q       Tell us about it.

    11                  A       Patty Finn.      She was a young

    12        lady,   West Sayville,         and she was brutally

    13        stabbed,      raped and stabbed 37 times.            We had
)
    14        a very viable suspect -- I don't remember

    15        his name right now -- and I believe he was

    16        wanted in connection with,             a serial killer,

    17        18 other murders across the country.

    18                          I got a lead that he had gotten

    19        on a bus and that he was going to Colorado.

    20        My partner at that time was Bill Mahoney.

    21        We literally chased him across country for

    22        12 days.      We finally caught up with him in a

    23        place called Pacific County in the state of

    24        Washington.

)   25                          The Sheriff and the district



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     1                                     K.   James   McCready               12

     2        attorney of that county -- it was a very

     3        small little town -- actually apprehended

     4        him and then I was able to interview him and

     5        he looked real good as a suspect the only

     6        problem was he did not do it.                 He did the

     7        other 18, but he did not do mine.

     8                          So needless to say,           I   felt a

     9        little awkward coming back with my tail

    10        between my legs so to speak,               but if he

    11        didn't do it he wasn't going to jail for it.

    12        That always stuck out in my mind.

    13                  Q       You ever eventually find the
)
    14        individual who committed that murder?

    15                  A       Yes.

    16                  Q       You solved the case?

    17                  A       Yes.

    18                  Q       Did you receive any awards in

    19        the course of your duties as a police

    20        officer?

    21                 A        I    think 17 separate awards.

    22                  Q       Any that stick out in your

    23        mind?

    24                 A        Well,      Silver Shield Award given

)   25        by the PBA and the Combat Cross.



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     1                                   K.   James   McCready            13
)
     2                 Q       What's a Combat Cross for?

     3                 A       Combat Cross is you engage in a

     4        gun battle with an adversary and you win.

     5                 Q        I guess you really want to get

     6        that award if you're in a gun battle.                 You

     7        also had -- You come from a police family;

     8        is that right?

     9                  A       Yes.     As far as we can trace,

    10        our family goes back to 1854 in the State of

    11        New York.

    12                  Q       You don't just trace your

)   13        family back to 1854,            you trace your family

    14        back in law enforcement that long?

    15                  A       That's what I'm saying.           The

    16        earliest records the city police have begin

    17        in 1854.      That's as far back as we can trace

    18        it under Murphy and McSweeney,             Family part.

    19                  Q       So your dad was on the job as a

    20        police officer?

    21                  A       My dad became a police officer

    22        when he was 36,          just about 37.     He managed

    23        to get on because he had seven years

    24        military time and in those days they

)   25        deducted military time from your age under



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     1                                     K.   James   McCready                  14
)
     2        29 and he was going to be 37 in December of

     3        1957 and he was appointed in September -- I

     4        think September 14th of 1957 -- to the

     5        Huntington Town Police Department.

     6                  Q       Do you have brothers that were

     7        also police officers?

     8                  A       Yes,     three brothers.

     9                  Q       I    saw reference someplace your

    10        name is James McCready or Kevin James

    11        McCready?

    12                  A       My real name is Kevin James

    13        McCready,     however,       I    don't know what
)
    14        happened but I          was -- my birth certificate

    15        is Kevin.      My baptism certificate is James.

    16        And up until I          started collecting Social

    17        Security three years ago my social security

    18        card had James K. McCready so I                had to get

    19        that switched.

    20                          But yeah, my dad was one of the

    21        original 10 homicide detectives in the

    22        County.       They formed that in 1963.                I    was

    23        the next one to go to homicide.                 My brother

    24        Gene came into homicide.               My brother Tommy

    25        was an arson detective.               My brother Kevin



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     1                                  K.   James   McCready              15

     2        got hurt on the job, early on in the job.

     3        He got out on a disability.

     4                  Q       Okay.    You said you were in

     5        narcotics.      When were you in narcotics?

     6                  A       I think 1972.        '72 and '73 I

     7        think it was.       I don't know if you know who

     8        Dennis Wustenhoff         (phonetic)    is God rest his

     9        soul.     Dennis Wustenhoff took my place in

    10        narcotics squad.          He was subsequently

    11        murdered.

    12                  Q       I'm sorry.     Sorry.     And you

    13        were also in rackets?
)
    14                  A       Yes.

    15                  Q       Rackets being investigating

    16        organized crime?

    17                  A       Yes.

    18                  Q       I want to talk to you a little

    19        bit about your training in confessions.

    20                          Part of your job as a detective

    21        is interviewing suspects; is that right?

    22                  A       Is what?

    23                  Q       Interviewing suspects.

    24                  A       Sure.

    25                  Q       You need to know how to do



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     1                                   K.   James   McCready            16

     2        that?

     3                 A       Yeah.

     4                  Q      You don't get to homicide if

     5        you're not capable of interviewing

     6        individuals you believe are involved in

     7        serious crimes?

     8                  A       Right.

     9                  Q      And I guess you heard the

    10        discussion yesterday about the confession

    11        takers and the SIC?

    12                  A       Yes.

    13                  Q       You remember all that?
)
    14                  A       Yes.

    15                  Q       There was a comment that was

    16        made by Detective Rein in response to a

    17        question that the confession rate in Suffolk

    18        at the time was between 90 and 95 percent,

    19        solving homicides with confessions or

    20        entertaining confessions or admissions

    21        during homicide investigations,             and he

    22        made -- pointed to a comment that was made

    23        by,   I guess,    a colleague of yours that what

    24        that means is that there is a five to

)   25        six percent failure rate?



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·;    1

      2                 A
                                        K.   James   McCready


                                 I don't know who made that
                                                                            17




      3        comment.      That's idiotic.         Bad thing to say.

      4                  Q      Why is that?

      5                  A       Because whether we have a

      6        95 percent confession rate,            which I quite

      7        frankly was not aware of that,            we were doing

      8        a good job.       I   know I've always been very

      9        careful not to overstep my bounds.

     10                         As a matter of fact,        Mr.

     11        Gianelli, who I'm sure you're aware of,                    used

     12        to cross-examine me at various times about

     13        the fact that I studied the law.              I mean I
)
     14        had always thought that maybe one day when I

     15        left the police department I might go on and

     16        become an attorney.           Specifically,    I wanted

     17        to be a prosecutor,        but I got my nephew to

     18        do that now.

     19                  Q       He works in the Suffolk County

     20        DA's office?

     21                  A       Yes.

     22                  Q       And which is he,      the son of

     23        which brother?

     24                  A       He's the son of my brother

 )   25        Gene.     Name is Sean.



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     1                                    K.    James    McCready             18

     2                  Q        Okay.     In taking confessions,

     3        this is not just something you wander in and

     4        start talking to people,             you have some

     5        training on this,          yes?

     6                  A        Well,    we went to a couple of

     7        schools on it,       but I       forget,    a couple of

     8        seminars and whatnot.              But I think getting

     9        people to talk is an art that not all people

    10        have.     You know,        I try to be able to

    11        converse with anybody on any level if I                       have

    12        to,    you know.

    13
)                       Q        My point is that when part of

    14        your skill set as a detective,                particularly

    15        a homicide detective,             is you need to be able

    16        to do just that,          you need to be able to talk

    17        to individuals,       get them to talk,          and you

    18        need to understand where your boundaries

    19        are,    right?

    20                  A        Yes,    certainly.

    21                  Q        You studied the law.          So it's

    22        not just you wander in and start talking to

    23        somebody and you get them to quote/unquote

    24        confess.      This is actually a skill set that

)   25        you have,     yes?



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     1                                 K.    James   McCready              19

     2                 A        Yes.

     3                 Q        It's an important skill set for

     4        a homicide detective,          yes?

     5                 A        Yes.

     6                  Q       It's something that you

     7        trained,      you went to school for,       you

     8        practiced through the course of your career,

     9        and then over time with experience you

    10        became good at it?

    11                 A        Yes.

    12                  Q       And it's actually fairly

    13        serious business,        no?
)
    14                 A        Very what?

    15                  Q       Fairly serious business.

    16                 A        Certainly it is.

    17                  Q       You're questioning somebody who

    18        you think is involved in a murder;             sometimes

    19        the confession is the only evidence you're

    20        going to end up getting?

    21                  A       Sometimes,    yes.

    22                  Q       And if you don't do your job

    23        well in that room,        somebody who is guilty of

    24        a serious crime could walk out of the room

)   25        and commit more crimes?



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     1                                   K.   James   McCready            20

     2                 A        Yes.

     3                  Q       That's certainly one of the

     4        things you think about because of concern?

     5                 A        Yes.

     6                  Q       I take it you're proud of what

     7        you did as a police officer?

     8                  A       Yes.

     9                  Q       That you,     over the course of

    10        your career, probably made hundreds,               if not

    11        thousands,     of arrests;       is that right?

    12                  A       Hundreds,     not thousands.

    13                  Q       And that's,     for the most part,
)
    14        tabling individuals off the street who

    15        committed a serious crime,              they're being

    16        punished for the crime they committed,

    17        right?

    18                  A       Yes.

    19                  Q       And you stop them from

    20        committing other crimes,           right?

    21               . A        Yes.

    22                  Q       Again,    it's something you did,

    23        you were good at,        and you're proud of,         yes?

    24                  A       Yes.

    25                  Q       You said something about the



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     1                                   K.   James   McCready             21

     2        Reid technique.          Let me ask you some

     3        questions if I can about that.

     4                          By the way,     this is a phrase

     5        that I've heard in police,              "did he go for

     6        it."    Have you ever heard of that phrase?

     7                  A       Yes.

     8                  Q       What does that refer to?

     9                  A       Did he confess.

    10                  Q       It's a question that's asked

    11        among detectives in the course of examining

    12        individuals,      "did he go for it," did he

    13        confess?
)
    14                  A       Yes.

    15                  Q       In the course of taking an

    16        individual's confession or interviewing

    17        them,   would you agree with the statement

    18        that you want to develop information that

    19        could be corroborated by a further

    20        investigation?

    21                  A       Yes.

    22                  Q       You knew about that back in

    23        1988 as well,      right

    24                  A       Yes?

)   25                  Q       -- when you were doing this.



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     1                                   K.    James   McCready             22

     2        The fact that the suspect may or may not say

     3        yeah,   I did it or yes,          I'm guilty,   that does

     4        not end the interviewing process with the

     5        suspect; does it?

     6                  A       No.

     7                  Q       In some ways that really is

     8        when it begins,         right?

     9                  A       Yes.

    10                  Q       Person says,      okay,   I did it and

    11        then you want to find out how?               You want to

    12        know the details of it.             You want to find

    13        out the motive,         develop information from

    14        that?

    15                  A       Yes.

    16                  Q       In some cases you want to find,

    17        for example,      firearms,       you want to get the

    18        firearms off the street?

    19                  A       Yes.

    20                  Q       Sometimes individuals -- a

    21        victim,    their body may not have been

    22        discovered,     you want to find out where the

    23        body is?

    24                  A       Yes.

)   25                  Q       If a person had accomplices,



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     1                                  K.   James    McCready                23

     2        you want to find out if they had accomplice?

     3                  A       Yes.

     4                  Q       You want to be able to continue

     5        to question them and continue to get

     6        information from them?

     7                  A       Yes.

     8                  Q       Is it fair to say that -- and I

     9        don't mean this in a derogatory sense, but

    10        at a core level what you do is you convince

    11        the individual that it's in their best

    12        interest to speak to you,           right?

    13                  A       Basically,     yes.

    14                  Q       But it's really not in their

    15        best interest to speak to you?

    16                  A       Well,   it depends on their

    17        psyche,       I think,   at the time.      You know,        a

    18        lot of people like to get things off their

    19        chest.

    20                  Q       They do but you'd agree with

    21        me,   and you studied some law,           that an

    22        individual sitting in a room with two

    23        homicide detectives being questioned about a

    24        homicide,       their best interest,       their legal

)   25        interest,       is to say nothing and talk to a



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     1                                 K.   James   McCready                  24

     2        lawyer?       Talking to you is not something

     3        that is going to help them?

     4                  A       That's true.

     5                  Q       And part of what you're able to

     6        do,   part of what you're trained to do is

     7        convince them that although they are

     8        confessing to a murder and it means they're

     9        going to go to prison for a long time,                that

    10        it's really in their interest to do this?

    11                  A       Yes.

    12                  Q       And again,    I don't mean this in

    13        a derogatory sense,        but you see there is a

    14        form of deception there,          right?

    15                  A       Yes.

    16                  Q       I mean at a core level you have

    17        to convince the person to do the opposite of

    18        what they should be doing,            fair?

    19                  A       Yes.

    20                  Q       Part of the Reid technique,              do

    21        you recall that it was to not give the

    22        individual information but to get

    23        information from them?

    24                  A       Yes.

)   25                  Q       And that presents a little bit



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     1                                   K.   James   McCready               25

     2        of a problem for -- not a problem but a

     3        little bit of            I guess it's part of the

     4        skill set you need as a homicide detective.

     5                          Here's what I mean and tell me

     6        if you agree with this.            Before you go to

     7        interview a suspect you want to gather as

     8        much information you can about the crime to

     9        use it in the course of interviewing the

    10        individual,      true?

    11                  A       Yes.

    12                  Q       You don't want to walk in there

    13        knowing nothing about the crime,             you just
)
    14        ask questions?

    15                  A       Right.

    16                  Q       Before the interview takes

    17        place or the interrogation takes place,                     you

    18        want to make sure you have as much

    19        information in your head about what went on?

    20                  A       Yes.

    21                  Q       With that information,           you want

    22        to use that to extract information from the

    23        suspect,      correct?

    24                  A       Yes.

    25                  Q       You don't want to feed them



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     1                                   K.   James   McCready              26

     2        what you have and have them regurgitate it

     3        to you; do you?

     4                  A       No.

     5                  Q       So that's tricky;        isn't it?

     6                  A       Yes.

     7                  Q       Because it's tempting to say,

     8        come on, we know what happened here.                 You

     9        know,    tell us the person was shot three

    10        times,    you found the body,           you're asking him

    11        how many times was the person shot and

    12                  A       No,    I would not tell them that.

    13                  Q       You want to get that
)
    14        information from them even though you have

    15        it yourself,      right?

    16                  A       Yes.

    17                  Q       You want to see if they know?

    18                  A       Yes.

    19                  Q       That's part of the skill that

    20        you employ as a homicide detective?

    21                  A       Yes.

    22                  Q       And so you don't ask or you

    23        should not ask leading questions; true,                    for

    24        the most part?

)   25                  A       Maybe for the most part.            You



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      1                                   K.    James   McCready            27
.I
      2        don't ask questions where you're going to be

      3        feeding them information.

      4                  Q       Right.        So when we say leading

      5        questions,     I think we both know what that

      6        means because,      for the record,         I guess it

      7        means where the question contains the

      8        answer.       So rather than asking what's the

      9        weather like today, which would be a

     10        non-leading question,            I would say,   have you

     11        seen the snowfall today.             It contains the

     12        answer in the question.

     13                  A       Yes,   I understand.

     14                  Q       Now,   is it also true that you

     15        know as you're interviewing these suspects

     16        that if they confess,            and if there is a

     17        prosecution,      you're going to be asking

     18        questions about that later on?

     19                  A       Yes.

     20                  Q       You know that prosecutors are

     21        going to ask you questions?

     22                  A       Certainly.

     23                  Q       And defense attorneys are going

     24        to ask you questions?

)    25                  A       Certainly.



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     1                                  K.   James   McCready                28

     2                 Q      And in 1988 you had been

     3        through that a number of different times;

     4        hadn't you?

     5                 A      Yes.

     6                 Q      And you were aware of the

     7        scrutiny that the Newsday series confession

     8        takers had placed on the Suffolk County

     9        homicide squad?

    10                 A        Yes.

    11                  Q     And you were aware of the

    12        scrutiny that the special investigation or

    13        state investigation commission placed on the
)
    14        homicide squad?

    15                  A       Yes.

    16                  Q       You were aware that the state

    17        investigation commission did a whole

    18        investigation of what was taking place in

    19        Suffolk and offered some criticism?

    20                  A       Yes.

    21                  Q       Just curiously, were they fair

    22        criticism?

    23                  A       Well,   quite frankly,     not having

    24        had anything to do with that particular

)   25        investigation that you're talking about,                   I



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     1                                   K.   James   McCready             29

     2        remember I called to testify and never even

     3        interviewed nothing to do with that.

     4                  Q       With the state investigation

     5        commission?

     6                  A       That's right.

     7                  Q       Were you represented by anybody

     8        during the course of that investigation?

     9                  A       Pardon me?

    10                  Q       Were you represented by an

    11        attorney during the course of that

    12        investigation?

    13                  A       Not -- The first statement
)
    14        state investigation?

    15                  Q       Right.

    16                 A        No.

    17                  Q       Mr. Spota, Thomas Spota,          did

    18        not represent you during the course of that?

    19                 A        Not that I'm aware of.

    20                  Q       Did he represent the Detective

    21        Association?

    22                 A        Oh,   yes,    he did.   I guess he

    23        did but I have never had a conversation with

    24        Thomas Spota about that.

)   25                  Q       Okay.    You know who he is,



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     1                                  K.   James   McCready             30
)
     2        obviously,     right?

     3                  A      Of course.

     4                  Q      And another thing that the Reid

     5        technique taught you was to not use police

     6        language like sexual assault,            things like

     7        that.     You let the suspect's own words be

     8        used,    correct?

     9                  A      Yes.

    10                  Q      Now, Mr.      Rein was asked this

    11        yesterday and I think that you've commented

    12        on this before, but you're generally aware

    13        of a phenomenon of false confessions,               yes?
)
    14                  A       Yes.

    15                  Q       You know that that's occurred

    16        during the course of interrogations where

    17        individuals will say they committed a crime

    18        when,    in fact,      it turns out they didn't?

    19                  A       Yes.

    20                  Q       And we don't dispute that that

    21        goes on,      right,    that there are times

    22        individuals sit down in a room with homicide

    23        detectives and say,         yes,   I committed a

    24        brutal murder,         or a murder,    or other serious

    25        crime,    and further investigation reveals



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     1                                   K.   James   McCready            31
)
     2        that that information was false?

     3                 A        I guess so.       It never happened

     4        to me so I don't know.

     5                 Q       As far as you know?

     6                 A       Yeah.

     7                  Q       Right,    there is no case that we

     8        can go back to absent this one for the time

     9        being?       There is no case we can go back to

    10        with you and you would say yeah,             I was

    11        involved in taking a statement and it turns

    12        out the person that was confessing to the

    13        crime was absolutely innocent?              That never
)
    14        happened to you?

    15                  A       No.

    16                  Q       You're sure of that?

    17                  A       Absolutely.

    18                  Q       Did Reid teach you that some

    19        people would be more vulnerable to giving

    20        false confessions than other people with low

    21        IQ,   people who are emotionally distressed?

    22        Did you learn that?

    23                  A       I don't recall that.

    24                  Q       Would you agree with me

)   25        generally that an individual who's being



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     1                                  K.   James   McCready              32
)
     2        interviewed by two seasoned homicide

     3        detectives is going to be perhaps more

     4        vulnerable to a false confession if they

     5        don't have an intelligence level of the

     6        average person?

     7                          MR.   DUNNE:     I object to the

     8                  form of that.          Go ahead and answer

     9                  the question.

    10                  A       What's that?

    11                          MR.   DUNNE:     Go ahead and answer

    12                  the question.

    13                  A       I don't know.        I don't have an
)
    14        opinion one way or the other.

    15                  Q       As a matter of common sense,

    16        wouldn't you think that it would be easier

    17        for someone who is not so smart to kind of

    18        give a false confession to somebody who's

    19        very intelligent?

    20                  A       No.

    21                          MR.   DUNNE:     Again,   I ' l l object

    22                  to the form.

    23                  A       No.

    24                  Q       How about somebody who is

)   25        emotionally upset or distressed?



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     1                                   K.   James   McCready            33

     2                 A        No.   Well, how can I phrase

     3        this?    Not necessarily.          Not necessarily.

     4                 Q        Not necessarily but it makes

     5        them -- My question wasn't everybody who is

     6        emotionally distressed doesn't automatically

     7        give a false confession.            What I asked was,

     8        would you agree with me that somebody who

     9        emotionally distressed is more susceptible

    10        to that kind of phenomenon?

    11                 A        I'm having a little difficulty

    12        hearing because I'm trying to anticipate

    13        something that I'm trying to ...

    14                  Q       You can do whatever you like

    15        but the best thing to do is answer the

    16        question I'm asking.

    17                 A        What I'm trying to tell you is

    18        that I don't necessarily agree with all of

    19        that.

    20                  Q       You don't have to.         How about

    21        somebody who is younger rather than more

    22        mature, would you agree with me that they

    23        are more likely to provide a confession that

    24        was false?

)   25                  A       Again,    I   think it would be all



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     1                                 K.   James   McCready               34
)
     2        on the individual basis.           I don't think it's

     3        necessarily applicable to any particular

     4        You can't say like a 14-year-old is more apt

     5        to confess than a 24-year-old.             I don't

     6        think that's necessarily true.

     7                  Q       So your testimony is that

     8        intelligence against emotional stability,

     9        distress and age, have nothing to do with an

    10        individual's susceptibility to providing a

    11        false confession?

    12                  A       I'm not saying that.        What I'm

    13        saying is that you have to take each case on

    14        an individual basis.          That's what I'm

    15        saying.       Take each case on an individual

    16        basis.

    17                  Q       Would you agree with me that

    18        those factors that I just listed are factors

    19        that you would look at when looking for

    20        individuals that are likely or more likely

    21        to give a false confession?

    22                  A       Yes.   Say that again.

    23                  Q       Would you agree with me that

    24        those are factors that you want to take into

)   25        account when assessing whether or not an



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     1                                  K.   James   McCready              35
)
     2        individual is likely to give a false

     3        confession?

     4                 A        I guess so.

     5                 Q        Of course it does,        right?

     6                 A        Yes.

     7                  Q       I mean just your own experience

     8        when you were younger,          you know,    peer

     9        pressure meant a lot more to you than it did

    10        when you got more mature,          yes?

    11                 A        Yes.

    12                  Q       Which is a natural part of

    13        growing up and becoming an adult?
)
    14                 A        Sure.

    15                  Q       Did you have a practice of

    16        being careful with interrogation techniques

    17        when you're interrogating individuals who

    18        were emotionally distressed,            unintelligent

    19        or young?

    20                 A        My interrogation technique was

    21        always appropriate to whatever the

    22        circumstances were.

    23                  Q       Okay.    Did you pay any special

    24        attention when you were interrogating

)   25        individuals who perhaps had a low IQ or were



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     1                                   K.   James    McCready             36
)
     2        emotionally distraught?

     3                  A       Yeah,    I guess.

     4                  Q       How about when you're

     5        interrogating teenagers as opposed to

     6        adults?

     7                  A       Again,    it's all on an

     8        individual basis.

     9                  Q       I need to ask you some

    10        questions but let me ask this first.                  Sorry.

    11                          The reports you prepared in

    12        connection with the Martin Tankleff case

    13                  A       Yes.

    14                  Q       -- those were prepared by -- I

    15        guess the ones you prepared were prepared by

    16        you; is that right?

    17                  A       Yes.

    18                  Q       The one thing and I think we

    19        have this from yesterday.

    20                          MR. BARKET:       Do we have

    21                  yesterday's exhibits?            I don't want

    22                  to remark the same things.            I'm

    23                  looking for the supplemental report,

    24                  the three-page supplemental report.

    25                          MR.    POLLACK:       I'll find it for



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     1                                   K.   James   McCready             37
)
     2                  you.

     3                          MR.    DUNNE:   It's 59.

     4                  Q       I'm going to show you what's

     5        been marked as 59 and I'm going to ask you

     6        some questions about it.            Could you take a

     7        look at that.

     8                  A       Yes.

     9                  Q       That's the supplemental report.

    10        That's basically a summary of your

    11        investigation from September 7th of 1988; is

    12        that right?

    13                  A       Yes.

    14                  Q       Now,    there's a date at the

    15    I   upper left-hand corner,           September 14,      1988?

    16                  A       Date of report.

    17                  Q       I'm not sure I        follow.

    18                  A       That's the date I wrote it.

    19                  Q       You wrote the report a week

    20        later?

    21                  A       Yeah.

    22                  Q       Okay.     Did you have notes that

    23    I   were made contemporaneous?

    24                  A       Yeah,    you have all the notes.

)   25        You have everything.



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     1                                 K.   James   McCready              38
)
     2                  Q      Did you type this yourself?

     3                  A      No.

     4                  Q      You write it up and hand it in

     5        so the secretary types it for you?

     6                 A       Yes.

     7                  Q      And you review and sign off on

     8        it?

     9                 A       That's right.        That's why when

    10        you see a couple of mistakes,           you see my

    11        initials.

    12                  Q      That's you reviewing the typos?

    13
)                      A       Yes.

    14                  Q      You give to your supervisor who

    15        is Detective Sergeant Doyle?

    16                 A       Yes.

    17                  Q      He was here today too?

    18                 A       Yes.

    19                  Q      And he was here yesterday?

    20                 A       Yes.

    21                  Q      Everybody agrees to it.           You

    22        agree it's accurate and sign off?

    23                 A       Yes.

    24                  Q      So this report was completed on

)   25        the 14th but it represents a kind of --



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     1                                  K.   James    McCready            39

     2                 A        Synopsis.

     3                  Q       Of everything that took place

     4        and different notes;           is that true?

     5                 A        Yes.

     6                  Q       Okay.

     7                          MR. BARKET:      I don't know if

     8                  this has been marked and I don't

     9                  think I have an extra copy right

    10                  now,   but I ' l l mark it and then we'll

    11                  have to make a copy of it later.

    12                          (Whereupon,     Plaintiff's Exhibit

    13                  79 was marked for identification.)
)
    14                  Q       Mr. McCready,        I want to show

    15        you what's been marked as Plaintiff's

    16        Exhibit 79.       I'm going to ask you if you

    17        recognize those as being your notes?

    18                 A        Yes.

    19                  Q       That's your handwriting?

    20                 A        Yes.

    21                  Q       There is several pages.           Just

    22        thumb through it and make sure they are all

    23        your notes.

    24                 A        (Complying.)

)   25                  Q       You're free to read this if you



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     1                                   K.   James   McCready             40

     2        want.    I    just want you to make sure they're

     3        your notes?

     4                 A        They appear to be my notes.

     5                  Q       Let's just set those aside for

     6        a second and we'll come back to them as we

     7        need to.       I can make a copy for Mr.           Dunne in

     8        the meantime.

     9                          One of the things that I wanted

    10        to ask you about in terms of your ability to

    11        interrogate suspects and obtain

    12        confessions -- How could I phrase this?

    13                          Do you understand the power
)
    14        that you possess as an individual when

    15        you're doing this?

    16                 A        Do I what?

    17                  Q       Do you understand the power

    18        that you possess in conducting these

    19        interrogations?

    20                 A        I don't know.         I would not call

    21        it a power.

    22                  Q       Well,    it's certainly a unique

    23        skill set;     isn't it?

    24                 A        Yes,    it's a skill.

)   25                 Q        And it's unique.        Not everybody



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     1                                  K.   James   McCready             41
)
     2        could sit in a room and convince everybody

     3        that it's in their best interest to confess

     4        to a homicide?

     5                 A        Probably correct.

     6                 Q      And you were particularly good

     7        at it,   which means you were good at your

     8        job,   right?

     9                 A        Yes.

    10                 Q      And so in that sense -- can I

    11        overstate this -- it's sort of a gift;                isn't

    12        it?    You said people are born with the

    13        ability to get people to talk?
)
    14                 A        It depends on the individual;

    15        in their own personal experiences also.

    16                  Q       Sure.    And it's not just a

    17        conversation you're having with the suspect,

    18        it's actually a technique that you employ as

    19        part of your job and you get these

    20        individuals to admit to you crimes that they

    21        engaged in?

    22                  A       Yeah.

    23                  Q       I guess you do it when you're

    24        interrogating somebody,          you do it with

)   25        somebody you either suspect has committed a



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     1                                   K.   James   McCready             42
)
     2        crime or you believe has committed a crime,

     3        right?

     4                 A        Yes.

     5                  Q       You would not use this

     6        technique on anybody who you did not think

     7        had anything to do with the crime; would

     8        you?

     9                 A        Not necessarily,       no.

    10                  Q       I'm curious about how you

    11        govern yourself.

    12                 A        You're curious as to how I

    13        govern myself?
)
    14                  Q       How you govern yourself.

    15        You're sitting in a room with a suspect and

    16        your suspicions may be true,             you may have

    17        great gut instincts but they are not

    18        perfect; are they?

    19                 A        No,    nobody is perfect.

    20                  Q       I'm curious as to how you

    21        govern yourself to get people to confess to

    22        crimes and when do you simply sit their and

    23        interview somebody to find out information?

    24        How do you draw distinction between those

)   25        two?



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     1                                    K.   James   McCready               43
)
     2                 A        I don't think I ever have.                I

     3        just try to be me,          that's all.        I don't

     4        pretend to be somebody I'm not.

     5                 Q        Right,    but being you in

     6        different context.           You don't talk to people

     7        in restaurants the way you talk to them in

     8        an interrogation room; do you?

     9                 A        No,    but it depends on the

    10        situation too.           I mean,    you know,    I've had

    11        conversations,          I'd say,    with people in

    12        restaurants that were similar,                if you will,

    13
)             to doing an interrogation.

    14                 Q        In what way?

    15                 A        Well,    I mean you ever get in a

    16    I   bar fight?

    17                 Q        I ' l l take the fifth.

    18                 A        Well

    19                 Q        I mean I guess I started on

    20        this road I have to finish it a little bit.

    21                          How does a bar fight -- What

    22        are the parallels between a bar fight and

    23        interrogation of a suspect?

    24                 A        Well,    what I'm getting at is

    25        I've had bar fights,             all right,    and the most



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     1                                   K.    James   McCready             44
)
     2        recent one a guy cleaned my clock.                  That was

     3        about -- I don't know how many years ago

     4        it was because of a conversation I was

     5        having with him with regard to his son and

     6        it was almost an interrogation of the

     7        father.

     8                  Q       And I guess that's exactly what

     9        I was asking you,         that at times you actually

    10        employ this technique,            you begin to

    11        interrogate people.             And so my question to

    12        you is not in the bar fight context but in

    13        the context of your job.
)                                                  When you're

    14        interviewing individuals,            sometimes you're

    15        just interviewing witnesses,              right,    you're

    16        not interrogating them?

    17                  A       Right.

    18                  Q       Other times you literally are

    19        interrogating suspects?

    20                  A       Right.

    21                  Q       How do you decide?

    22                  A       Well,    I don't know what you're

    23        getting at.       If a guy is a suspect,            if he's

    24        a witness,    he's a witness.

)   25                  Q       Well,    they don't come with



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     1                                 K.   James   McCready               45
)
     2        labels.       The people do not arrive with

     3        little name cards that say "suspect" or

     4        "witness."       Who gets to decide if they are

     5        suspect or witness?

     6                  A       It depends at what point in

     7        time.     They can become -- They're a witness

     8        to begin with then they become a suspect.

     9                  Q       Who decides that?

    10                  A       Generally,    the individual

    11        because based on what he says,            his demeanor

    12        and his answer to certain questions,               things

    13        of that nature,      then he goes from being a

    14        witness to becoming a suspect.

    15                  Q       In whose mind?

    16                  A       In my mind.

    17                  Q       So it's your judgement?

    18                  A       Yes.

    19                  Q       So an individual that you're

    20        interviewing that you think is a witness,

    21        you interview one way; an interview or

    22        interrogation of someone you believe is a

    23        suspect is an interrogation and you go about

    24        it a different way,        yes?

)   25                  A       Yes.



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     1                                   K.   James   McCready            46
)
     2                 Q      And that's part of what you're

     3        trained to do as a detective,             right?

     4                 A      Yes.

     5                 Q      Those kinds of judgements are

     6        part of your job; aren't they?

     7                 A        Yes.

     8                 Q        You're talking to somebody and

     9        you're trained and you're experienced and

    10        you're supposed to able to discern that, who

    11        is just a witness and who is potentially

    12        involved in this crime?

    13                 A        Right.
)
    14                  Q       And based upon those judgments

    15        that you make you then interact with the

    16        individual differently; true?

    17                 A        Yes.

    18                  Q       Now,   you mentioned the bar

    19        fight so let me -- part of the little

    20        checklist they give us as lawyers to ask at

    21        deposition is prior arrests,             so I'm assuming

    22        that some of the bar fights you were in

    23        resulted in arrests?

    24                  A       In arrests?

)   25                  Q       Yes.



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     1                                   K.    James   McCready             47

     2                 A        Yes.

     3                  Q       How many times?

     4                 A        Two.

     5                  Q       What was the most recent one?

     6                  A       Down Little River,        South

     7        Carolina.      The guy that cleaned my clock got

     8        locked up.

     9                  Q       He cleaned your clock.            I

    10        thought the winner gets arrested,              the loser

    11        goes to the hospital.             You lost and got

    12        arrested?

    13                          I lost; he got arrested.
)                       A

    14                  Q       Oh,    okay.    Were you arrested?

    15                  A       I didn't arrest him.         I

    16        couldn't arrest him.

    17                  Q       Did you get arrested?

    18                 A        No.

    19                  Q       I'm asking you about instances

    20        where you,     yourself,        were charged with a

    21        crime.

    22                 A        The only time I was charged

    23        with anything was over Shuckman              (phonetic),

    24        and that wasn't over a bar fight,              that was

)   25        over him-- Well,          why don't we get right



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     1                                 K.   James   McCready              48

     2        down to the nitty gritty,          right,   with Mr.

     3        Shuckman,    all right,       because you're going to

     4        ask me a million questions about it anyway.

     5                 Q        I'm actually --

     6                 A        I might as well tell you the

     7        whole story from beginning to end.

     8                 Q        Go ahead.     Sure.

     9                 A        It was St.    Patrick's day.         I

    10        had been at the St.        Patrick's Day Parade

    11        with the grand marshall who's the sheriff of

    12        Suffolk County at the time,           Pat Mahoney,         and

    13
)             with the supervisor of the Town of

    14        Brookhaven who was John Powell at the time,

    15        myself and the undersheriff,            Eddie Morris;

    16        the reason being that we were all together,

    17        was I was asked by the St.            Patrick's Day

    18        committee from Rocky Point to see if I could

    19        raise money for the United States Marines

    20        who were staying at Danford's Inn down in

    21        Port Jeff.

    22                          All their food was given to

    23        them but the rooms had to be paid for so I

    24        went to the SOA Detectives Association and

)   25        the PBA and I got donations from them;                said



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    1                                  K.   James   McCready                  49

     2        that we could pay for the marines'             rooms.

     3                        As a result of that,         I was

     4        invited by Pat Mahoney and other people to

     5        join them Friday night before St.             Patty's

     6        Day at,    you know,    a festival park that they

     7        were having for all the marines.

     8                          The day of the parade, after

     9        everything was all finished and said and

    10        done and over with,        I went to,     you know,

    11        Harry's.      Then, Harry's Bar & Grill on

    12        Broadway in Rocky Point               I'm tying

    13        pictures in my mind that's all                and at
)
    14        that time I was separated.             I was living

    15        around the corner and -- Garland Road

    16         (phonetic)    -- I owned a house over there.

    17        So I went to Harry's and a guy-- I don't

    18        know who he was at the time               when I went

    19        up to the door it was a guy named Teddy.                    I

    20        come to find out his name is Teddy, Teddy

    21        DeLuca.     I never knew Teddy's full name

    22        until all this stuff happened -- he was at

    23        the door kind of like a bouncer and the

    24        place was crowded and they were selective

)   25        about who they were going to let in the door



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    1                                  K.   James   McCready                  50
)
    2         and whatnot.

     3                          As I was going in the door,

     4        this guy Shuckman comes up,            pushes me to the

     5        side and bolts in to the bar.             I   didn't say

     6        anything.     I   didn't do anything.          He's in

     7        the bar and he starts bothering some other

     8        customers and whatnot and the bartender,

     9        Bob, who was a retired New York City

    10        detective, threw him out of the bar.                Again,

    11        I was not involved in it at all.

    12                          After Shuckman went outside,

    13        however, he started -- he slowly stole a

    14        banner off the front of the bar.               A bunch of

    15        people went out looking for him and I did

    16        not.    They went out looking for him and they

    17        could not find him and they came back.                     A

    18        short while later somebody pointed out to me

    19        that he was across the street.

    20                          At that time,       I owned a corner

    21        of strip stores,       strip stores,      four or five

    22        stores there on the corner, and he's

    23        throwing rocks and behind me was -- I forget

    24        the name of that place, they since tore it

    25        down.    There is another bar and they had



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     1                                   K.    James   McCready            51

    2         like an antique phone booth outside.

     3        Shuckman took rocks and threw them through

     4        the glass at these old phone booths,

     5        whatnot,      and about that time I         saw the light

     6        come on,      timed lights on the back of the

     7        building in case burglars come up,              you know,

     8        the lights come on.

     9                 Q       Motion detectors?

    10                 A        Right.        I saw the lights come

    11        on and I saw him behind my building so I

    12        said,   oh.     The next thing I         know he throws a

    13        rock through the window in one of my stores
)
    14        so I went outside of Harry's,              I got in my

    15        Jeep,   and I drove as though I was leaving

    16        and as I got up to where Shuckman was I

    17        threw the Jeep in park and got out and I

    18        grabbed him and he took me and knocked me

    19        over a log or something to the ground and

    20        took off running.

    21                          I took off chasing him.            I

    22        chased him from there all the way down to

    23        the gas station down by the elementary

    24        school there in Rocky Point.

)   25                          As I was chasing him to the gas



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     1                                  K.   James   McCready                     52
)
     2        station,      this guy Teddy DeLuca comes driving

     3        up and I'm in my Jeep and Shuckrnan runs into

     4        the gas station there.            Well,   the guy in the

     5        gas station called the police.              The

     6        attendant called the police and uniformed

     7        cars carne down.

     8                          They got Shuckrnan and they

     9        asked me what I wanted to do.              Do I want him

    10        locked up or what,        and I    said no.       I       said it

    11        was St.    Patty's Day, we'll let him go.                         He's

    12        going to bring me back the banner or flag or

    13        whatever it was he was supposed to give that
)
    14    I   back to me, part of the deal for me not

    15        having him locked up.

    16                          To make a long story short,

    17        we're walking down the road and now the cops

    18        had left.       The uniform guys left.            We're

    19        walking down the road now all of a sudden he

    20        gets antsy and he wants to fight.                 We get in

    21        a fight.       And what happened was,         you've seen

    22        hockey fights where the guy's Jersey comes

    23        off and they fight.

    24                  Q       Sure.

)   25                  A       His jersey comes off.               I




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     1                                      K.   James   McCready                  53

     2        knocked him on the ground.                  He went to kick

     3        me in the balls.

     4                  Q       In the groin or the ba 11 s,

     5        okay.

     6                 A        So I       grabbed his foot and with

     7        that I grabbed his pants.                  What he had on

     8        was basically sweatshirt and sweatpants,

     9        that's it.      No underwear.              And when I

    10        grabbed them,          I pulled them off so now I had

    11        him for about up to here and so I                 said,

    12        look,   I'm not putting up with this shit.                       I

    13
)             said,   you want your clothes,               you'll get your

    14        clothes back when you bring me the flag.

    15        And I   left him in the street there.

    16                          Last time I        saw him he was

    17        running down the road with two garbage can

    18        covers on him,          one in the front and one in

    19        the back.      So I went back to Harry's and had

    20        a couple of more beers and I went home.

    21                 Q        How did you end up getting

    22        arrested for that?

    23                 A        Mr.       Catterson,     you know him?

    24                 Q        I    --

)   25                 A        James Catterson?



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 1                                  K.   James   McCready              54

 2                  Q       You're referring to James

 3        Catterson,    he's a DA at this time?

 4                  A       James Catterson decides that I

 5        robbed this guy when I took his clothes.

 6        They indicted me for assault and robbery.

 7        It cost me $17,000 for Mr.             Spota to

 8        represent me.

 9                  Q       You actually were represented

10        by two lawyers at the time,            Mr.   Spota and

11        Billy Keahon?

12                  A       Billy Keahon was pro bono

13    I   through Teddy DeLuca.

14                  Q       He was charged also?

15                  A       What's that?

16                  Q       Mr.   DeLuca was charged also?

17                  A       Yeah.

18                  Q       What was he charged with?

19                  A       Same thing.     Because we were

20        it was the three of us walking down the

21        street.

22                          So one thing leads to another

23        and they indicted me so I had to go out to

24        county attorney's office out there and I

25        surrendered myself to -- I             forget which



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     1                                   K.   James   McCready                 55

     2        detective investigator was or whatever and

     3        we went to trial.          And when we got to trial

     4        and the people presented their case,               they

     5        failed to present a prima facia case and as

     6        a result the case was immediately dismissed

     7        by-- I forget the judge's name.

     8                  Q       Pitts?

     9                  A       Yeah,    that's it Pitts.        He

    10        dismissed the case.             That was the end of it.

    11                  Q       Was that the only time you've

    12        ever been charged with a crime?

    13                  A       Yeah.

    14                  Q       You were not charged with

    15        assault down in the Carolinas?

    16                  A       Assault in the Carolinas?

    17                  Q       Yeah, were you charged with any

    18        kind of crime in North Carolina or South

    19        Carolina?

    20                  A       No.

    21                  Q       Do you have any prior losses

    22                  A       Oh, wait a minute.        Wait a

    23        minute.       Hold on.     It's a misdemeanor.             No,

    24        it's a crime.       I guess it's a crime.            I


)   25        don't know.       I got charged with a DUI.



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     1                                   K.    James   McCready             56
)
     2                  Q       Oh,    okay.

     3                  A       It was dismissed.

     4                  Q       It was dismissed,         okay.    Just

     5        to go since you mentioned it,              were you

     6        drinking the night you had the problem with

     7        Mr.   Shuckman?

     8                  A       Shuckman?

     9                  Q       Yes.

    10                  A       Yeah,    but I wasn't loaded or

    11        anything.

    12                  Q       Prior lawsuits,         have you ever

    13        been involved in any prior lawsuits?

    14                          Mr.    Shuckman sued you as a

    15        result,       right?

    16                  A       I don't remember him suing me.

    17        I don't think so.

    18                  Q       Any other lawsuits that you

    19        have been involved in?

    20                  A       I'm trying to remember.            I

    21        don't remember.          You know,       I was like in

    22        this case being Defendant or whatever but I

    23        don't remember what it was about.                I don't

    24        remember who the hell it was.

)   25                  Q       Have you been involved in any



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     1                                  K.   James   McCready             57
)    2        other litigation of any sort?             Divorces,

     3        civil lawsuits, bankruptcy,            anything like

     4        that?

     5                 A      Oh,     I've had-- well,      and I'm

     6        sure you're going to get to this too so I

     7    I   might as well tell you this right now.

     8                 Q        I'm not sure to what you're

     9        referring to but go right ahead.

    10                 A        You're going to start asking me

    11        about Shari Rother,        Ronnie Rother,      the

    12        restaurant and all that stuff out there.                    So

    13        you want to know the truth?             I had to file
)
    14        personal bankruptcy by the time I             got done

    15        with that stupid restaurant out there.

    16                  Q       You're referring to the

    17        restaurant you went into business with with

    18        Mr.   -- is it Ron Rother?

    19                  A       Ronald Rother.

    20                          MR.   BARKET:     The videographer

    21                  tells me that I         should stop right

    22                  around now so I ' l l do that.           We'll

    23                  take a break.

    24                          THE VIDEOGRAPHER:        We're off

)   25                  record at 12:22 p.m.



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     1                                  K.   James   McCready              58
)
     2                          (At this time,       a brief recess

     3                 was taken.)

     4                          THE VIOEOGRAPHER:        Tape 2.

     5                 We're back on record at 12:32 p.m.

     6                 You may proceed.

     7                 Q        I   just want to kind of took a

     8        poll on our break and I got to a couple of

     9        areas I wanted to ask you about; one that

    10        you mentioned.         The one that you mentioned

    11        was you said among the awards received you

    12        received something from the Emerald Society?

    13
)                      A        Yes,   Emerald Society award for

    14        valor.

    15                 Q        How many individuals received

    16        that?

    17                 A        There is only two to my

    18        knowledge; me and Jimmy Hughes,            the vice

    19        president of the Dix Association.

    20                 Q        What did you receive it for?

    21                 A        I   killed a guy in a bank

    22        robbery.

    23                 Q        Was that the same shooting that

    24        you spoke about earlier?

)   25                 A        Yes.



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     1                                  K.    James   McCready            59
)    2                 Q      What year did that take place,

     3        by the way?

     4                 A        June 9,      1975.

     5                 Q      Were you a police officer then

     6        or detective?

     7                 A        Police officer.

     8                 Q      Another thing that somebody

     9        asked is what was the interrogation you were

    10        doing in the bar of the father,              just out of

    11        curiosity?

    12                          MR.   DUNNE:     I ' l l object for the

    13                 purpose of the record but I want to

    14                  hear the answer too.

    15                 A        What happened was the kid

    16        was -- the mother and father were separated.

    17        Their son who was in his thirties or

    18    I   whatever,    I was doing construction work for

    19        his mother and I        actually got the job

    20        through him and he wanted -- if the job was

    21    I   $100,   he wanted me to charge his mother a

    22        150 and give him $50 back.               I wouldn't do it

    23        so we got in an argument and as a result of

    24        that argument every time I              saw this kid he

)   25        would break my shoes.



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     1                                  K.   James   McCready              60

     2                          So one night in this particular

     3        place,   Pat & Mike's down in South Carolina

     4        down there,       I happened to go into the

     5        bathroom as he was coming out and,              you know,

     6        he says -- made some snide remark and

     7        whatnot.      I   just let it slide and I went in

     8        and I came back out and I see him exiting

     9        the building so I went over to the window.

    10        I'm looking out the window because I                know

    11        what kind of kid he is,           he would scratch my

    12        car or do something like that or whatever.

    13        He knew what I drove so I was watching him
)
    14        to make sure he didn't do anything to my car

    15        and that's when his father came up to me and

    16        says to me,       what are you looking at?           And I

    17        told him,     some dirt bag out there might

    18        damage my car or whatever.             Well,   that's my

    19        son,    you know.       I said,   really,   well your

    20        son is a piece of shit.            So anyway --

    21                  Q       He didn't react well to that?

    22                  A       No.    So what happened was he

    23        said to me,       listen, Marty's coming right

    24        back.     He said,      why don't we go outside and

)   25        I ' l l get his ass straightened out because I



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     1                                   K.   James   McCready             61

     2        explained to him,         I said he's been breaking

     3        my balls and all this stuff.               Excuse my

     4        language.

     5                  Q       You said Marty's coming right

     6        back?     The kid's name was Marty?

     7                  A       What's that?

     8                  Q       Did you say Marty?          The kid's

     9        name is Marty?

    10                  A       Yes,    Marty Palermo -- Paterno

    11        rather.       And the funny thing is his father's

    12        name was Joe,      Joe Paterno,         not the same guy.

    13
)                               So anyway,      the old man he looks

    14        outside and he says,            oh here he comes now.

    15        So he opens the door like he's going to hold

    16        the door for me,         right,    and I come walking

    17        out the door.       He blind-sided me upside my

    18        head.     Holy God,      I thought I had gone to the

    19        count and he proceeded to pummel me.

    20                  Q       How long ago was that?

    21                  A       Let me think.         I'm 65 now so

    22        it's seven years ago.

    23                  Q       Okay.    Let me move from the

    24        entertainment section,            if I can.     People

)   25        want to know this so we asked.                To some



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     1                                     K.   James   McCready               62

     2        questions about -- You retired from the

     3        police department when in 19 --

     4                 A        October 24,        1989.

     5                  Q       1989.       And the robbery arrest

     6    I   was in 1991; is that right?

     7                 A        Yeah.

     8                  Q       Right after the start of the

     9        first Gulf war,          right?

    10                 A        What's that?

    11                  Q       Right after the start of the

    12        first Gulf war?

    13                 A        I    guess so.
)
    14                  Q       So you had been out of the

    15        police department for two years?

    16                 A        Yes.

    17                  Q       You said something about -- At

    18        that point,     were you in business with Ron

    19        Rother or not yet?

    20                 A        We had already gotten

    21                  Q       You had already --

    22                 A        I    got rid of him           See,    I

    23        didn't bring him into that.

    24                 Q        We'll talk about that later.

    25        You were already out of that business?



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    1                                   K.   James   McCready              63
)
    2                   A       Yes.

     3                  Q       And you said you owned a store

     4        or two or strip mall; what was it?

     5                  A       I had a number of friends of

     6        mine investors,       friends of mine who were

     7        investors we bought this little strip mall

     8        across the street from Harry's Bar and the

     9        corner of Broadway and I          forget the name of

    10        the other street and renovated the building.

    11                  Q       What was the name of the

    12        business,      the strip mall?

                        A       We had no business at that
)   13

    14        time.     It's just I had a business name but I

    15        was McCready and Associates but there was

    16        nothing on paper.         You know,     I was the guy

    17        doing everything.         I had people working for

    18        me.

    19                  Q       I don't follow.           It was when

    20        you say it was a strip mall,            I    think of a

    21        pizza place,       a deli.

    22                  A       That's what it was.           There was

    23        a deli;       there was an office upstairs.            There

    24        was a deli downstairs on the corner;                there

)   25        was a fishing store,           fishing tackle and



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     1                                   K.   James   McCready             64

     2        equipment store on the end.              I   forget what

     3        the other two were.             It's changed now.

     4                 Q        It was in Rocky Point?

     5                 A        What's that?

     6                 Q        It was in Rocky Point?

     7                 A        Yeah.

     8                  Q       And if I understand you

     9        correctly,    you owned the stores then you

    10        rented to individual businesses?

    11                 A        Right.

    12                 Q        Okay.     And did you do the

    13        construction work as well?

    14                 A        I did the construction work.

    15                 Q        Did you still have a

    16        construction business at that time?

    17                 A        Do I    still have one now?

    18                 Q        Did you still have it at that

    19        time?

    20                 A        Oh,    yes.

    21                 Q        Okay.     You said you had some

    22        other investors?

    23                 A        Yeah.

    24                 Q        Who were they?

)   25                 A        Jimmy Keating.        What was Fred's



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     1                                   K.   James   McCready                65
)
    2         last name again?          He's a dentist.       I'll

     3        think of it.       They were friends and

     4        neighbors.

     5                 Q      And how did that business go as

     6        opposed to the bar with Rother?

     7                 A      Oh,      that went pretty good.            We

     8        were all making money on it.              Then when the

     9        economy went down on us we sold the

    10        building.      I had a couple of rental houses,

    11        I sold them.       The last rental house I had I

    12        had held the mortgage on it for a nice young

    13        fellow and he got married and had a baby and
)
    14        then he did some work on the house himself

    15        and he screwed up the electrical on it and

    16        he set the house on fire.               I ended up I

    17        collected on the balance on the mortgage.

    18                  Q       Where was that house?

    19                  A       In Sound Beach.

    20                  Q       And it was in your name,          you

    21        said,   the rental property but the mortgage

    22        was to you or the deed was to you?

    23                  A       Yes.     There were two houses

    24        there so I refinanced through Marine Midland

)   25        Bank and I sold one off and then I was able



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     1                                    K.    James    McCready             66

     2        -- This guy,      I think he was like 19 at the

     3        time,   he didn't have the wear with all to

     4        get a mortgage so I said,                I ' l l tell you what

     5        I ' l l do,   I ' l l hold the mortgage for you.               He

     6        gave me $10,000 down and I held the $65,000

     7        mortgage for him and then I                guess it was       '96

     8        when the house burned down and then I got --

     9        I don't know            $32,000 out of it and that's

    10        when I moved to South Carolina.

    11                  Q       When you retired,           did you

    12        retire or did you go out on three quarters?

    13                  A       No,   I   retired.
)
    14                  Q       Just so that we know,

    15        three quarters,         officers are injured they

    16        can get three quarters of their salary?

    17                  A       Yeah,     I    know.

    18                  Q       You know,        I think I    know,    but

    19        we want everybody to know.                 They get

    20        three quarters of their salary for life tax

    21        free

    22                  A       That's right.

    23                  Q       -- if they are injured.               But

    24        you simply retired -- You retired?

)   25                  A       Right.



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     1                                  K.    James   McCready                67

     2                 Q      How long were you on the job?

     3                 A      Twenty years to the day.

     4                 Q      Twenty years to the day?

     5        Including the time in the City?

     6                 A       Yeah.        I bought that City time.

     7        You know,     it's six months.          It was cheap

     8        when I got on Suffolk County at the time to

     9        do that.

    10                 Q        Okay.       Let's talk a little bit

    11        about this particular investigation.                 How

    12        did you all work assignments then?                 Do you

    13        guys use the term squealing or catching
)
    14        cases?

    15                  A       No,   no.     This is a mistake on

    16        my part.      For a number of years I          always

    17        thought that I had standby the night of this

    18        murder and sometimes I've got a lot of

    19        things on my mind and I           forget things.

    20                          To make a long story short,              it

    21        wasn't me.      I didn't have the standby, Mike

    22        Carnegie had the standby.               And apparently

    23        Mike was notified of the homicide and I

    24        guess Mike in turn notified Sergeant Doyle

)   25        and he then called me because of my



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     1                                   K.   James   McCready            68

     2        proximity to the area to go handle the

     3        scene.     That's what my assignment was

     4        originally was to handle the scene.

     5                          I was at my -- We just moved my

     6        shop.     We were moving from one part of

     7        Girodyne      (phonetic)    to another.      We were

     8        moving the shop and before I went to work on

     9        a 9:00 to 5:00 I'd go over -- I live right

    10        around the corner from there -- I'd just go

    11        over to the shop every morning,             get my guys

    12        going,    send them on their way and then I'd

    13        go off to work.
)
    14                  Q       Was that a scheduled work day

    15        for you or were you supposed to be off that

    16        day?

    17                  A       No,    it was a scheduled workday.

    18                  Q       Scheduled workday for you?

    19                  A       Yes.

    20                  Q       And proximity, how far was your

    21        business from Belle Terre?

    22                  A       Well,    I lived in Head of the

    23        Harbor.       The business was basically in St.

    24        James, which is right next door,             and then

)   25        from Girodyne there it's on 25A and I'm



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     1                                    K.    James    McCready                 69

     2        going to say it's -- if I'm hurrying,                    I

     3        probably made that I'm going to say 12 to

     4        15 minutes.        I didn't think it even took me

     5        that long.        I'm not sure.

     6                  Q       But when you were heading there

     7        you thought it was you were assigned to

     8        investigate this case?                 As you're heading to

     9        the --

    10                  A       No,    no,     no.    For some reason

    11        over the years I had forgotten this.

    12        Carmody was originally assigned to the case,

    13        but in view of the way things developed in
)
    14        the case,      Sergeant Doyle decided to turn the

    15        case over to me and that's why when we went

    16        to California,          I went -- me,       Doyle and Eddie

    17        Deblasi       (phonetic)    went to California to

    18        retrieve Steuerman.

    19                  Q       Let me back up a little bit.                      I

    20        want to ask you a few questions about

    21        you're at work that day and you get a page

    22        or you had beepers in the PBA?

    23                  A       He beeped me,           didn't he?         He

    24        beeped me.

)   25                  Q       You're referring to Sergeant



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     1                                 K.   James   McCready              70

     2        Doyle?

     3                 A      Yes.

     4                 Q      Okay.

     5                 A      He beeped me to call him at

     6        home.    I called him at home and he told me,

     7        go to the address,       and then when I got there

     8        I didn't know where the hell I was going.

     9        And it might have been Leahy,           he was a

    10        uniformed sergeant there,          but for some other

    11        reason I thought it was somebody else who

    12        had given me the directions.

    13                  Q       What was the conversation you
)
    14        had with Detective Sergeant Doyle?

    15                 A        Basically, that we had a

    16        homicide and he wanted me to cover the scene

    17        and he gave me the address to the scene.

    18                  Q       Did he tell you anything else?

    19                  A       Not that I remember.        Not that

    20        I recall right now.           Very possibly may have.

    21        For some reason          I don't know.        I'm not a

    22        hundred percent on this,          but for some reason

    23        I might have known -- he might have said

    24        something to me about a card game because I

)   25        know when I was on my way there I was



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     1                                     K.   James   McCready              71
)
     2        thinking to myself,           oh,   that's happened

     3        before where card games people run high

     4        stake card games and guys come in and stick

     5        them up.

     6                  Q       Let me stop you for a second

     7        there and ask you,           as you're driving there,

     8        you're thinking this is a card game?

     9                  A       I'm not sure.           For whatever

    10        reason,       I'm not sure.

    11                  Q       And you think that Detective

    12        Sergeant Doyle told you that this was a card

    13        game?
)
    14                  A       I    don't remember.        But I'm just

    15        saying in my head it seems to me for some

    16        reason

    17                  Q       Let me stop you and maybe I                  can

    18        refresh your memory a little bit because

    19        there's a couple of news clips that I wanted

    20        to show you.

    21                          Do you remember giving an

    22        interview to a reporter back in 1990 for

    23        Channel 12 News?            You sat down with an

    24        interviewer with him about a half hour and

)   25        talked about the case?



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     1                                  K.       James   McCready              72

     2                  A       Doug Geed?

     3                  Q       Well,   Doug Geed you did later

     4        on but no,       back in 1990?

     5                  A       I   don't know.          I   don't

     6        remember.

     7                  Q       Okay.     You remember giving an

     8        interview to Doug Geed?

     9                  A       Yes.

    10                  Q       You remember telling Doug Geed

    11        that as you're driving there that you

    12        understood that this was some kind of card

    13        game and that's all you knew about the case?
)
    14                  A       Maybe I      did,    but for some

    15        reason I       had that in my head.             I   don't know

    16        where I       got that from.          It only could have

    17        come from Doyle.

    18                  Q       So your testimony is that if

    19        you knew about the card game Detective

    20        Sergeant Doyle is the person that had to

    21        tell you about it because you didn't talk to

    22        anybody else?

    23                  A       That's what I'm thinking.

    24        Unless Leahy told me that.                 I'm not sure.

)   25        For whatever reason,           I    thought i t was going



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    1                                  K.   James   McCready              73
)
    2         to be a stick up of card game or something

     3        like that.

     4                 Q       A stick up of a card game?

     5                 A       Yeah.

     6                 Q       So people come in the house?

     7                 A       Yeah,   people come in.         There's

     8        a lot of bad guys out there.            They find out

     9        you have a high stakes card game going

    10        they'll come in and stick you up and rob

    11        you.

    12                 Q        How many murder investigations

    13        were there in Belle Terre?
)
    14                 A       Murder investigations in Belle

    15        Terre?       I don't know.     I have no idea.

    16                  Q       That you were involved in?

    17                 A        It's only one that I'm aware

    18        of.

    19                  Q       That's a fairly affluent

    20        community,      correct?

    21                  A       Yes.

    22                  Q       It's kind of a part of Port

    23        Jefferson sort of but it's a private

    24        community,      very wealthy,    right on the north

)   25        shore in the bluff of Long Island Sound?



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     1                                   K.    James   McCready             74

     2                  A       Yes.

     3                  Q       And actually from Marty's

     4        house,   the Tankleff house.             It was literally

     5        on the bluffs but you had a cliff off his

     6        backyard and Long Island sound and even on a

     7        reasonably clear day you could see

     8        Connecticut?

     9                  A       Yes.

    10                  Q       Once you arrive there,           how soon

    11        did you suspect Marty was involved in this?

    12                  A       Not until -- He told me,           you

    13        know,    I asked him what happened and he
)
    14        explained to me everything.               I would have to

    15        refresh my memory but I'm guessing that I

    16        became suspicious of him after Sergeant

    17        Doyle and Norman Rein spoke to him.

    18                  Q       Is it fair to say he was a

    19        suspect in your mind almost immediately?

    20                  A       No,    not almost immediately.

    21                  Q       Let me,       not almost immediately?

    22        An hour later,      half hour later?

    23                  A       Let me look at my -- I gotta

    24        look at my 84 report.

)   25                  Q       Your 84 reports?



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     1                                  K.   James   McCready               75
)
     2                 A        Yes.

     3                  Q       There's a number at the top

     4        just tell us what number that is.

     5        Fifty-nine?

     6                 A        Yeah,   I'm trying to think.             You

     7        got the scene log,        the crime scene log,             who

     8        got there at what time?

     9                 Q        I may but let me ask -- I           think

    10        we do in here someplace actually,             but let me

    11        ask a few questions.

    12                          Do you remember giving an

    13        interview to Erin Moriarty of 48 Hours?
)
    14                 A        Yes.

    15                  Q       You remember telling her that

    16        you believe Marty was involved in this

    17        almost immediately after you arrived?

    18                 A        I guess.     I might have said

    19        that,   yes.

    20                  Q       Were you interviewed by the

    21        Probation Department after Marty was

    22        convicted?

    23                 A        No.

    24                 Q        No?

)   25                 A        Not that I'm aware of.           Not



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    1                                  K.   James   McCready              76
)
    2         that I   remember.       I don't think so.

     3                 Q        I'm going to show you what's

     4    I   been marked as Plaintiff's Exhibit 63 and on

     5    I   the first page it says,         statement of

     6    I   complainant/victim,        and it says,     the

     7        complainant Detective McCready,            formally of

     8        the Suffolk County Police Department

     9        Homicide Squad and now retired,            was

    10        contacted on 8/10/90.          Detective McCready

    11        stated that on the date of the offense the

    12        defendant was found at the residence,               and it

    13        continues.
)
    14                          Just take a look at that

    15        paragraph.      Does that refresh your memory

    16        that you,     in fact,    were interviewed by the

    17        Probation Department in connection with

    18        their investigation of Marty after the

    19        conviction?

    20                  A       I read that.        I don't remember

    21        saying that.

    22                  Q       You do remember being

    23        interviewed by the Probation Department?

    24                  A       I do now,    yes.

)   25                  Q       According to the probation



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    1                                  K.   James   McCready               77
)
    2         officer -- if I could just have that back,

     3        I'm going to read it -- it says that,

     4    I   according to Detective McCready the

     5    I   investigation focused on the defendant

     6    I   immediately because

     7                 A      No,   it doesn't say almost

     8        immediately?

     9                 Q      This says immediately.

    10                 A      Oh,   does it?

    11                 Q        Because of his demeanor and his

    12        inappropriate response particularly in

    13        regard to the finding of his parents dead

    14        and dying.

    15                          You don't dispute that you said

    16        that to the Probation Department back in

    17        1990; are you?

    18                  A       I may very well have said it,

    19        yes.

    20                  Q       So is it correct that you had

    21        suspicions at the very least of Marty as

    22        soon as you arrived at the scene?

    23                  A       I had some suspicions, yes,

    24        based on the information I was getting,                    yes.

)   25                  Q       And part of this -- I mean



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     1                                   K.    James   McCready                78

     2        there are three people in the house;                one is

     3        deed;   one is dying and one is walking around

     4        outside fine?

     5                 A        Right.

     6                 Q        And so you immediately thought

     7        domestic teenage kid --

     8                 A        No.

     9                 Q        -- parents.          No?

    10                 A        No,   that's not what I thought.

    11                 Q        Did you have a reaction to his

    12        emotional;     if you will?

    13                 A        Well,    I    found his emotional

    14        demeanor was like               as a matter of fact,         I

    15        think I used the words in the courtroom.                     If

    16        that were me in that situation,               I would have

    17        been a box of rocks.             I   think that's exactly

    18        what I said in court.                I always felt that

    19        his emotional -- inappropriate emotional

    20        response is what I always termed it with

    21        regard to him.

    22                 Q        You know what's curious about

    23        that,   you thought that his responses at that

    24        time were,     I guess,        he didn't appear to be

)   25        upset to you?



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     1                                  K.    James   McCready             79

     2                 A       That's right.

     3                  Q      He was casual?

     4                 A       Right.

     5                  Q      And you described him as simply

     6    I   answering questions and as if nothing had

     7        happened;      is that right?

     8                  A      Yes.

     9                  Q      And did you ever listen to his

    10        911 tape?

    11                 A       Yes.

    12                  Q      He sounds pretty excited there;

    13        doesn't he?
)
    14                         MR.    DUNNE:     I ' l l object to the

    15                  form but go ahead and answer that.

    16                 A       Yes.

    17                  Q      And did you talk to the

    18        neighbors who described Marty as running out

    19        of the house in shorts and bare feet

    20        screaming "murder, murder"?

    21                 A       Yes,   Marty Goldman

    22                  Q      Right.        And you talked to the

    23        police officers who first arrived at the

    24        scene who described Marty as screaming,

)   25        "murder,      they murdered my parents"?



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     1                                   K.   James    McCready             80

     2                 A        I don't remember them telling

     3        me that but it's possible.               I don't know.

     4                 Q       Well,   how do you account for

     5        the difference in the descriptions between

     6        Marty and the 911 tape,           Marty with his

     7        neighbor,     Marty with the police,          and what

     8        you say Marty was like to you?

     9                 A        Because we're talking about a

    10        time frame here.         What are we looking at,             an

    11        hour and a half and he's all over it

    12        already?       He's finished?       He's all cried

    13        out?    Give me a break.
)
    14                  Q       But you're saying he's all over

    15        it.    He has family and,         actually,    not only

    16        his family but the family to the victim --

    17        He was adopted,      right?

    18                  A       Yes.

    19                  Q       And the biological family,            the

    20        brothers,      the sisters,      the nieces,    the

    21        nephews,      the aunts,    even his stepsister at

    22        the time all supported Marty; didn't they?

    23                  A       Initially,      yes.

    24                  Q       Except for his stepsister,            they

)   25        all do to this day,         correct?



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     1                                   K.   James    McCready             81

     2                  A       And Ronnie Rother.

     3                  Q       Well,    Ronnie Rother is the

     4        stepsister's husband?             The guy who,      forgive

     5        me,    but beat you out of some money,              right?

     6                  A       No,    he didn't beat me out of

     7        money.

     8                  Q       I thought he stole $18,000 from

     9        you,    no?

    10                  A       Well,    we weren't sure.         I   could

    11        not prove it.

    12                  Q       But you suspected him of doing

    13        that?
)
    14                  A       Yes.

    15                  Q       So all the other individuals

    16        who knew him best when they spoke to him

    17        afterwards they all found his emotional

    18        response to be appropriate?

    19                  A       I don't think so.

    20                          MR.    DUNNE:    I ' l l object to the

    21                  form of the question.            Go ahead.

    22                  A       I don't know that for a fact.

    23                  Q       Well,    sure you do.      You spoke

    24        to --

    25                          MR.    DUNNE:    No,   Bruce.



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     1                                   K.    James   McCready             82
)
     2                  Q       Sorry.        You spoke to Ron's

     3        family,       right?

     4                  A       Yes.

     5                  Q        I   think you described as having

     6        a meeting in the kitchen at 33 Seaside Drive

     7        with the family members just a few days

     8        after the crime happened,               right?

     9                  A       Yes.

    10                  Q       And you note that the family

    11        followed this case all the way through the

    12        trial,    right?

    13                  A       Uh-huh.        Yes.

    14                  Q       And all of them,         Ron Falbee

    15        took him into his house,             had him live with

    16        him?

    17                  A       Right after

    18                  Q       After Shari and him had a

    19        split,    right?

    20                  A       Yes.

    21                  Q       And,    in fact,      Shari right after

    22        the crime for several months took him into

    23        her house,       right?

    24                  A       Yes.

    25                  Q       And he went to the funeral of



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    1                                    K.   James   McCready             83
)
     2        his father?

     3                 A        What's that --

     4                 Q        He went to his father's

     5        funeral?

     6                 A        Yes,    I believe he did.

     7                 Q        And did it ever raise any

     8        questions in your mind why it was that the

     9        individuals who knew him best thought that

    10        his emotional response was appropriate and

    11        was consistent and that it was you who

    12        thought somehow it was flat?

    13                          Right.
)                      A

    14                          MR.    DUNNE:    I'll object to the

    15                  form.    Go ahead.

    16                 A        No,    especially after I got a

    17        phone call from Shari Rother and Ronnie

    18        Rother with regard to him no longer living

    19        in the house,      and Detective Rein and I went

    20        over there and spoke to her and I told her,

    21        as I've told everybody,           I said,   don't

    22        necessarily believe me.            Do yourself a

    23        favor,   you ask him the questions,           you ask

    24        him this,      you ask him that,        and see what you

)   25        think.       And Ronnie Rother chirped up, we



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    1                                   K.   James   McCready             84
)
    2         already did and we didn't like his answers.

     3                        And that's why again,         remember,

     4        he confessed to her that he did this,               that

     5        he killed his mother and father.             He told

     6        Shari Rother that.

     7                 Q      When was that?         Just at the

     8        police station?

     9                 A        On that telephone call that he

    10    I   made from our office.

    11                 Q        We'll talk about that in a bit.

    12                        After the telephone call he

    13        made from your office,          after he supposedly
)
    14        confessed to you,         Shari took him into her

    15        home,   yes?

    16                 A        Yes.

    17                  Q       At some point after that,          Shari

    18        became aware of the fact that she was

    19        essentially left out of the Will entirely;

    20        is that true?

    21                 A        I don't know.

    22                  Q       Well,   at some point after she

    23        had found out she was left out of the Will

    24        and she learned that if Marty was convicted

    25        of the murder he couldn't collect his



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     1                                 K.   James   McCready              85
)
     2        portion and should we get his portion of the

     3        Will?

     4                 A      That's not what she told me

     5        when we were at the house.

     6                 Q        I'm not asking what she told

     7        you at the house.        I'm asking if you knew

     8        that after Shari learned that she was cut

     9        out of the Will and that if Marty was

    10        convicted of the crime is that -- excuse me,

    11        withdrawn         that after Shari learned that

    12        she was out of the Will and that if Marty

    13        was convicted of a crime he couldn't collect
)
    14        his portion it would go to her, was it after

    15        that that Shari kicked him out of the house,

    16        if you know?

    17                  A       No.   I don't think one thing

    18        had anything to do with the other.

    19                  Q       Sequence-wise, whether what was

    20        in her mind maybe no one will ever know but

    21        sequence-wise I'm correct,            right?   Shari

    22        took him into the house after he supposedly

    23        confessed to her,       after he supposedly

    24        confessed to you,       then she found out that

    25        she was cut out of the Will,            then she found



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     1                                  K.   James   McCready             86
)
     2        out that if Marty was convicted he couldn't

     3        collect his part,        she would get it, then she

     4        kicked him out of the house.             So the

     5        chronology that I        just gave you is accurate;

     6        is it not?

     7                  A       I don't know that for a fact.

     8                  Q       Let me leave Shari aside and

     9        whatever problem she had with the Will and

    10        let's talk about the entire rest of the

    11        family.

    12                          Every brother,       every cousin,

    13        every niece,      every nephew to a person

    14        supported Martin Tankleff from the moment he

    15        was arrested until as we sit here today;                   is

    16        that true?

    17                  A       I guess so.

    18                  Q       Is it possible that your view

    19        of his emotional response that day while

    20        understandable maybe was born of a lack of

    21        understanding or lack of knowledge of how

    22        Marty interacts,        how his demeanor is.

    23                          MR.   DUNNE:    I'm going to object

    24                  to the form of the question.             Go

)   25                  ahead and answer that as best you



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·;    1

      2                  can.
                                          K.   James   McCready              87




      3                 A        Wait,    wait.   Repeat the

      4        question.

      5                  Q       Sure.     Did you ever consider

      6        the possibility that you and,             I guess,

      7        Detective Rein's view that his emotional

      8        response was inappropriate was just a

      9        mistake; that you just didn't know this kid

     10        well enough to understand how he'd react to

     11        the situation?

     12                          MR.    DUNNE:    Same objection.          Go

     13                  ahead.
 )
     14                 A        No,    because it wasn't just me.

     15        It wasn't just Detective Rein.              I mean even

     16        Don Hines knew there was something wrong.

     17        And then when -- especially when Hines told

     18        him that his father wasn't dead,             he gave

     19        Hines a look of like shock that he wasn't

     20        dead and then he exits out of Hines's car.

     21                  Q        I guess as we all sit around

     22        and there's verbal communication and there's

     23        nonverbal communication,           right?

     24                 A        Yes.

)    25                  Q       You understand people can say



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     1                                   K.    James   McCready             88
)
     2        one thing and they also have nonverbal cues,

     3        they look away,         they react in a certain way,

     4        somebody has a look of quote/unquote shock,

     5        right?

     6                  A       Yes.

     7                  Q       Is it fair to say that those

     8        nonverbal cues,         the interpretations of them,

     9        are somewhat subjective?

    10                  A       I guess,       yeah.

    11                  Q       Right.        So that when you're

    12        looking at somebody and you see a person

)   13        like Marty and you think his response is

    14        flat,    it's inappropriate in some ways,              is it

    15        possible that you just don't understand him

    16        and you don't see what's going on inside of

    17        him?

    18                          MS.    DUNNE:     I ' l l object to the

    19                  form of the question.            Go ahead.

    20                  Q       Did you ever consider that

    21        possibility at least?

    22                  A       Well,    as we say anything is

    23        possible but all I          know is that kid right

    24        there    (pointing)       killed his mother and

    25        father.



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     1                                  K.   James    McCready               89
)
     2                 Q        Well,   with all due respect,            I

     3        understand what you believe.              I'm assuming

     4        I'm taking you at your word here,                but you

     5        don't know it; do you?

     6                 A        I don't know it?

     7                 Q        You don't know it.          You can't

     8        know it.     You weren't there.

     9                 A        I wasn't there.

    10                 Q        You believe it based upon your

    11        investigation,      based upon your interview or

    12        interrogation of him,          based upon your

    13        experience and so forth,          you think he killed
)
    14        his parents?

    15                 A        Yes.    And believe me,        if he

    16        didn't       if he was innocent,          we wouldn't be

    17        here today.       He would never have gone to

    18        jail.    You don't lock up innocent people.

    19                 Q        Didn't you get locked up?

    20                 A        What's that?         Yes.

    21                 Q        Weren't you innocent?

    22                 A        Yes.

    23                 Q        Just as a conceptual matter,

    24        innocent people do get arrested and charged

    25        for crime they didn't commit,             yes?



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     1                                 K.   James   McCready                90

     2                          MR. BARKET:     I would object to

     3                  the line of questioning.           Go ahead.

     4                  A       You're absolutely correct.

     5        However --

     6                  Q       People actually

     7                  A       Let me tell you this.            First of

     8        all,    no police officer came and arrested me,

     9        all right.      They presented whatever evidence

    10        they supposedly had to a grand jury and

    11        whatever and they indicted me,            okay.       So I

    12        went to them and I surrendered myself to

    13        them,    all right.      I had nothing to hide at

    14        all.

    15                  Q       I'm not saying you did,          Mr.

    16        McCready,     what I'm saying to you,         as a

    17        conceptual matter,       you and I can agree that

    18        our system,     while good,     is not perfect,

    19        right?

    20                  A       Yes.

    21                  Q       The police officers while well

    22        meaning sometimes maker errors?

    23                  A       Yes.

    24                  Q       That not every person who's

)   25        ever been arrested is guilty,           you're not



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     1                                     K.   James   McCready               91

     2        saying that,      right?

     3                 A        No.

     4                 Q        You know that individuals are

     5        indicted when they're innocent,                right?

     6                 A        Yes.

     7                  Q       Or that police officers arrest

     8        individuals when they're innocent,                  right?

     9                 A        Right.

    10                 Q        Maybe for good reasons,              maybe

    11        not for such good reasons

    12                 A        You're quite correct there and

    13        everybody is innocent until proven guilty
)
    14        and 12 people convicted him.                I didn't

    15        convict him,      12 people convicted him.

    16                 Q        And you're not saying that only

    17        guilty people get convicted,               are you?

    18                 A        What is that?

    19                 Q        You're not suggesting that only

    20        guilty people get convicted,               right?      You

    21        understand that the system is good but not

    22        perfect.

    23                 A        I     know.

    24                 Q        We can just agree that we can

)   25        go through the history that innocent people



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     1                                   K.   James   McCready              92

     2        are wrongly arrested,           are wrongly indicted

     3        and at times wrongly convicted?

     4                  A       I guess i t ' s happened,        yes,

     5        it's happened but it didn't in this case.

     6                  Q       Again,   that's your view.

     7        You're entitled to it and we're going to

     8        explore the reasons why you think it but

     9        it's your view,      correct?

    10                  A       Yes.

    11                  Q       And we can agree that Marty was

    12        a suspect in your mind,           really,   right away.

    13        As soon as you began to talk to him you
)
    14        thought there was something wrong here?

    15                  A       I don't know what to say here.

    16        I mean everybody is --

    17                  Q       Well,    you told the probation

    18        officer --

    19                  A       I wasn't thinking like that

    20        back then.       He put himself into a position

    21        of making me suspicious of him,             all right,

    22        by his words and deeds and actions,                all

    23        right,    and that's when I became suspicious

    24        of him.       That doesn't mean that,        you know --

)   25        just because I'm suspicious of him,                I'm not



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     1                                  K.     James       McCready              93
)
     2        going to throw a set of handcuffs on him and

     3        lock him up right away.             You still gotta

     4        investigate him.

     5                          And that was the whole thing

     6        here.    I wanted to talk to him.                 I    wanted to

     7        glean as much information as I                  could from

     8        him and then our investigation was ongoing

     9        at the scene and everything,                  at that point

    10        in time,     and then we -- Well,              we discovered

    11        other aspects of stuff later on in this

    12        case.

    13                          Anyway,       yeah,    I    guess,    I'm
)
    14        suspicious of him.          I    was suspicious of him.

    15                 Q        Right away?

    16                 A        Pretty close.              Alright,    I'll

    17        give you that,      what the hell.

    18                 Q        Well,   you gave it to a

    19        probation officer,        you gave it to Erin

    20        Moriarty?

    21                 A        You're making it sound like I

    22        walked up to the scene and said he's guilty.

    23        That's not what I did.

    24                 Q        No,   you walked up to the scene

)   25        and you spoke to him and you thought his



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     1                                  K.   James   McCready              94
)
     2        emotional response was inappropriate and

     3        that made you suspicious right away?

     4                 A        Pretty much so.

     5                 Q        Okay.    Then you did a

     6        walk-thru;    is that right?

     7                 A        Yes.

     8                 Q        And this isn't just kind of a

     9        stroll through the house.              You're a trained

    10        investigator,      you're an experienced homicide

    11        detective.      You're walking through the house

    12        with a purpose,      yes?

    13                          Yes.
)                      A

    14                 Q        And you're trying to figure out

    15        what took place,         observe what you can

    16        factually and so forth,          right?

    17                 A        Yes.

    18                 Q        And so you took one walk-thru

    19        initially,    correct?

    20                 A        Yes.

    21                 Q        And then you had a conversation

    22        with Marty,     right

    23                 A        Yes.

    24                 Q        -- according to you.        And then

)   25        you went back in and took another walk-thru;



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     1                                  K.   James   McCready              95
)
     2        is that right?

     3                 A        Yes.

     4                 Q        By the way,     the notes that we

     5        have that we marked before,            I think there

     6        were 79 as I      recall,      these are the notes

     7        that you said that you took at the time.

     8        There is times here 7:39 to 7:45 and that

     9        goes all the way through,           right?

    10                 A        Yes.

    11                  Q       Is there some process --

    12                 A        Wait.

    13                          -- is there some process in
)                      Q

    14        your squad at that time where you had to

    15        hand in your notes on the day every day?

    16        Were they time stamped at all?

    17                 A        No.

    18                 Q        So the copies of the notes that

    19        we have here to know for sure when they were

    20        actually created is dependant upon you

    21        telling us,     I took these notes

    22        contemporaneous with the events,             right?

    23                 A        Yes.

    24                 Q        There's not a requirement for

    25        you to turn your notes in to your supervisor



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     1                                  K.   James   McCready               96


     2        at the end of the day who then logs them in

     3        so he can maintain them?

     4                 A        No.

     5                 Q        No process like that.            You kept

     6        your own notebook; is that true?

     7                 A        Yes.    This is not my

     8        handwriting on here,           these numbers.

     9                 Q        It's not your handwriting?

    10                 A        No.

    11                  Q       Were they your notes?

    12                 A        They're my notes.         That's not

    13        my handwriting here.
)
    14                 Q        Let's just back up again

    15        because I         The 79 consists of a -- it

    16        looks like a steno pad; is that right?

    17                 A        Yeah.    It was a -- Yeah.

    18                 Q        And then,     it has --

    19                 A        No, not steno pad.         It's a

    20        notebook about that wide.

    21                 Q        Like a reporter's notebook?

    22                 A        Yes.

    23                 Q        Then at the bottom it has on

    24        the first page A1 and then at 7:39 to 7:45

    25        and then 7:45 to 7:55.            Those time sequences



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     1                                   K.    James   McCready                97
)
     2        those are not yours?

     3                 A        No.

     4                 Q        Okay·        That's good to know.

     5        Thank you.

     6                          As you walk through the house,

     7        is it correct that you try to make a picture

     8        of what took place in the rooms and

     9        reconstruct what happened?

    10                 A        What do you mean make a

    11    I   picture?

    12                 Q        A mental picture?

    13                          Well,         couldn't possibly
)                      A                 I

    14        All I   could do was see what I            could see.        I

    15        couldn't make any assumptions as to what

    16        happened.

    17                 Q        Well,    is it true that as you

    18        entered the office you stood there for

    19        15-30 seconds and you made certain

    20        observations about the room --

    21                 A        Yeah.

    22                 Q              and tried to mentally get a

    23        picture of what this room looked like and

    24        tried to basically reconstruct what I                might

    25        hypothesize as to what might have happened



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     1                                 K.   James   McCready             98
)
     2        in the room;      is that true?

     3                 A        Yes.

     4                 Q        So that when you first walked

     5        into the room in the office you looked at

     6        it.   You weren't just there to kind of see

     7        what the decorating was.           You were trying to

     8        reconstruct in your mind what could have

     9        taken place in terms of the attack on

    10        Marty's father;      is that true?

    11                 A        Yes.

    12                 Q        And you also did the same thing

    13        when you walked into the master bedroom
)
    14        where his mother was still there,             right?

    15                 A        Yes.

    16                 Q        And you also did the same thing

    17        when you walked into his room?

    18                 A        Yes.

    19                 Q        In fact,    you stood in his room

    20        for about a minute and looked around;                is

    21        that right?

    22                 A        Yes.

    23                 Q        And you walked into the house

    24        and went into the kitchen as well; is that

    25        correct?



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 1                                 K.   James   McCready               99

 2                   A      Yes.

 3                   Q      And you made certain mental

 4        observations,      right?

 5                   A      Yes.

 6                   Q      For example,    in Marty's room

 7         you noticed there was blood on the light

 8         switch?

 9                   A      Yes.

10                   Q      So you figured that somebody

11        who had either turned on or turned off the

12         light switch had blood on their hands,

13        correct?

14                   A      Yes.

15                   Q      You saw the blood on the

16        telephone in Marty's father's office,

17        correct?

18                   A      Yes.

19                   Q      You saw that there was no blood

20        on the phones in the kitchen and in the

21        master bedroom,      right?

22                   A      I don't recall the master

23        bedroom.

24                   Q      You don't recall a phone in the

25        master bedroom?



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     1                                  K.     James   McCready            100

     2                  A      There was a phone but I'm

     3        trying to remember whether there was blood

     4        on that or not.         I don't think there was.

     5         I'm not sure.

     6                  Q      You went in the kitchen,            you

     7         observed the kitchen,           correct?

     8                  A      Yeah.

     9                  Q      And there was a knife next to

    10         the watermelon in the kitchen?

    11                  A      Yes.

    12                  Q      And you observed that?

    13                  A      You have that picture?
)
    14                  Q      I do.

    15                  A      Can I    see it?

    16                  Q      Sure,    but let me finish my line

    17         of questions if I        can.

    18                  A      Okay.

    19                  Q      There is a knife next to the

    20         watermelon,     right?

    21                  A      Yes.

    22                  Q      And you observed that?

    23                  A      Yes.

    24                  Q      And then you went back out and

    25         you spoke to Marty?



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     1                                    K.    James   McCready             101

     2                   A       Yes.

     3                   Q       And he gave you some

     4        information,       correct?

     5                   A       Yes.

     6                   Q       By the way,      at that point in

     7         time,   did he tell you how he held his

     8         father?       Did you ask him what took place,

     9        what went on?

    10                   A       I don't recall.

    11                   Q       Take a look at your notes and

    12         see if -- Take a look at 79 and see if that

    13        helps you.
)
    14                   A       Yes,    here    (indicating).

    15                   Q       I   can finish up this area if I

    16         can.

    17                           Marty told you --

    18                   A       Yeah,    that's right,     he did.         He

    19         told me he moved him to the floor.

    20                   Q       At this point in time,            you had

    21        observed the father's office,               correct?

    22                   A       Yes.

    23                   Q       And you could see the chair,

    24        correct?

    25                   A       Yes.



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     1                                   K.   James   McCready             102

     2                  Q        And you could see on the chair

     3         there was blood on the chair,            correct?

     4                  A        I believe so.

     5                  Q        There's actually pooling of

     6        blood at the base of the chair; wasn't

     7         there?

     8                  A        I don't recall.        I have to see

     9         the pictures.

    10                           MR.   BARKET:   Let's come back

    11                  after lunch and we'll do the

    12                  photographs after lunch.

    13
)                                THE VIDEOGRAPHER:        Going off

    14                  the record at 1:15 p.m.

    15                           (At this time,       a recess was

    16                  taken in order to accommodate a

    17                  lunch.)

    18                           THE VIDEOGRAPHER:        We're back

    19                  on the record at 2:08 p.m.            Tape 3.

    20                  You may proceed.

    21        CONTINUED EXAMINATION BY

    22        MR.   BARKET:

    23                  Q        Before we broke you asked to

    24        see a picture of the -- I guess you all at

)   25        the trial described it as the watermelon



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     1                                      K.   James    McCready             103
)
     2         knife;   you remember that?

     3                  A        Yes.

     4                           MR.     BARKET:     Can we just have

     5                  this marked as number 80, please.

     6                           (Whereupon,        Plaintiff's Exhibit

     7                  80 was marked for identification.)

     8                  Q        You just wanted to see the

     9         knife that was next to the watermelon?

    10                  A        Yes.       I wanted to satisfy my

    11         own curiosity about something that's all.

    12                  Q        What was that?

    13                  A        I    remember Bovet        (phonetic),       I
)
    14         think he testified that it was in a

    15         different position than it was,                than where

    16         he left it.       It's all right.            Thanks.

    17                  Q        While we're doing that,              I   just

    18         kind of want to show you -- get some general

    19         sense of the house.

    20                           MR.     BARKET:     Can we have this

    21                  marked as 81.

    22                           (Whereupon,        Plaintiff's Exhibit

    23                  81 was marked for identification.)

    24                  Q        Mr.     McCready,       I'm going to show

    25         you what's been marked as Plaintiff's



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     1                                    K.   James   McCready             104

     2         Exhibit 81 which is a photograph of a model.

     3         Do you recognize that?

     4                  A        Yes.     I forget where I saw it.

     5                  Q        Am I correct to say it's a

     6        photograph of a model that was made up for

     7         the criminal trial that lays out the

     8        Tankleff residence to scale?

     9                           You recognize it?         Can I    -- Let

    10        me help orient you,          if I can.      Here is the

    11         front entrance right here            (indicating).

    12                  A        Okay.

    13                  Q        Okay.     And then the master

    14        bedroom is here           (indicating)?

    15                  A        Right.

    16                  Q        The office and gymnasium are

    17        over here       (indicating)?

    18                  A        Right.

    19                  Q        Marty's bedroom is there

    20         (indicating) .      The bathroom is there

    21         (indicating)        The linen closet and so

    22         forth.       Does that help?

    23                  A        Yeah.

    24                  Q        Okay.     Great.      One of the

)   25        things,       I think,    that you -- Let me do it



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     1                                    K.   James    McCready            105

     2         this way if I      can.

     3                           Marty told you on a number of

     4        different occasions prior to him making any

     5         kind of supposed admission that he held his

     6         father and provided first aid to his father;

     7         is that right?

     8                   A       Yes.

     9                   Q       That he had called 911 and that

    10         he,    pursuant to the instructions they gave

    11         him,    took him out the chair,           lied him down

    12         on the floor,      elevated his feet and put a

    13         towel around the wound on his neck;                 is that
)
    14         right.

    15                   A       Yes.

    16                   Q       And,    in fact,      there's not any

    17         dispute that that look place; is that right?

    18                   A       What?

    19                   Q       There's not any dispute that

    20         took place?       His father was actually found

    21         in that position,         correct?

    22                   A       That's right.

    23                   Q       And you know that his father

    24         was about 250 pounds,           correct?

)   25                   A       Yes.



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         1                                    K.   James   McCready           106
    )
         2                  Q      And he was in the office chair

         3        and I said to you the office chair had blood

         4        pooled in it; do you remember that?

         5                  A      Yes.

         6                  Q      You had some time to think

         7        about it over lunch.             Do you remember that

         8        that's actually the case that the office

         9        chair actually had blood pooled in it

        10        indicating that Mr.          Tankleff had been

        11    I   bleeding in the chair for a while?

        12                  A      Had been what?

        13                  Q        Bleeding.

        14                  A        I guess so.

        15                  Q        You made         Those were part of

        16        the observations that you made;               wasn't it,

        17        when you were there?

        18                  A        Yes.

        19                  Q        So you actually could see the

        20         office chair that Marty's father -- that

        21        Marty found his father in,               right?

        22                  A        Right.

        23                  Q        And in either scenario,          whether

        24         we accept Marty's version that he helped his

)       25         father and didn't have anything to do with



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     1                                      K.    James   McCready                 107
)
     2         the attacks on his parents or what you all

     3         seem to believe is that he actually did have

     4         something to do with the attacking of his

     5         parents,      we can agree that his father was

     6         found not in the chair but on the floor,

     7         pillow underneath his feet,                towel under his

     8         neck,    true?

     9                   A       I    have to accept that because

    10         obviously he was gone by the time I                        got

    11         there.

    12                   Q       Right,      but you don't have any

    13         reason to doubt the emergency medical
)
    14         technicians who were at the scene who

    15         described that as being true,                right?

    16                   A       Right.

    17                   Q       And we also can agree,               I    think,

    18         that that act of talking his father from the

    19         chair and putting him on the floor took

    20        place after the 911 call?

    21                   A       Yes.

    22                   Q       Right.          Whether you think that

    23        Marty was involved with the attack or not

    24         there is no indication that he somehow

    25         rendered the first aid



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     1                                    K.   James    McCready            108

     2                  A        Well

     3                  Q        That the 911 operator gave

     4         him --

     5                  A        Let me sat this.

     6                  Q        Let me finish my question.

     7                  A        Okay.

     8                  Q        There's no indication that he

     9         rendered the first aid that the 911 operator

    10         instructed him to render prior to speaking

    11         to the 911 operator,            right?

    12                  A        No.     Right.

    13                  Q        Okay.     So that what we know
)
    14         happened is that Marty moved his father from

    15         the chair to the floor and rendered the

    16         first aid.     We agree on that,           yes?

    17                  A        Yeah.

    18                  Q        Okay.     Now,   you indicated that

    19         somehow he should have had blood on his

    20         clothing if he had rendered the first aid

    21         the way he described?

    22                  A        Yes.

    23                  Q        Well,    wouldn't it be true that

    24         he should have blood on his clothing if he

)   25         rendered the first aid under your scenario?



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     1                                    K.   James   McCready            109

     2                           MR.   DUNNE:      I'm sorry, what

     3                   scenario?

     4                   Q        If Marty had --

     5                   A       Not necessarily.        Let me see

     6         something.        Is that the chair?

     7                   Q       We'll get to the chair.           Just

     8         finish this line of questioning.

     9                           We know that Marty called 911

    10         and that about five minutes later the police

    11        officers arrived,           right?

    12                   A        Yeah.

    13
)                        Q        So he had very limited time to

    14        do whatever it is that he was going to do

    15        between the 911 call and the arrival of the

    16        police officers,          correct?

    17                   A       Right.

    18                   Q       He did not have time to take a

    19         shower,       did he,   between those two times; did

    20        he?

    21                   A       No.

    22                   Q       And there is no indication that

    23        he did,        right?

    24                   A       Well,    I don't know.

    25                   Q       There is no indication he took



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     1                                    K.   James   McCready            110
I
     2         a shower between 6:11 when the 911 call was

     3        made and 6:17 when the police arrived,

     4         right?

     5                  A        That's right.

     6                  Q        His hair wasn't wet,       there was

     7         no indication at all,           correct?

     8                  A        Right.

     9                  Q        So whenever Marty showered it

    10         was sometime before 6:11 when he called 911,

    11         true?

    12                  A        Right.

    13                  Q        And according to your version

    14         of this,     if you will,       that Marty called 911

    15         and that they told him to go ahead and

    16         render some kind of first aid and that under

    17         your version as a quote/unquote "cover-up,"

    18         he pretended to render that first aid,

    19         right?

    20                  A        Yes.

    21                  Q        And so that he took his father

    22         out of the chair,         put him on the floor,

    23         raised his feet,         put the towel around his

    24        neck?

)   25                  A        Yes.



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     1                                     K.   James   McCready              111

     2                   Q         Then after that he called his

     3        sister,        right?

     4                   A         Yes.

     5                   Q         And after that he left the

     6        house?

     7                   A         Yes.

     8                   Q         Okay.     And one of the things

     9         that you've pointed to as kind of

    10         repeatedly,        I think,      as evidence or

    11         suspicious is that Marty didn't have any

    12        blood on the sweatshirt that he had on?

    13                             Yes.
)                        A

    14                   Q         Well,   is it fair to say that

    15        whether he rendered the first aid as part of

    16         trying to help his father and he was

    17         innocent or if he rendered the first aid as

    18        part of the coverup he didn't have that

    19         sweatshirt on when he rendered the first

    20        aid?

    21                   A         I don't know that.         I don't

    22         know that he rendered first aid.                 I wanted

    23         to look at that picture for a reason.

    24                   Q         Sure,   sure.    And I'll give it

)   25         to you.        I   just want to finish this kind of



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     1                                    K.    James   McCready             112

     2         thought that we have.

     3                           Whether we call it first aid or

     4        moving his father from the chair to the

     5         floor,   elevating his feet,             and putting the

     6         towel around his neck,            that physical

     7        activity,     whatever way you characterize it,

     8         coverup,     first aid,        that took place,       right?

     9                  A        Yes.

    10                  Q        That when that took place,

    11         whether it was a coverup or first aid,                  we

    12         can agree that Marty did not have that

    13         sweatshirt on at that time;               is that true?
)
    14                  A        Wait a minute.          Run that by me

    15         again.

    16                  Q        Sure.        The sweatshirt had

    17         absolutely no blood on it; did it?

    18                  A        No,    no.

    19                  Q        So that we know that when Marty

    20        moved his father from the chair to the

    21         floor,   elevated his feet,          put the towel on,

    22         he didn't have the sweatshirt on because if

    23         he had the sweatshirt on you would have

    24         expected to see blood on it,               correct?

    25                  A        I don't know that that's



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     1                                  K.   James   McCready             113
)
     2        actually the scenario.           I don't know for a

     3         fact that he lifted his father out of the

     4        chair.

     5                   Q     How did his father get out of

     6        the chair?

     7                   A     I think he grabbed him by his

     8         feet and pulled him out.          That's what I

     9         think.

    10                   Q     Oh,   he grabbed him by his feet,

    11        pulled him out of the chair?

    12                   A     Yeah,   onto the floor.

    13                         And he had is sweatshirt on?
)                        Q

    14                   A     Yeah.

    15                   Q     Oh,   I see.     So he didn't have

    16         any blood on him at all according to your

    17         theory?

    18                   A     Well,   I don't know that he got

    19        any blood on him.         I    know there was blood

    20         spots on him.      As a matter of fact,           he wiped

    21         two of them off when I had noticed on his

    22         leg when he was sitting in the police car.

    23                         MS.   BARKET:     As long as we're

    24                   looking at it,       can we have this

)   25                   marked as Plaintiff's Exhibit 82,



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     1                                    K.   James   McCready           114
)
     2                  please.

     3                           (Whereupon,     Plaintiff's Exhibit

     4                  82 was marked for identification.)

     5                  Q        So you're saying that what

     6         could have happened -- this is not in the

     7         confession,    of course,        right?

     8                  A        No.

     9                  Q      What's in the confession is

    10         that he moved him from the chair and did

    11         what he did,      right?

    12                  A        Right.

    13                  Q        There's nothing about pulling
)
    14         him from the feet or any such thing,               right?

    15                  A        That's right.

    16                  Q        So we don't really know if that

    17         happened or not but we're asking you to

    18         theorize so you're theorizing.

    19                  A        Right.

    20                  Q        So your theory is that Marty

    21         somehow got him out of the chair by pulling

    22         him by his feet and not getting any blood on

    23         the sweatshirt he was wearing and then

    24         propped up his feet and put the towel around

)   25         his neck;    is that what you're saying?



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     1                                    K.    James   McCready           115

     2                  A      Yes.

     3                  Q      Let's just go with the theory

     4        that Marty helped him out of the chair the

     5        way Marty described it for a moment,                 okay.

     6                  A      Uh-hum.

     7                  Q      So the father was facing

     8         forward in the chair and the chair was swung

     9         around to the left;            is that true?

    10                  A        I don't remember.

    11                  Q        You don't remember looking at

    12         the office where the

    13                           Yeah,    I    know but I can't
)                       A

    14         orientate the chair from this photograph.

    15                           MR.    BARKET:     Let's do it this

    16                  way.     Let's mark this as 83.

    17                           (Whereupon,       Plaintiff's Exhibit

    18                  83 was marked for identification.)

    19                  Q        You can see here what we're

    20         referring to,      right?

    21                  A        Yes.

    22                  Q        So that the chair was swung to

    23         the left and then Marty would have

    24         approached his father from the father's left

)   25         with Marty's right hand going around his



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     1                                   K.   James   McCready             116

     2         father's back and his left arm going

     3         underneath his legs?

     4                   A       Yeah.

     5                   Q       That's what he did.        That's

     6     I   what Marty says he did,          right?

     7                   A       Yes.

     8                   Q       So if he had actually done what

     9         he said he did,      wouldn't you expect to see

    10         blood on the right side of Marty and on his

    11         left arms?

    12                   A       Yes.

    13
)                        Q       Okay.   Where was the blood on

    14         Marty according to the police officers?                    Is

    15         it true that the blood on Marty was on the

    16         right side of his face             officer noticed

    17         that -- the blood was on his right shoulder,

    18         on the palms of his hands,             on his left

    19         forearm and on his right calf and his right

    20         instep?       Isn't that where the blood was on

    21         Marty when he walked out of the house

    22         screaming "murder,        somebody's murdered my

    23     I   parents," according to the police officers?

    24                   A       Yes.

)   25                   Q       So that's exactly where you



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     1                                    K.   James   McCready            117

     2         would expect to see the blood on Marty if he

     3         had done precisely what he said he did,

     4         right?    And that was all his father's blood,

     5         it wasn't his mother's blood?

     6                  A        I could swear the blood

     7         underneath his shirt was the mother's blood.

     8                  Q        Don't swear to that.         It's his

     9         father's blood,         trust me.

    10                  A        Oh yeah,      whatever.    I still

    11         think it's a possibility --

    12                  Q        Well,   it's not just a

    13         possibility.       Under that scenario that's

    14         exactly where -- Marty had blood on him in

    15         the exact spots you would expect to see the

    16         blood if he removed his father from the

    17         chair exactly the way he said he removed it,

    18         that's correct; isn't it?

    19                  A        I don't think so.

    20                  Q        You don't think so?

    21                  A        No.

    22                  Q        What's incorrect about it?               How

    23         did he get blood on the right side of his

    24         face if he wasn't helping his father?

)   25                  A        I don't know.         I wasn't there.



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     1                                   K.   James   McCready             118

     2                  Q        How did he get blood on his

     3         left forearm and the palms of his hands if

     4         he wasn't helping his dad?

     5                  A        I don't know I wasn't there.

     6                  Q        How did he get blood on his

     7         right calf and his right instep?

     8                  A        I don't know.

     9                  Q        You can't think of a scenario

    10         where he murdered his father and somehow

    11         smeared blood all over his body in just that

    12         way; can you?

    13                  A        Well,   I'm not saying that that
)
    14         couldn't have been possible, but I don't

    15         know.    I would have loved to be there when

    16         Seymour was there but unfortunately he

    17        wasn't.       However --

    18                  Q        Well,   you have people to talk

    19         to about what Seymour looked like; don't

    20         you.    In fact.     You all went out and

    21         interviewed the people at the scene.                 You

    22         talked to the officers who arrived there.

    23                  A        Yeah,   I know.

    24                  Q        And Marty didn't have blood on

)   25        his hands.       Marty had blood on the palms of



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     1                                  K.   James   McCready              119

     2         his hands according to the police officer;

     3         isn't that right?

     4                  A        I don't recall.

     5                  Q        You don't recall testimony of

     6         what the original officers had to say?

     7                  A        I don't recall right now.            I

     8         remember I think it was a key,            a key that

     9         said he washed his hands in the puddle

    10         outside.

    11                  Q        I'm not talking about when he

    12         cleaned the blood off his hands.              I'm

    13         talking about what the officer said where
)
    14         the officer said the blood was.

    15                           MR. BARKET:     Can I have this --

    16                  it's page --

    17                  A        I don't know what they

    18         testified to.       I wasn't in the courtroom,

    19         obviously.

    20                  Q        Obviously,    you don't know what

    21         they testified to because you weren't there

    22         but you spoke to these individuals; didn't

    23         you?

    24                  A        Yes.

)   25                  Q        These are trained police



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     1                                         K.   James   McCready            120

     2         officers,     right?

     3                  A          Yes.

     4                  Q          You're a trained detective.

     5         It's a homicide scene.

     6                             MR.       BARKET:     Can I have this

     7                  marked,          please,       as 84.

     8                             (Whereupon,          Plaintiff's Exhibit

     9                  84 was marked for identification.)

    10                  Q          Could you take a look at Page

    11         332.    It's Police Officer Crayne,                I think is

    12         how you say it,               and down at line 18 -- well,

    13         line 16, do you recall any other
)
    14         conversations about this person at the time?

    15        Answer.       Yes.         I    notice in the palm of his

    16         hands he had some blood there.                   I noticed

    17         also a little blood on the right side of his

    18         face.    There was also a bit of bruises

    19         underneath his eyes.

    20                             You don't doubt that's what

    21         Officer Crayne testified to and that's what

    22         he observed,        right?           There's no reason to

    23         doubt that;     is there?

    24                  A          What's that?

)   25                  Q          There's no reason to doubt



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         1                                  K.   James   McCready              121

         2        Officer Crayne's testimony--

         3                  A        No.

         4                  Q        -- the credibility of it or the

         5         accuracy of it?

         6                  A        No.

         7                  Q        And obviously he got that blood

         8         on him moving his dad,         right?

         9                  A        I guess so.

        10                  Q        So he could not have gotten

        11         that blood on him on the right side of his

        12         face by pulling his father out of the chair

        13        by his feet?
    )
        14                  A        How do you think he got the

        15         blood on the right side of his face?                 Why

        16         couldn't he have pulled his father off the

        17         chair,   gotten him on the floor and when he

        18         pretended to do the first aid he got blood

        19         on him and mistakenly went like that

        20         (indicating)

        21                  Q        So he got blood on his hands

        22         while rendering first aid,            mistakenly

        23         touched his face,       his right shoulder,          his

        24         right calf,    his right instep and his left

)       25         forearm.     That's your testimony?           That's



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     1                                    K.     James   McCready           122

     2        your theory of what happened here?

     3                  A        I don't know what happened.

     4                  Q       What you do know is what Marty

     5        told you,      right?

     6                  A       Yes.

     7                   Q      And you took Marty's account of

     8        what took place and if we compare it to the

     9        physical evidence that we have,                the blood

    10         that we know was on him from the police

    11         officers,      those two things are consistent;

    12         aren't they?

    13                           Yes.
)                        A

    14                   Q       Now,    I want to move to,         if I

    15         can,   the       Let me just ask a couple of

    16         questions if I can about Arlene.

    17                           When you walked up to her on

    18         the second walk-thru,             this was after you

    19         spoke to Marty,          right?

    20                   A       Yes.

    21                   Q       One of the things that you

    22         noticed,      by the way,       was that Arlene's room,

    23         the room where Arlene Tankleff was,                  the

    24         master bedroom had three sets of windows in

)   25         it;    is that right?



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      1
-)                                       K.    James   McCready            123

      2                  A      Yes.

      3                  Q      And two of them had curtains

      4         drawn,   correct?

      5                  A      Yes.

      6                  Q      One had a gap of about

      7         three feet where the curtains were open;

      8         true?

      9                  A      Yes.

     10                  Q      And at the time that you saw

     11         this sometime after 8 o'clock in the

     12     I   morning,     light was corning through there,

     13         yes?

     14                  A      Yes.

     15                  Q      And I   think that we can agree

     16         that sunrise on that day was 6:25 in the

     17         morning;     is that right?

     18                  A      Yes.

     19                  Q      So the 20 or 30 minutes before

     20         sunrise it would be somewhat light perhaps

     21         but it's not a bright sunny day at that

     22         point in time?

     23                  A      Well,   I     remember that morning

     24         specifically it was a bright sunny day.

     25                  Q      Well,   it wasn't a bright sunny



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     1                                    K.   James   McCready            124

     2        day before the bright sun came up,               right?

     3                  A      Well,      what I'm saying is when I

     4        was in the morning,          I   got up early,      I think

     5        it was about 10 after 6:00 that I get up and

     6        when I   looked out my window it was a nice

     7        day.

     8                  Q      We can argue about many things.

     9        You're not asserting that the sun came up

    10        for you before it came up for everybody

    11        else,    obviously?

    12                  A      No,     but I    know when just

    13        because it says that sunrises officially at

    14         6:25 doesn't mean it's not light at

    15         6 o'clock in the morning.

    16                  Q      Well,      without going through the

    17        weather charts that there's actually a

    18         sequence that plays out every day.

    19                           MR.   DUNNE:     But he used the

    20                  term light.

    21                  Q        There wasn't sunlight there was

    22         some light at that point in time at say 6:00

    23         or 6:10 but the sun hadn't risen yet,                 right?

    24                  A        Right.

)   25                  Q        We can agree on that.            So when



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     1                                   K.   James   McCready             125
)
     2         you went in there looking for Arlene's body

     3         because you knew it was there,            you found her

     4         pretty easily,      right?

     5                   A       Yes.

     6                   Q       At that point in time we can

     7         agree it was bright sun,          correct?

     8                   A       Yeah.

     9                   Q       When Marty first woke up and

    10         got up out of his bed and began to walk

    11         through his house the sun had not risen yet;

    12         had it?

    13
)                        A       No.

    14                   Q       And at that point in time you

    15         weren't in the bedroom; were you?

    16                   A       No.

    17                   Q       That bedroom actually faces

    18         Long Island Sound,        correct?

    19                   A       Yes.

    20                   Q       Actually faces the north,           yes?

    21                   A       Yes.

    22                   Q       And in September the sun rises

    23         -- I don't mean to be facetious -- but the

    24         sun rises in the east in September as

)   25        opposed to June where it actually rises in



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     1                                    K.   James   McCready           126

     2        the northeast or December arises in the

     3        southeast,     right?

     4                  A        I guess.

     5                  Q      And so the window that Marty's

     6        mother's bedroom faced was not where the sun

     7        was rising,     it was on the east side of the

     8        house,    not on the north side where the

     9        window was facing;          true?

    10                  A        Right.

    11                  Q        So whatever the lighting was at

    12         that point in time Marty says to you,                I

    13         looked in the bedroom for my parents and I
)
    14         didn't see them,         correct?

    15                  A        Yes.

    16                  Q        That's what he says.         And

    17         obviously         well,    not obviously but is it

    18         fair to say that Marty, when looking for his

    19         parents in the bedroom, would have been

    20         looking to the right up at the headboard

    21         where the pillows were?

    22                  A        Possibly,     yes.

    23                  Q        Sure, because that's where you

    24         would expect to find your parents if they

    25         hadn't been murdered the night before?



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     1                                    K.   James   McCready            127

     2                   A       Oh,   yes.

     3                   Q       If you woke up and you're an

     4         innocent teenager and you wake up and you're

     5         looking for your parents and you don't know

     6         that your mother's throat's been slit and

     7         she's down at the foot of the bed with just

     8         her head exposed,         you're not looking there,

     9         you're looking up to the right to the

    10         headboard where the pillows were,             right?

    11                   A       Right.

    12                   Q       It's still not sunrise,

    13         whatever the lighting conditions were they
)
    14         were,    he looks there doesn't see them and

    15         then he begins to go through the rest of the

    16         house?

    17                   A       There's only one little problem

    18         with that.     The television was on and that

    19         emanates an awful lot of light.

    20                   Q       How do you know?

    21                   A       What?

    22                   Q       What was the show?

    23                   A       I don't know.

    24                   Q       What was going on?

)   25                   A       I didn't watch it.



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     1                                    K.   James    McCready            128
)
     2                  Q        It was 1988.          Did they have

     3         cable?     Was it fuzz?         Was it MTV?

     4                  A        I don't know.

     5                  Q        How much light did that

     6         emanate?

     7                  A        When I    looked in there,        I could

     8         see the television was on and everything --

     9         Granted,     I   had more light than he did,           but

    10         the television was on and I              leave the

    11         television on in my bed every night and

    12         there's plenty of light that is emanated

    13         from it.

    14                  Q        You're saying it's unreasonable

    15         for an individual to walk into the room

    16        before sunrise,        look over to the head of the

    17         bed where he would expect to find his

    18         parents,     not see them there,          turn around and

    19         leave and not notice the mother's head at

    20         the foot of the bed down behind on the other

    21         side of the bed?         That's an unreasonable

    22         thing in your mind?

    23                  A        I think it is,        yes.

    24                  Q        You're entitled to your view.

)   25        And in your mind if that unreasonable and



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     1                                  K.   James    McCready             129
)
     2         somehow evidence of his guilt of murder,

     3         you're entitled to that view.

     4                           In any event,       when you went

     5        back into the room and you walked over to

     6        her,    you actually had a chance to look at

     7         her fairly closely; didn't you?

     8                   A       Yes.

     9                   Q       And nobody was rushing you?

    10         There wasn't a time limit.             You took as much

    11         time as you wanted to take to view Arlene,

    12         to view the scene; true?

    13                   A       Yes.

    14                   Q       And part of what you were doing

    15         is what you described earlier, was just

    16        trying to get together a scenario in your

    17        mind about what potentially took place,

    18         right?    And you could see the blood on the

    19         sheets?       You could see the blood on the

    20        wall,     right?

    21                   A       Yes.

    22                   Q       And you could see,       of course,

    23        Arlene who was dead lying face up --

    24                   A       Yes.

)   25                   Q       -- with her head slightly



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     1                                   K.   James   McCready             130

     2         tilted to the right;           you remember that?

     3                  A        Yes.

     4                  Q        Okay.   And at that point in

     5         time you left and began to have a further

     6         conversation with Marty;           is that right?

     7                  A        Yes.

     8                  Q        And before you did that you

     9        went in and you saw the telephone in the

    10         office; is that true?

    11                  A        Yes.

    12                  Q        And you said that the telephone

    13         in the office had blood on it and that none

    14         of it was smeared in your view?

    15                  A        Yes.

    16                  Q        Is that right?

    17                  A        Yes.

    18                  Q        Did you have any kind of device

    19         to help you examine the phone?

    20                  A        No.

    21                  Q        Magnifying glass?

    22                  A        No.

    23                  Q        Anything like that?

    24                  A        No.

)   25                  Q        Where was the blood on the



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     1                                  K.   James    McCready            131

     2        phone?

     3                  A       I have to look at the picture

     4        again but I'm pretty sure it's right across

     5        the top of the handle on the phone.

     6                  Q       Right across the top?

     7                  A       Well,   on the top.

     8                  Q       Is it fair to say there was

     9         specs of blood?

    10                  A       Yeah.

    11                  Q       Were the specs of blood wet or

    12        dry?

    13                  A       Were they what?
)
    14                  Q       Wet or dry?

    15                  A       I don't recall at this time.

    16                  Q       You recall Ethel Kerley

    17        testifying that the blood in the father's

    18        room was dry; that literally the blood

    19        dried clumps of bloods in his hair.

    20                          Do you remember her testifying

    21        to that or telling you that?

    22                  A       Who?

    23                  Q       Ethel Kerley,        the EMT person

    24        who arrived first who saw Marty's mom's

    25        throat cut?



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      1                                  K.    James   McCready              132

      2                  A      Uh-hum.

      3                  Q      You're not disputing her

      4        testimony in that regard?

      5                  A      No.

      6                  Q      You also observed,          I   think,      the

      7        blood spatter around the room; didn't you?

      8                  A        Yes.

      9                  Q        That the blood on the phone

     10        didn't come from dripping but looked like it

     11        was sprayed there from his father's --

     12                  A        Spattered.

-)   13                  Q        Spattered.      Being struck,

     14         right?

     15                  A        Yes.

     16                  Q        And so,     just again,       I'm sure

     17         you know there's some -- you know,                that when

     18         someone is struck and they bleed and they're

     19         struck again and an object is swung back and

     20         forth the blood is literally sprayed off the

     21         individual and cast off from the weapon and

     22         it creates blood spatter around the room and

     23         that's what you saw on the phone,                some specs

     24         of blood splatter;          is that right?

)    25                  A        Yes.



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     1                                    K.   James   McCready            133
)
     2                           MR. BARKET:      Could we have

     3                  these two marked as 85 and 86.

     4                           (Whereupon,     Plaintiff's

     5                  Exhibits 85 and 86 were marked for

     6                  identification.)

     7                  Q        Could you take a look at what's

     8         been marked as Plaintiff's Exhibits 85 and

     9         86 and I'm going to ask you if that's the

    10         telephone that you observed on September 7,

    11         1988 in the office where Martin Tankleff's

    12         father was found?

    13                  A        Yes.

    14                  Q        And you see the little specs of

    15        blood on it,       right?

    16                  A        Yes.

    17                  Q        And by the way,       the photographs

    18         that we're going through,           these are all

    19        police photographs that were reproduced for

    20        Mr.   Gottlieb back in '88-'89 for the trial;

    21        is that right?

    22                  A        Yes.

    23                  Q        So all these photographs that

    24        we're going through they were not taken by

    25        defense experts,          they were taken by police



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     1                                   K.   James   McCready            134
)
     2        officers in the course of the investigation?

     3                  A      Yes.

     4                  Q        I want to ask you something

     5        about what you expected to see and then

     6        we'll talk about what's actually there.

     7                         Are you suggesting that if

     8        there is dry blood on the phone and somebody

     9        without any moisture or blood on their hands

    10        picks it up and uses it for about a minute

    11         that the blood spatter,          the dried blood

    12         spatter,     has to have ben smudged?

    13                  A        What I am saying is even from
)
    14         this photograph the blood does not look like

    15         it was that dry to me.           Usually blood turns

    16         into real dark brown when it's dry.

    17                  Q        I don't know what the lighting

    18         was for the photograph.            I didn't take the

    19         picture but I don't want to go backwards in

    20         our examination here.           We just agreed the

    21         blood was dry.          Ethel Kerley described the

    22         blood being dry,        that the spatter on the

    23         phone was dry;      is that fair?        We're not

    24         backtracking it; are we?

)   25                  A        No,   I'm not.



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     1                                      K.   James   McCready              135
)
     2                  Q      So assuming that the blood was

     3        dry the way Kerley said it was and the way

     4        you said it was,           if there is dry blood on

     5    I   the phone,     somebody without moisture on

     6    I   their hands,       without blood on their hands,

     7    I   picks up the phone and uses it briefly,

     8        would you automatically expect that blood to

     9        be smeared?

    10                  A      No.

    11                  Q        It may not be smeared,               right?

    12                  A      Yeah.

    13                           In point of fact,          if you look
)                       Q

    14        at the 911,     the numbers that Marty would

    15        have dialed,       they don't have any blood on

    16        them at all;       do they?

    17                  A        No.

    18                  Q        Now,     here is where the

    19        magnifying glass comes in.                 I want you to

    20         take a look at these pictures with the

    21        magnifying glass and look at the base of the

    22         phone,   the handset down at the bottom on

    23         each side,    and tell me if you don't see what

    24         appears to be smeared blood there.

)   25                  A        I    can't tell what that is.



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     1                                      K.   James    McCready             136
)
     2                   Q         There is something there;             isn't

     3         there?

     4                   A         I don't know.

     5                   Q         Looks like smeared blood;

     6         doesn't it?          I'm talking about the base of

     7         the handset.

     8                   A         I   know.     I   know.   You're

     9         talking about the sides of the phone.

    10                   Q         Right.

    11                   A         I don't know.

    12                   Q         That very well could be smeared

    13         blood even through that photograph,
)                                                                    right?

    14                   A         It could be.          I don't know

    15         though.        I   can't tell from this.

    16                   Q         You obviously didn't take a

    17         close examination of the phone that day with

    18        magnifying glasses or anything of the sort;

    19         did you?

    20                   A         No.

    21                   Q         Okay.       So is it fair to say

    22         that A,       there could be smeared blood on that

    23        phone,     right?

    24                   A         Could be.         Yeah.

)   25                   Q         And B,      that even if there is



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     1                                    K.   James    McCready            137

     2        not smeared blood that would not necessarily

     3        mean that Marty did not use it because the

     4        dried blood wouldn't necessarily have

     5         smeared,     correct?

     6                  A        Possibly,      yes.

     7                  Q        Now,    the next thing that I want

     8         to talk to you about is the doorknob.

     9                  A        Yes.

    10                  Q        Okay.     You know which doorknob

    11         we're talking about,            right?

    12                  A        Yeah.

    13                  Q        The garage.

    14                  A        The garage.

    15                  Q        Because Marty says that after

    16         he found his father,            after he called 911 and

    17         after he rendered first aid to his father,

    18         he went looking for his mother,              right?

    19                  A        Yes.

    20                  Q        And that he opened the garage

    21         door,   right?

    22                  A        Right.

    23                  Q        And then closed it and kept

    24         looking for his mother until he found her in

)   25         the bedroom,      correct?



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         1                                    K.   James   McCready            138
    )
         2                  A        Right.

         3                  Q        Now,    at that point in time you

         4        went looking for blood on that door,                right?

         5                  A        Yes.

         6                  Q        Interesting,     going back to what

         7        Officer Crayne said that Marty had blood not

         8         on his fingertips but on the palms of his

         9         hands

        10                  A        Yes.

        11                  Q           how do you think that might

        12         have happened?

)       13                  A        How that might have happened?

        14                  Q        Yeah.

        15                  A        I don't know.

        16                  Q        Well,    if Marty had blood on his

        17        hands from helping his father off the chair,

        18        elevated his feet with the pillow,              and then

        19         the last thing he did is take a towel with

        20        his fingers extended and put it down on his

        21        father's neck,       could some of the blood that

        22        might have been on Marty's fingers come off

        23        on the towel?

        24                  A        Yes.

)       25                  Q        Could?



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     1                                  K.   James   McCready             139

     2                  A       Yes.

     3                  Q       So that would explain while he

     4         helped his father and there's blood on the

     5         palms but not on fingers,         right?

     6                  A       Yes.

     7                  Q       And the key that you turned,              I

     8         think,   if I   recall your testimony,         you

     9         turned it with a pen or something?

    10                  A       Yeah.

    11                  Q       What if Marty turned it with

    12         his fingertips where there wasn't blood,

    13         would you expect to see blood there?

    14                  A        No.

    15                  Q        Push the handles down on the

    16     I   door with his fingers,         pulled it back,

    17     I   closed it,      turned the lock,      you wouldn't

    18     I   expect to see any blood at all;            would you?

    19                  A        Not necessarily,      no.

    20                  Q        And is it true that even if he

    21         had blood on his hands it would not

    22         necessarily mean that everything he touched

    23     I   thereafter would have blood on it; would it?

    24                  A        Not necessarily,      no.

)   25                  Q        Of course not.       And we know in



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         1                                    K.   James    McCready            140
    )
         2         this case,    as a matter of fact,           that

         3         everything he touched after he rendered aid

         4         to his father didn't have blood on it; don't

         5         we?

         6                           MR.    DUNNE:    No,   I'm going to

         7                  object to the conclusionary portion

         8                  of that.

         9                           MR.    BARKET:    Let me ask it in a

        10                  factual way.

        11                  Q        We know that after he touched

        12         his father,    whether it was quote/unquote as

        13
    )              some kind of coverup or some kind of simply

        14         rendering first aid the way he said,                that he

        15         did other things after that,              right?

        16                  A        Yes.

        17                  Q        Called his sister?

        18                  A        Yes.

        19                  Q        Picked up the telephone?

        20                  A        Yes.

        21                  Q        Was there blood on the phone?

        22                  A        No.

        23                  Q        Well,    why would you expect to

        24         see blood on the doorknob and the key but

)       25         not on the phone?          It's just possible that



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     1                                    K.   James   McCready            141

     2    I   when somebody has blood on them it doesn't

     3    I   mean that their hands are literally covered

     4        with blood.

     5                  A        I understand that.

     6                  Q      He didn't stick his hands in

     7        paint and covered it completely?

     8                  A        I understand.

     9                  Q        It means that he had some blood

    10        on his hands and all that it means when he

    11        touches the next thing and he doesn't leave

    12         a blood trace is the spot on his hands that

    13        had the blood didn't come into contact with
)
    14        whatever it was that he was picking up,

    15         right?

    16                  A        Right.

    17                  Q        It's a very simple explanation;

    18         isn't it?

    19                  A        It's plausible.

    20                  Q        It's more than plausible.            We

    21         actually know what happened here because we

    22         know that Marty rendered first aid and we

    23         know he made the phone call to his sister

    24         and there's no blood on the phone,             right?

)   25                  A        Right.



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           1                                  K.   James   McCready             142
    /
      t
           2                  Q       And we also know that he went

           3        out through a storm door; don't we?

           4                  A       Yes.

           5                  Q       Blood on the storm door?

           6                  A       No.

           7                  Q       He didn't become like some

           8        character out of Star Trek and beam himself

           9        through the door; did he?              He had to open

          10        the door with his hands and walk through,

          11        correct?

          12                  A       I guess.

          13                  Q       Of course,    right, there was no

          14        other way to get out of the house.

          15                  A       Okay.    I don't know -- Why did

          16        he use a tissue to go back into the house

          17        when he left the police officer?

          18                  Q       I don't know.        Somebody should

          19        have asked him.

          20                  A       What?

          21                  Q       Did you ask him?        Mr.   Dunne

          22        could have asked him.           Somebody could have
          23        asked him.      There's a trial, we'll ask him.

          24        You can ask your attorney to ask him.                 Did

)         25        you ask him that day?



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     1                                      K.   James   McCready              143

     2                  A        I don't remember asking him

     3         that.

     4                  Q        I'm sorry?

     5                  A        I don't remember asking him

     6         that.

     7                  Q        Did any police officers that

     8         you know of ask him that day?

     9                  A        I don't know.

    10                  Q        Marty told you he was sickened

    11         by blood; didn't he?

    12                  A        Something like that,           I think.

)   13                  Q        Well,      something like that.              He

    14         told you that when he went in to see his

    15         father who had some type of procedure in the

    16         hospital he was actually sickened by the

    17         site of blood.

    18                  A        I ' l l take your word for it.

    19                  Q        Well,      I mean you were there.

    20         Do you remember that?              We have notes on it

    21         and so forth?

    22                  A        I    know but I ' l l give you that.

    23         Yeah.

    24                  Q        He actually said it.             It's in

    25         your report,      right?



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     1                                   K.   James   McCready             144

     2                  A        Yeah.

     3                  Q        So that a young teenager who

     4        finds his parents that way,             who has to

     5         render first aid to his father,            who is

     6         revolted by the site of blood is going to do

     7         some things to get the blood off of him;

     8         isn't he?

     9                  A        Yes.

    10                  Q        He asked the police officer

    11        could he go back in the house and wash his

    12        hands.        He was told no.      And he asked to

    13        wash them in a puddle and he was told yes,
)
    14         right?

    15                  A        I guess.

    16                  Q        So he cleaned the blood on his

    17        hands off,       right?

    18                  A        Yes.

    19                  Q        And then as he's going back and

    20         forth through the house,          I guess before that

    21        or after that,         it's not clear,     he used a

    22        tissue,       right?

    23                  A        Yeah.

    24                  Q        Does that tell you anything

)   25        other than he used a tissue?



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     1                                    K.   James    McCready            145

     2                  A        No.

     3                  Q        There's actually three tissues

     4        found in his pocket,             right?

     5                  A        Yes.

     6                  Q        One of them had his blood on

     7         it,   right?

     8                  A        Had what?

     9                  Q        Had his blood on it.

    10                  A        I don't recall.

    11                  Q        One of them had his blood on

    12         it,   one of them had nothing and one of them

    13         hd a small amount of his mother's blood,

    14         right?

    15                  A        Yes.

    16                  Q        So he has his mother's blood on

    17         a tissue inside of his pocket.               How did that

    18        happen if he murdered his mom?

    19                  A        If he what?

    20                  Q        If he murdered his mom.

    21        According to your theory,             how did he end up

    22        with blood on the tissue?

    23                           MR.    DUNNE:    I object to the

    24                  form of the question.             Go ahead and

)   25                  answer.



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     1                                      K.   James   McCready              146

     2                  A        I don't know.

     3                  Q        Well,      we know that he took a

     4         shower according to your account,                 right?

     5                  A        Right.

     6                  Q        After the murders,          right?

     7                  A        Yes.

     8                  Q        And that the shower was

     9         thorough enough,           at least as to the weapons,

    10         according to your account,                as to completely

    11         clean off any forensic trace of anything,

    12         right?

    13                  A        Yes.

    14                  Q        And that he has a tissue in his

    15        pocket with his mother's blood on it.                      That

    16         had to get there after the murders,                    right?

    17         He did not kill his mother with the

    18         sweatshirt on; did he?

    19                  A        With a what?

    20                  Q        He didn't kill the mother while

    21        wearing that sweatshirt; did he?

    22                  A        Not that I'm aware of.

    23                  Q        There was blood on the doorknob

    24         of Marty's room; wasn't there?

)   25                  A        I    think there was.         I'm not



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     1                                   K.   James   McCready            14 7

     2        sure.

     3                  Q       His mother's blood on the

     4        doorknob,     right?

     5                  A       I don't know.         I don't

     6        remember.

     7                  Q       Mother's blood on the light

     8        switch in Marty's room,            correct?

     9                  A       I   think so,    yes.

    10                  Q       And there's actually blood

    11        there that was actually smeared up the wall

    12    I   by the light switch,            correct?

    13                          Yes.
)                       A

    14                  Q       You ever walk into a room where

    15        you don't know where the light switch is and

    16        you grope on the wall looking for it?

    17                  A       Sure.

    18                  Q       You ever walk in a room where

    19        you know where the light switch is and you

    20        turn it on?

    21                  A       Yes.

    22                  Q       So Marty who lived there is not

    23        likely to be groping for a light switch in

    24        his own room;         is he?

)   25                  A       No.




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         1                                   K.   James   McCready            148
    )
         2                  Q       So when Marty woke up that

         3     I   morning and flicked on his light,            could he

         4         have gotten some of the blood that was on

         5         the slight switch on his hand?

         6                          MR.    DUNNE:   I object to the

         7                  form but go ahead.

         8                  A       Could he have gotten what?

         9                  Q       Some of the blood that was on

        10         the light switch on his hand when he turned

        11         on the light?

        12                  A       Is that scenario possible,             yes,

        13         of course.
)
        14                  Q       There's a few things that Mr.

        15         Pollack asked Mr.        Rein about and I want to

        16         give you the same opportunity,            that

        17         according to your account of this,               Marty

        18         called 911 after having woken up at 5:35 in

        19         the morning,     attacked his mother,        attacked

        20         his father,    noticed that his father was

        21         still alive and called 911 anyway,               right?

        22                  A       Yes.

        23                  Q       Okay.     And according to you he

        24         had to have done this from the bed.                He

)       25         couldn't have done it from the phone in the



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     1                                    K.   James    McCready           149

     2        office,    right?

     3                   A       Called 911?

     4                   Q       Right.

     5                   A       Right.

     6                   Q       Because you had that scenario

     7        where that phone in that office was not

     8        touched so Marty's call had to have taken

     9        place someplace else,            right?      Guilty or

    10        innocent,       according to you,         he couldn't have

    11        called from the office,             right?

    12                   A       I don't believe he did.

    13                           No.     So according to your
)                        Q

    14        account he called from his mother's room;                     is

    15        that right?

    16                   A       Yes.

    17                   Q       Okay.     So he's making a 911

    18         call seven feet from his butchered mother,

    19         fainting excitement and stress the way you

    20         hear him on the 911 call,            begging, please,

    21         please,       I need an ambulance,        and he doesn't

    22        mention his mother.              That's your account,

    23         right?

    24                   A       Right.

)   25                   Q       How do you explain that?



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     1                                  K.   James   McCready             150

     2                  A      How did I explain it?

     3                  Q      Yeah.     What would possess

     4        Marty,    assuming he did the things that you

     5        think he did, make the 911 call from one

     6        room next to the parent that's right across

     7        the hall from him where you would expect --

     8        everybody would expect he would have walked

     9        across the hall,         seen his mother laying on

    10        the floor in the bright light,            whatever it

    11        was,   TV set in that room,         picked up the

    12        phone and said,       oh, my God, my mother has

    13        been attacked.        That would be a fairly

    14         logical simple thing for the guilty person

    15         to do;   yes?

    16                           MR. DUNNE:     I'm going to object

    17                  to I think there was a question but

    18                  the form of it.        Go ahead.

    19                  Q        How do you explain the fact

    20         that he's calling from one room-- he's

    21         calling from one room and right near the

    22         injury of his parent who is across the house

    23         120 feet away?

    24                  A        I don't understand what you're

)   25         trying to say here.



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     1                                     K.   James    McCready             151
)
     2                   Q        I'm asking you what possible

     3         Did you ask Marty,          why did you call from

     4         that room?

     5                   A        I don't remember.         Whatever I

     6         did.

     7                   Q        But we know that you thought

     8         that he couldn't have called from the

     9         office,       right,   that was your view of things?

    10                   A        Right.

    11                   Q        So the 911 call had to have

    12         come from someplace else.                It couldn't have

    13
)              come from the office,            right?

    14                   A        Right.

    15                   Q        By the way,     at the time that

    16         you all are speaking with Marty,               you have

    17         not heard the 911 call; have you?

    18                   A       No.

    19                   Q       You don't know what was said.

    20         You don't know what took place?

    21                   A       No.

    22                   Q        It's later on that we find out

    23         that this 911 call is a panicked teenager

    24         talking only about his father,               right?

)   25                   A       Right.



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     1                                  K.   James   McCready              152
)
     2                  Q        But in the confession that you

     3         say he gave you in his own words he doesn't

     4         say he used the phone that he says he used,

     5         he says he uses a phone that you say he used

     6         in the bedroom and talks about the body in

     7         the office?

     8                  A        Yes.

     9                  Q        Did that raise any concerns

    10         with you that maybe this account that you

    11         were acquiring from this teenager who just

    12         found his parents maybe wasn't true?

    13                  A        No.
)
    14                  Q        It did not raise any concerns

    15         for you?

    16                  A        No.

    17                  Q        After the fact?       After you hear

    18         the 911 call, after you know that it's the

    19         father he's describing,         didn't you go back

    20         and say, geez, that doesn't make a lot of

    21         sense that he would have been calling from

    22         the mother's room describing the father's

    23         injury and not describing the mother.                 Never

    24         raised any concern with you?

    25                  A        No.



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     1                                      K.    James   McCready                 153
)
     2                  Q      Did i t ever raise a concern to

     3        you that that account of which phone was

     4         used was something that was in your mind and

     5        then somehow came out of Marty's mouth?

     6                         MR.       DUNNE:      Objection to the

     7                  form but go ahead.

     8                  A      No.

     9                  Q        But in your head he couldn't

    10         have used the office phone,                right?

    11                  A        I    didn't think he did,            no.

    12                  Q        Right.          And so the account that

    13         Marty gives reflects your account or your
)
    14         thinking at the time?

    15                  A        No,     the account he gives me

    16         reflects what he told us at the time.

    17                  Q        And look,         i t ' s a conversation

    18         that took place 20-somewhat years ago.                          I

    19         know you took some notes about it, but we

    20         have a court reporter here who writes

    21         everything down because we can't remember

    22         what was said exactly,              right?    You guys

    23         didn't have a court reporter there;                    did you?

    24                  A        No.

)   25                  Q        So what was said,           you have your



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     1                                    K.   James    McCready            154

     2         view of it; Marty has his view of it,                 right?

     3                  A        Yes.

     4                  Q        I'm not going to comment one

     5         way or the other on whose is accurate?

     6                  A        Yes.

     7                  Q        But it is true that at the time

     8         that you're saying that Marty tells you he

     9         used the phone other than the office phone

    10         that reflects your thinking at the time that

    11         he did not use the office phone;              true?

    12                  A        Yeah.

    13                           And that's kind of what I meant
)                       Q

    14         by from your head out of his mouth.

    15                  A        No,    it's not true.

    16                  Q        Well,    you're saying you didn't

    17         suggest to him that he used another phone,

    18         you just let him tell you which phone he

    19         used.

    20                  A        Yes.

    21                  Q        And then it was coincidence

    22         because he said that he was using a phone

    23         that he wasn't using the phone that you

    24         didn't think he used,           right?

)   25                  A        Well,    if want to call it a



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     1                                    K.   James    McCready            155
)
     2         coincidence or not but that's what happened.

     3                  Q        Well,    again,   according to you.

     4         Because Marty's account of this has always

     5         been different than that,           right?     Marty said

     6         you suggested to him that he used the other

     7         phone;   did that happen?

     8                  A        No.

     9                  Q        It was not that you said to

    10         him,   Hey,   Marty,      you couldn't have used the

    11         phone in the office because I              looked at it

    12         for a few seconds and I didn't see smears.

    13         You had to use a different phone.               Which
)
    14         phone did you use,          and how about your

    15         mother's phone?         That didn't happen?

    16                  A        No.

    17                  Q        The 911 call,         one of the things

    18         that you do when you're confronting Marty

    19         and there's this period of time where you do

    20         some small talk with him,           as you all

    21         described it,      and then you get to a part

    22         where you're confronting him and one of the

    23         things you confront him with is that he

    24         didn't compress the wounds;              is that right?

)   25                  A        Yeah.



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     1                                    K.   James   McCready            156
)
     2                  Q        And you actually write in your

     3         supplemental report that he did not compress

     4         the wound the way the 911 operator told you

     5         to.

     6                  A        Yes.

     7                  Q        Now,    September 14th, a week

     8         later, by that point in time you had heard

     9         the 911 call; hadn't you?

    10                  A        Yes.

    11                  Q        So did Marty use the words

    12     I   according to you that the 911 operator told

    13         me to compress the wound?

    14                  A        Yes.

    15                  Q        He did?

    16                  A        Yeah.

    17                  Q        Well,   take a look at your notes

    18         from your original interview of him and --

    19         What number is that?

    20                  A        Seventy-nine.

    21                  Q        And show me where it says that

    22         the 911 operator -- Those are the notes you

    23         say you took that morning,              right?

    24                  A        Yes.

)   25                  Q        The notes reflect the fact



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     1                                    K.   James   McCready             157
)
     2         that he --

     3                   A       What page is that?

     4                   Q        I don't know if we have page

     5         numbers but I put an asterisk next to it

     6         where it says,         911 call,   phone office,       linen

     7         closet,       towel,   his room and pillow.         Those

     8         are the notes that you supposedly took while

     9         Marty was telling you what happened at 33

    10         Seaside Drive; is that right?

    11                   A       What's that?

    12                   Q       Those are the notes that you

    13         supposedly took at 33 Seaside Drive;                is that

    14         correct?

    15                   A        Yes.   Yeah.

    16                   Q       Okay.     It doesn't say that he

    17         told you to compress the wound; does it?

    18                   A        I didn't write it in here but

    19         he told me that.

    20                   Q       Well,   compress the wound,          that

    21         sounds like a word that a 17-year-old would

    22         use?

    23                   A       Actually,     I think the word was

    24         apply pressure.

    25                   Q       That's the word that the



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     1                                    K.   James   McCready            158

     2         operator used?

     3                  A        Yes.

     4                  Q        On the 911 call?

     5                  A        Right.

     6                  Q        What I'm asking you is,          you

     7         described an account in your supplemental

     8         report that you challenged Marty by saying,

     9         ah-ha,   that's very good, Marty,           but you

    10         didn't do what the 911 operator told you to

    11         do which was put pressure or compress the

    12         wound,   and I'm asking you how did you know

    13         what the 911 operator said to him if you
)
    14         hadn't listened to the call before you wrote

    15         up the report,      and you're saying that Marty

    16         told it to you.

    17                           MR.    DUNNE:   The notes or the

    18                  report?

    19                           MR. BARKET:        The notes.

    20                           MR.    DUNNE:   Right,   not the

    21                  report,        the notes.

    22                  Q        The report that was a week

    23         later says Marty told us about it.

    24                  A        I don't know why I didn't write

    25         it in here,    but I didn't write it down.



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     1                                    K.   James   McCready            159

     2                  Q        Okay.    But you're saying Marty

     3         told it to you?

     4                  A        Yeah.

     5                  Q        It wasn't something where you

      6        wrote up the report a week later,              it wasn't

     7         something you put i t in that you learned

     8         from listening to the 911 tape,              right?

      9                 A        No.

    10                  Q        That was something you learned

    11         from Marty according to you?

    12                  A        Yes.

    13                           Now,    you had a number of people
)                       Q

    14         tell you or police officers that they

    15         thought that Jerry Steuerman was involved in

    16         this,   correct?

    17                  A        Yes.

    18                  Q        Who?

    19                  A        That Jerry Steuerman was

    20         involved in it?

    21                  Q        Who said that to you or to

    22         another police officer?

    23                  A        Jerry Steuerman,       I   don't know

    24         if they thought he was involved in i t or

    25         thought he might be capable of doing it.                    I



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      1                                   K.   James   McCready            160

     2         don't remember.

      3                 Q        Well,    let's see.     Marty

      4        certainly said it,         correct?

      5                 A        Yeah,    Marty.

      6                 Q        Ron Rother said it,       right?

     7                  A        Yes.

      8                 Q        Pfalzgraf at the hospital while

      9        you were taking Marty to the police precinct

    10         or headquarters?

    11                  A        Yeah,    I guess so.

    12                  Q        Michael Fox did,       right?

    13                           I don't know if he said that to
)                       A

    14     I   me directly.

    15                  Q        To another police officer?

    16                  A        He might have.        I don't know.

    17                  Q        And you heard the account that

    18         was reviewed today with Mr.             Pollack and Mr.

    19         Rein that two of the poker players said,                   in

    20         essence,     that Jerry Steuerman was the last

    21         person to see Marty's father before he was

    22         attacked?

    23                  A        Yes.

    24                           MR.     DUNNE:    I ' l l object to the

)   25                  form of that.          Did you answer that?



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     1                                  K.   James   McCready              161

     2                   The answer stands.

     3                   A     Yes.

     4                   Q     And,    in point of fact,         they did

     5         have a bitter fight over money over the

     6         course of some period of time;           did they,         Mr.

     7         Tankleff and Mr.       Steuerman?

     8                   A     I don't -- Well,       let me put it

     9         to you like this.        From my understanding

    10         now --

    11                   Q     Not your understanding now.

    12         I'm asking you if at the time did you

    13         understand from a variety of people that,                   in
)
    14         fact,    there was a bitter dispute between

    15         Tankleff and Steuerman over the money that

    16         Steuerman owed Tankleff?

    17                   A     No.

    18                         MR.    DUNNE:   I ' l l object to the

    19                   form of the question and the

    20                   characterization.       The answer

    21                   stands.

    22                   A     No.

    23                   Q     There was no dispute?

    24                   A     I didn't say there was no

)   25         dispute.



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     1                                    K.   James   McCready           162

     2                  Q      It wasn't bitter?

     3                  A      What I'm saying is that it was

     4         a business dispute,         okay.       And what I'm

     5         saying is it wasn't -- I don't believe it

     6        was over the money.              It was over what

     7         Steuerman was going to use the equipment for

     8         that he had the UCC on and my understanding

     9         is that Seymour wanted a piece of that

    10         action and Jerry said no and Seymour was

    11         upset about that.

    12                  Q        Didn't Steuerman owe Tankleff

    13         several thousand dollars?
)
    14                  A        Yes,   he did.

    15                  Q      And wasn't Tankleff demanding

    16         payment of that?

    17                  A        That what?

    18                  Q        Wasn't Tankleff demanding

    19         payment of that money?

    20                  A        I don't know that he was

    21         demanding payment.          He might have been

    22         demanding payment yes,            however --

    23                           MR.    DUNNE:     Let him finish.

    24                           MR.    BARKET:     Sorry.

)   25                  A        However,      for Jerry Steuerman to



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     1                                     K.   James   McCready            163

     2         kill Seymour and Arlene doesn't make the

     3         debt go away.

     4                  Q        And Jerry Steuerman knew that?

     5                  A        What's that?

     6                  Q        Jerry Steuerman knew that?

     7                  A        No,   I   know that.

     8                  Q        Right,    but all I'm concerned

     9         with is what was in Steuerman's mind?

    10                  A        I don't know.          He was all

    11     I   messed up.

    12                           MR.   DUNNE:     The objection is

    13                  obvious,       but go ahead.
)
    14                  Q        You're saying to me that

    15         legally speaking that you would still owe a

    16         debt to the estate,          right,      if you owe a

    17         debt.    If you kill the people the debt

    18         doesn't disappear,          it moves from Seymour to

    19         his wife to the estate,            right?

    20                  A        Right.

    21                  Q        Do you know how the estate was

    22         settled with that debt?

    23                  A        No.

    24                  Q        Did you learn that it was

)   25         settled for pennies on the dollar?



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     1                                   K.   James   McCready             164

     2                  A        I don't know.

     3                  Q        In the course of this kind of

     4         legal analysis of whether or not the debt

     5         continued to exist,        did you ever consider

     6         the possibility that while the estate would

     7         be technically owed the debt,             to sue for it

     8         and collect on it would be almost impossible

     9         because there wouldn't be any witnesses on

    10         the plaintiff side,        they're dead?

    11                           MR.   DUNNE:    I'm going to

    12                  object.        That's more like

    13                  testifying.        Is that a question?
)
    14                           MR.   BARKET:    Yes,   that's a

    15                  question.

    16                           MR.   DUNNE:    What is the

    17                  question?

    18                  A        Did I   consider that?      No.

    19                  Q        Did you consider the fact that

    20         the estate's debt that supposedly they could

    21         collect they would have trouble collecting

    22         it because the chief witnesses for the

    23         estate were both dead?

    24                  A        No.

)   25                  Q        It didn't enter your mind and



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     1                                   K.   James   McCready             165

     2         you never asked Steuerman what he knew about

     3         whether the debt would continue or not?

     4                  A        I don't recall talking to him

     5         about that.

     6                  Q        Is it correct that what

     7         Steuerman said was,        not only did he owe him

     8         half the business,        "Tankleff thought he

     9         owned half of me;" do you remember that

    10         quote?

    11                  A        Yes.

    12                  Q        That sounds pretty bitter to me

    13         how about to you?
)
    14                  A        Yeah.

    15                           MR DUNNE:     I ' l l object to the

    16                  form of the question.           The answer

    17                  stands.

    18                  Q        If I understand where Steuerman

    19         sits in this,      he's the last person to see

    20         Marty's father before he's attacked.

    21         There's an ongoing dispute over money,

    22         business,    and over whether or not Tankleff

    23         owns ''half of Steuerman;" is that right?

    24                  A        Yes.

)   25                  Q        And that you arrive at the



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     1                                      K.   James    McCready             166

     2         scene and within an hour or two you're told

     3         by three different family members;                 the

     4         family attorney,           the son-in-law and the son,

     5         that they all think that Steuerman was

     6         involved in this?

     7                           MR.     DUNNE:     Told him or he knew

     8                  that or should have known?

     9                  Q        Told the police that.

    10                  A        The only one that said anything

    11         to me about it was him.

    12                  Q        Martin Tankleff?

    13                  A        Yeah.
)
    14                  Q        But you know that Rother said

    15         it to Pfalzgraf; don't you?

    16                  A        I     know now.

    17                  Q        And you know that Fox said it

    18         to Pfalzgraf as well,             right?

    19                  A        Right.

    20                  Q        So my summary of Steuerman's

    21         situation is,          we have this dispute,           we have

    22         him being the last person seen with Mr.

    23         Tankleff before the attack,                and we have

    24         multiple people pointing to him,                right?

)   25                  A        Yes.



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     1                                    K.   James   McCready           167
)
     2                  Q       Okay·     You understand what the

     3     I   phrase "lawyering up" means; don't you?

     4                  A       What?

     5                  Q       The phrase "lawyering up," what

     6         does it mean?

     7                  A        It means get counsel to

     8         represent you.

     9                  Q       Any questioning stops at that

    10         point in time?

    11                  A        That's right.

    12                  Q       And part of what goes on in all

    13         investigations in dealing with suspects is
)
    14         dealing with this particular rule in New

    15         York that prevents any questioning after the

    16         individual says that they are represented by

    17     I   a lawyer or a lawyer says that,             right?

    18                  A        Right.

    19                  Q        Michael Fox,      was he a lawyer?

    20                  A        Yes.

    21                           MR.    BARKET:    Why don't we stop

    22                  here.

    23                           THE VIDEOGRAPHER:         Going off

    24                  the record at 3:05 p.m.

)   25                           (At this time,        a brief recess



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     1                                    K.    James   McCready                168
)
     2                   was taken.)

     3                           THE VIDEOGRAPHER:          Beginning of

     4                   Tape 4.        Back on record at 3:15 p.m.

     5                   You may proceed.

     6         CONTINUED EXAMINATION BY

     7         MR.    BARKET:

     8                   Q       We left off with Mr.         Fox is a

     9         lawyer and you knew he was a lawyer because

    10         Marty told you that he was his uncle and the

    11         family business lawyer of some sort?

    12                   A       Yes.

    13
)                        Q       And at some point in time

    14         you're speaking to Marty -- By the way,                     at

    15         the point in time when Mr.               Fox arrives,       by

    16         then Marty is certainly a suspect in this;

    17         isn't he?

    18                   A       Yes.

    19                   Q       You had done your walk-thru,

    20         all the things that you and Mr.               Rein said

    21         you observed?

    22                   A       I'm very suspicious of him,

    23         yes.

    24                   Q       Right.        And you want to

    25         continue to speak to him,            right?



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     1                                    K.    James    McCready             169

     2                   A       Pardon me?

     3                   Q       You wanted to continue to speak

     4         to him,       correct?

     5                   A       Yes.

     6                   Q       And,   in fact,        when Mr.    Fox

     7         shows up,       if he says to you,         I'm Marty's

     8         lawyer,       questioning stops,         right?

     9                   A       Yes,   if he said that,           that

    10         would have happened.

    11                   Q       Right.        Questioning would have

    12         to stop,       right?

    13                   A       Yes.
)
    14                   Q       So when he shows up you run

    15         over to greet him;         is that right?

    16                   A       I walked over to him.

    17                   Q       Why did you go over to him?

    18                   A       Because I think -- I'm not

    19         sure.     I think Sergeant Doyle was talking to

    20         Marty at the time.          I believe he was.              And I

    21         walked over to him and introduced myself and

    22         we had a brief conversation and he asked me,

    23         you know,       I explained to him that we're

    24         interviewing Marty and that -- I                  remember

)   25         him saying something about -- oh,                   I asked



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     1                                   K.   James   McCready                170
)
     2         him what he wanted me to do with Marty when

     3        we were finished with him and he asked me to

     4         bring him to the hospital.

     5                  Q        Did you tell him you were going

     6         to bring him to the headquarters?

     7                  A        I don't know if I told him at

     8         that point or not.         I   forget.

     9                  Q        Did you tell him that Marty was

    10         a suspect in the murder of his parents?

    11                  A        No.

    12                  Q        Did you tell him that you were

    13         highly suspicious of some of the things that

    14         Marty said?

    15                  A        No.

    16                  Q        You told him that Marty was

    17         giving you the information that he had?

    18                  A        Yeah,   I told him that he was

    19         giving us information,          yes.

    20                  Q        And was there some interaction

    21         between Marty and Michael Fox?

    22                  A        I'm not sure if he said,              Hi

    23         Uncle Mike or something like that.                 I     forget

    24         exactly.

)   25                  Q        There was some account that was



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     1                                         K.   James     McCready             171
)
     2        given, maybe it was from one of the other

     3        witnesses,          but something along the lines of

     4         that he came over and said to Marty,                        are you

     5         okay and Marty said,                 yeah,    I'm fine,     and

     6         that was it?

     7                      A       I    really don't recall right

     8         now.     I   know I think what it was when I was

     9         talking to Marty, Marty was saying something

    10         about Fox,         about his Uncle Mike was the

    11         lawyer for his father's businesses or

    12         whatever,         and that he knew all about

    13         Steuerman.          And then he said to me -- he
)
    14         said,    as a matter of fact,                 that's him right

    15         there now coming over.

    16                      Q       You know what I'm wondering

    17         about?           I'm wondering why it is that Uncle

    18         Mike and Marty didn't,                 if they saw each

    19         other and you didn't prevent them from

    20         speaking,         why is it they didn't have a more

    21         in-depth conversation?

    22                              MR.     DUNNE:      Really?         Objection.

    23                      You want him to speculate to their

    24                      mind?

)   25                              MR.     BARKET:         No,   no.    I guess



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     1                                    K.   James     McCready            172
)
     2                   that's not fair;         is it?

     3                           I ' l l ask in a way that maybe it

     4                   can answer some questions.

     5                   Q       Uncle Mike was a close friend

     6         of the Tankleff family,            yes?

     7                   A       Yes.

     8                   Q       He arrives at the scene where

     9         his close friend was brutally attacked and

    10         his wife murdered,         right?

    11                   A       Yes.

    12                   Q       The young man that you're

    13         questioning refers to Mike as Uncle Mike,

    14         right?

    15                   A       Yes.

    16                   Q       And,    in fact,      it turns out

    17         that -- I don't know if you knew this at the

    18         time,    but did you learn later that Uncle

    19         Mike was Marty's Godfather?

    20                   A       No,    I didn't know that.

    21                   Q       And at this moment of family

    22         trauma,       fair to say,      right?

    23                   A       Yes.

    24                   Q       That the interaction between

)   25         these two individuals,            the surviving son and



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     1                                   K.   James   McCready             173
)
     2         the uncle,    "Uncle Mike",        sounds like they

     3         saw each other at a ball game.              That's what

     4         your testimony is?

     5                           MR.   DUNNE:    I object to the

     6                  form of that.

     7                  A        Let me explain this.         I ' l l tell

     8         you right now,      if Uncle Mike wanted to go

     9         over and talk to that kid,             we would have

    10         more than allowed him to talk to him.                 I

    11         didn't ask him if he wanted to talk to the

    12         kid.    He didn't say he wanted to talk to

    13         him.    Had he asked me,         had he said I want to
)
    14         go talk to him or whatever,             I would have let

    15         him talk to him.         I had no problem with

    16         that.

    17                  Q        So the fact that these two

    18         individuals didn't have any conversation,

    19         had nothing at all to do with you wanting to

    20         prevent Marty from being quote/unquote

    21         "lawyering up," right?

    22                  A        No.

    23                  Q        You wouldn't have cared if

    24         Uncle Mike had said,           stop talking to this

)   25         kid?



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     1                                    K.   James   McCready            174
)
     2                   A       Oh,    I would have cared if he

     3         said that.       If he was going to say that,              he

     4         would have said it right there and then to

     5         me,   whether he's standing next to him or

     6         10 feet away from him.            But that's not what

     7         he did.       He came up and introduced himself,

     8         told me he was a business lawyer for

     9         Seymour.       He gave me his card and never

    10         asked to speak to the kid.

    11                   Q       Was it at this point in time

    12         that Sergeant Doyle says,           time to move.

    13         Let's get him out of here,              referring to

    14         Marty?

    15                   A       No.     No.   I don't even know if

    16         Norman was there yet when that occurred.

    17                   Q       Why?     Why would you take Marty

    18         from the scene to headquarters and not to

    19         the hospital?

    20                   A       Because we wanted to talk to

    21         him more.

    22                   Q       About what?

    23                   A       About everything.

    24                   Q       Well,    what do you mean about

)   25         everything?



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     1                                    K.   James   McCready                 175

     2                  A        About what happened,        the

     3         murders.      You know,     you don't just talk to

     4         somebody for a half hour and say,             okay,         go

     5         ahead to the hospital.

     6                  Q        Isn't that what you did with

     7         Jerry Steuerman?

     8                  A        What?

     9                  Q        Isn't' that what you did with

    10         Jerry Steuerman?

    11                  A        No.

    12                  Q        I thought you had a half hour

    13         conversation with him at his restaurant?

    14                  A        I did.

    15                  Q        And you let him go on his way?

    16                  A        Jerry Steuerman wasn't a

    17         suspect.

    18                  Q        Oh,   I see.     I see,   so Marty was

    19         a suspect.      You weren't going to chat with

    20         him and let him go.             You wanted to bring

    21         Marty back to the precinct because you

    22         thought he committed the murders?

    23                  A        I didn't know for sure if he

    24         committed the murders.             I was suspicious of

)   25         him,   yes.



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     1                                   K.   James   McCready             176
)
     2                   Q       So you wanted to bring him back

     3         to the precinct.         And Marty was,      according

     4         to you,   not asking to go to the hospital

     5         with his dad?

     6                   A       No.

     7                   Q       He was like,     sure,    I ' l l go to

     8         the precinct,      never mentioned the hospital?

     9         That's your testimony?

    10                   A       That's right.

    11                   Q       You're sure of that,        right?

    12                   A       Yes.

    13                           It's not that Marty was saying,
)                        Q

    14         I want to go the hospital and you're saying

    15         I ' l l bring you there afterwards,          but let's

    16         talk about Steuerman more at the present?

    17                   A       Marty never said anything to me

    18         about going to the hospital.               The only one

    19         that mentioned the hospital was Mike Fox

    20         when he said, when you're done with him

    21         would you bring him to the hospital.                 I said

    22         yeah.

    23                   Q       Did you tell Marty that you

    24         wanted to go back to the hospital or

)   25         headquarters to talk about Jerry Steuerman



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     1                                  K.   James   McCready              177
)
     2         some more?

     3                  A        I wanted to talk to him about

     4         everything,    Jerry Steuerman included.

     5                  Q      What you wanted to talk to him

     6         about and what you told Marty may or may not

     7         have been two different things?

     8                  A        I don't remember the exact

     9         language that I used,         but I wanted to keep

    10         discussing this case.

    11                  Q        You certainly didn't tell him I

    12         wanted to bring you back to headquarters

    13         because I think you committed these crimes?
)
    14                  A        No.

    15                  Q        So you told him something other

    16         than what was going on inside your head?

    17                  A        I told him that I wanted to

    18         continue talking to him about the murder

    19         investigation.

    20                  Q        In fact,    you wanted to

    21         interrogate him about it,          right?     You

    22         thought he was involved in the murders?

    23                  A        I didn't know if it would ever

    24         get to an interrogation at that point.

)   25                  Q        You thought he was involved in



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     1                                  K.   James    McCready            178
)
     2         the murders;      didn't you?

     3                   A      I was suspicious of him,          yes.

     4                   Q      And you wanted to get a

     5         confession from him?

     6                   A      I didn't know if he'd give me a

     7         confession or not.

     8                   Q      Well,   none of us can see the

     9         future.       We all want things and sometimes we

    10         get them and sometimes we don't.             You wanted

    11         a confession; didn't you?

    12                   A      I wanted a confession after he

    13         confessed,      yes.
)
    14                   Q      The point of bringing him back

    15         to the precinct,       putting him in an

    16         interrogation room,       sitting him down with

    17         you and Rein going through the sequence of

    18         things the way you did was to get a

    19         confession from him,          right?

    20                   A      It was down the road if that

    21         occurred because of him confessing,               yes,

    22         then it's to get the confession.             I didn't

    23         know whether he was going to confess to this

    24         or not.

)   25                   Q      Sure.    You couldn't have known



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     1                                    K.   James   McCready             179
)
     2         what was going to happen in the future but

     3         remember we spoke earlier about kind of how

     4         you treat people,         suspect witness.          This

     5         point Marty is a suspect;           isn't he?

     6                   A       Yes.

     7                   Q       He's being treated as a suspect

     8         by you,       correct?

     9                   A       Yes.

    10                   Q       You don't tell him that,           of

    11         course,       right?

    12                   A       No.

    13                   Q       But in your mind this is a kid

    14         I want to interrogate.            I want to know what

    15         happened.        You think he killed his parents,

    16         right?

    17                   A       Yes.

    18                   Q       And you want him to -- It's

    19         your job.        We talked about this before.

    20         Your job is to get confessions from people

    21         that are guilty,         right?

    22                   A       Yes.

    23                   Q       And you were going back to the

    24         precinct or headquarters to do your job and

    25         interrogate this kid and get a confession



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     1                                  K.   James   McCready               180

     2         from him?

     3                   A       Yes.   But again,     even though I

     4         was suspicious of him,         I   don't know whether

     5         or not he actually did the murder because --

     6         I'm not saying that Jerry Steuerman at that

     7         point in time wasn't a viable suspect also,

     8         but as it turned out Jerry left and got home

     9         at 3:16 in the morning so he had to act

    10         pretty quick to do that murder if he left

    11         the house at 3 o'clock.

    12                   Q       Who is his alibi?

    13                           His daughter.
)                        A

    14                   Q       That's it?

    15                   A       Well --

    16                   Q       In the course of your dealings

    17         as a police officer and investigator,                 have

    18         you ever seen a false alibi by a family

    19         member?

    20                   A       Yes.

    21                   Q       So I'm going to stick with what

    22         happened with Marty and we'll get to Jerry

    23         in a little bit.         I promise you we'll talk

    24         about him some more.

)   25                           As we go through this,           it was



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     1                                    K.   James   McCready            181
)
     2         the decision of the police department,

     3         whether it be Sergeant Doyle,             Detective Rein

     4         or you to bring Marty back to that precinct,

     5         correct?

      6                 A        Yes.

     7                  Q        It was the decision that you

     8         all made to put him into a room,             correct?

      9                 A        Yes.

    10                  Q        It was a decision you all made

    11         to have yourself and Detective Rein in that

    12         room with him,      yes?

    13                           Yes.
)                       A

    14                  Q        It was a decision you made

    15         about how the questioning would unfold,

    16         correct?

    17                  A        I guess you could say that.

    18                  Q        Sure.    You directed the

    19         questioning; didn't you?

    20                  A        Well, we both did.

    21                  Q        And I think Detective Rein said

    22         the first thing he did was engage in some

    23         small talk because you wanted to get him

    24         speaking,    get the idea of you asking

)   25         questions and him answering them?



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     1                                    K.   James   McCready                182
)
     2                  A        Right.

     3                  Q        Did Marty during the course of

     4         this say,    I want to see my Uncle Mike.                  I

     5         want a lawyer.          I want to go to the

     6         hospital?

     7                  A        No.

     8                  Q        Well,    he says flat out that

     9         happened.     You say flat out it didn't,

    10         right?

    11                  A        Who said that?

    12                  Q        Marty says that.

    13                  A        No,   I don't care what he says.
)
    14                  Q        You don't believe that?

    15                  A        No.     He did not say that and

    16         that did not happen.

    17                  Q        According to you?

    18                  A        It didn't happen,       period,

    19         alright.

    20                  Q        Well,    you know there was a way

    21         that we could have found out what happened

    22         in that room; wasn't there?              We wouldn't

    23         have to have this argument now?

    24                  A        What was that?

    25                  Q        You could have recorded it;



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     1                                    K.   James   McCready            183

     2         couldn't you?

     3                  A        Well,   we had a procedure with

     4         regard to that,         okay.    The procedure was you

     5         get an oral,      you get a written,        and then you

     6         have a district attorney come in,             assistant

     7         district attorney come in and they

     8         videotape.

     9                  Q        You're telling me that there is

    10         a procedure in the Suffolk County police

    11         department in 1988 that prevented you from

    12         recording the conversation you had with

    13         Marty from 9:40 until 1:20 that day?
)
    14                  A        No,    I'm not saying that,       but

    15         what I'm telling you is that was what the

    16         procedure was.

    17                  Q        This is the part where I          don't

    18         understand this because you're a seasoned

    19         detective by that point in time,             right?

    20                  A        Yes.

    21                  Q        You understand how the system

    22         works; don't you?

    23                  A        Yeah.

    24                  Q        You know if you get a

)   25         confession from somebody that the person may



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     1                                    K.   James    McCready           184
)
     2         very well end up having a lawyer saying,

     3         hey,   geez,   he beat it out of me,          he tricked

     4         it out of me,      he lied,      I demand a lawyer,

     5         all this nonsense?

     6                  A       Yes.

     7                  Q       And you end up having to go

     8         through these hearings; don't you?

     9                  A        Right.

    10                  Q       And the whole hearing is

    11         whether or not the confessions are

    12         admissible or not admissible,              right?

    13                  A        Right.

    14                  Q        You have it within your power

    15         auto eliminate that process by pushing play

    16         on a recording of the interrogation,                right?

    17                  A        Well

    18                  Q        Is that true?

    19                  A        Let me tell.          You're absolutely

    20         right but that's not what our procedure was,

    21         what can I tell you.

    22                  Q        Your procedure,         what you did

    23         that day,      leaving aside the procedure,            is

    24         you have a choice to make.               You say to

)   25         yourselves,     we can get more evidence of what



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     1                                    K.   James   McCready             185
)
     2         actually takes place here or we can set this

     3         up so it's our word against the Defendant's

     4         word?

     5                           MR.    DUNNE:   Objection to the

     6                  form of the question.            Go ahead and

     7                  answer that as best you can.

     8                  A        What I'm saying to you is I

     9         don't disagree with what you're saying,                    but

    10         I'm telling you that it wasn't our procedure

    11         at that time,      you know.

    12                  Q        The procedure for the police

    13         department was to get less evidence?

    14                           MR.    DUNNE:   No,   objection to

    15                  the form.

    16                  A        No.

    17                  Q        Wouldn't recording of the

    18         interrogation provide more evidence?

    19                  A        Certainly.

    20                  Q        And you didn't do anything

    21         wrong; did you?

    22                  A        No.

    23                  Q        And if there is a recording we

    24         would have proved it absolutely,             right?

)   25                  A        Yes.



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     1                                 K.    James   McCready             186

     2                  Q      All the claims that Marty made

     3         about you feeding him things and everything

     4         that went on would have been disproven by

     5         this recording,      right?     So that every

     6         Defendant who's ever made a claim like that

     7         they could be disproven by simply,             here's

     8         the recording,     here's what I       said,   right?

     9                  A      Yes.

    10                  Q      And this is 1988, not 1948,               you

    11         all had tape recorders; didn't you?

    12                  A      Yes.

    13                         Is it true that the reason you
)                       Q

    14         don't record this is that if you record it

    15         you have to be cautious about what you say.

    16         You have to watch the words that you use.

    17         The recording would inhibit your

    18         interrogation techniques?

    19                  A      Possibly,     yes.

    20                  Q      So that the decision to record

    21         and not to record is not just based on what

    22         Rein said on what it does for the Defendant,

    23         you don't want to have your own technique

    24         inhibited.      You don't want to be watching

)   25         your words,     cautious of your language,           while



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     1                                    K.   James    McCready            187
)
     2         you're interrogating a suspect; do you?

     3                           MR.    DUNNE:    Objection to form.

     4                   Go ahead and answer.

     5                   A       I would -- Actually,        I wouldn't

     6         have had any objection to that; however,

     7         that's not what our procedure was at the

     8         time.

     9                   Q       I'm asking you if one of the

    10         reasons why you don't record interrogation

    11         is because if you did,            you,   Detective

    12         McCready,      would have to watch your words.

    13         You would have to be cautious of what you

    14         said; is that true?

    15                           MR.    DUNNE:    Objection to the

    16                   form of the question.            Go ahead.

    17                   A       Yes.     Yes.    What can I tell

    18         you,    yes.    I'm being recorded right now.

    19         It's not bothering me.

    20                   Q       Me neither.

    21                   A       Okay.

    22                   Q       For what it's worth.         And we

    23         have a court reporter here and you know what

    24         won't happen at the end of this?

)   25                   A       What?



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     1                                   K.   James   McCready             188
)
     2                  Q        We won't dispute what was said

     3         because it's recorded.

     4                           MR.   DUNNE:   Counsel, that's

     5                  colloquy.       Let's get the facts.

     6                  Q        Did you know Joe Creedon at or

     7         about this time?

     8                  A        I never ever in my life ever

     9         met Joe Creedon.

    10                  Q        Did you investigate him?

    11                  A        No.

    12                  Q        Did your team investigate him?

    13                  A        Did what?

    14                  Q        Did your team investigate him?

    15                  A        Not that I'm aware of.

    16                  Q        Did you tell Erin Moriarty when

    17         she was asking you about Creedon that your

    18         team investigated Creedon?

    19                  A        Not that I'm aware of.

    20                           MR. BARKET:     We're going to

    21                  mark an exhibit and then cue it up.

    22                           Let's mark this 87.

    23                           (Whereupon,    Plaintiff's Exhibit

    24                  87, video tape, was marked for

)   25                  identification.)



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     1                                  K.   James   McCready              189

     2                          (At this time,       video is being

     3                  played. )

     4                         MR. BARKET:       Mr. McCready is

     5                  saying he can't hear it.           Can you

     6                  walk across?

     7                          (Video continues to be played.)

     8                  A      Can we stop the tape.             I didn't

     9         say my team investigated Joe Creedon.                 I

    10         said there were six people in my squad who

    11         all agreed that he was the murderer.                 Nobody

    12         in our squad investigated Joe Creedon.

    13                         MR.    BARKET:
)                                                Okay·    We'll

    14                  continue on.         You can turn that off

    15                  for now.

    16                  Q      Just to be clear,         Joe Creedon

    17         is a name that's come up throughout the

    18         course of this case; isn't it?

    19                  A      Yes.

    20                  Q      It wasn't something that came

    21         up just recently when Marty's conviction was

    22         reversed and he was exonerated,            right?

    23                  A      No,    no.

    24                  Q      It was back in 1990 before the

    25        trial he came forward and said that Jerry



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     1                                    K.    James   McCready           190


     2         Steuerman had offered him money to cut out

     3        Marty Tankleff's tongue,             right?

     4                  A      That's what I hear or words

     5         that that effect, whatever.               I have no idea.

     6         I never spoke to Joey Creedon.               I wouldn't

     7         know Joey Creedon if I tripped on him.

     8         Well,   I've seen him now.           I've seen his

     9         picture anyway.

    10                  Q        Right.        But back in 1990 Joe

    11         Creedon is telling Bob Gottlieb, Marty's

    12         lawyer, who's telling the court and the DA's

    13         office that Steuerman is offering money to

    14         have quote/unquote Marty's tongue cut out of

    15         his mouth.

    16                           Did you do anything with that?

    17         Did you investigate it?

    18                  A        No.

    19                  Q        Do you know a person by the

    20         name of Carl Klein?

    21                  A        Who?

    22                  Q        Carl Klein.

    23                  A        Carl Klein?

    24                  Q        Yes.

)   25                  A        No.



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     1                                      K.   James   McCready              191
)
     2                  Q        Skippy Dwyer?

     3                  A        No.

     4                  Q        Never heard of Skippy Dwyer?

     5                  A        No.

     6                  Q        Gambino Associates,           "no

     7         thumbs," literally?

     8                  A        No.

     9                  Q        Sal Scala?         "Fat Sally Scala"?

    10                  A        Not that I        recall.

    11                  Q        You were in rackets,           right?

    12                  A        Yeah.

    13                           You don't remember him being a
)                       Q

    14         captain of the Gambino crime family,                   lived

    15         out in Fort Salonga?

    16                  A        I    don't remember that.            That's

    17         a long time ago.

    18                  Q        Ronnie Diconta          (phonetic)?

    19                  A        No.

    20                  Q        When did you first learn that

    21         Steuerman's son was selling cocaine from the

    22         bagel store?

    23                  A        I didn't learn that,           somebody

    24         else did.     I heard that but I didn't know

)   25         that.



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     1                                    K.   James   McCready            192
)
     2                  Q        I want to give you a chance to

     3         respond specifically to some allegations

     4         that were made about you,           and I'm not asking

     5         the questions because I believe or

     6         disbelieve them but part of my job.

     7                  A        Not to worry.

     8                  Q        Do you know who Don Hayes is,

     9         right?

    10                  A        Yeah.

    11                  Q        Dan or Don?

    12                  A        Dan,    I think it is.

    13                           Dan Hayes.
)                       Q                         He's the individual

    14         who was in business with Marty's father at

    15         the gym,     right?

    16                  A        Right.

    17                  Q        And the individual who would

    18         come and stay with Marty when the parents

    19         went on vacation,         right?

    20                  A        Right.

    21                  Q        He's reported that you were

    22         taking money from Steuerman at the time to

    23         protect the bagel store,           the drug business?

    24                  A        He's full of shit.        And I'm

    25         telling you this right now,             I never stepped



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     1                                      K.   James   McCready              193
)
     2         foot in that bagel store,              Jerry's bagel

     3         store,   until after this murder.               I   did not

     4         know Jerry Steuerrnan before this murder,                       did

     5         not know Joey Creedon before this murder,

     6         did not know that other moron Kent,                    or

     7         whatever his name is,             before this murder.

     8         Never met any of them except Steuerrnan after

     9         the murder.

    10                  Q        He also reports -- And again,                    I

    11         don't want to own i t or disown it,                 I'm just

    12         here to ask the questions so you can respond

    13         to them.
)
    14                           He also reports that recently

    15         you were still corning up to Long Island to

    16         do collections work,              as he put it,     for

    17         organized crime figures.

    18                  A        Wait a minute.          This guy make

    19         this shit up?

    20                           MR.     DUNNE:     Just answer the

    21                  question.

    22                  A        I    never heard such a bunch of

    23         bullshit in my life.

    24                  Q        I'm not saying i t ' s true,              it's

    25         not true.     I'm just giving you a chance.



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     1                                      K.   James   McCready                 194

     2         It's information that's in the public

     3         record.       I want to ask you about it.               You

     4         can respond anyway you like.

     5                   A       No,     it's bullshit.        It's all

     6         lies.

     7                   Q       But it's not a lie that

     8         Steuerman's son ended up getting arrested

     9         and prosecuted for selling drugs out of the

    10         bagel store,       right?

    11                   A       I    really don't know.          I heard

    12         that happened.           I'm not sure.        I think I met

    13         him once,     the kid.         I'm not even sure if he

    14         was there when we brought Jerry back from

    15         California.

    16                   Q       Well,      at the time that this was

    17         going on,      so 1988,      you were in the homicide

    18         squad,    right?

    19                   A       Yes.

    20                   Q       Okay.       So part of your function

    21         wouldn't have been to police narcotics.                        I

    22         mean if you saw it going on,               you'd stop it

    23         but that's not --

    24                   A       Sure,      right.

)   25                   Q       You're investigating murders?



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 1                                    K.    James   McCready            195

 2                  A        Yeah.

 3                  Q        Again,      don't

 4                  A        I   know.

 5                  Q        -- don't get mad at me or do

 6         but?

 7                  A        -- I    just can't believe that

 8         you're that gullible that you believe this

 9         stuff.

10                  Q        I'm not staying I believe it.

11         I'm saying that there's questions,              you get

12         to answer them,        we move on.

13                           Where were your brothers

14         assigned then?

15                  A        My brother Gene was in

16         homicide; Tommy was in arson; Kevin was off

17         the job.

18                  Q        Okay.       Did one of your brothers

19         end up getting arrested and prosecuted?

20                  A        Yes.

21                  Q        Which one was that?

22                  A        Kevin.

23                  Q        Sorry.        What happened with him?

24                  A        He abused his medication and

25         ran into some young lady and killed her in a



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     1                                   K.   James    McCready                196

     2         car accident.

     3                   Q       When was that?

     4                   A       I actually don't recall,          I

     5         really don't.       I   know he did -- I        think he

     6         did six years for it.

     7                   Q       I'm sorry.      I'm sure that must

     8         have been hard for you and your family,                    I

     9         really am.

    10                           In 1988 to 1990, were any of

    11         the McCready brothers,           if you will,      any of

    12         you,    involved in narcotics enforcement?

    13                   A       No.

    14                   Q       You're sure of that?

    15                   A       Yeah.    Oh,   you're getting us

    16         mixed up with Dennis McCready?

    17                   Q       I'm not getting you mixed up

    18         with anybody.       I'm looking to --

    19                   A       There was a guy in narcotics

    20         named Dennis McCready but he was no relation

    21         of mine.

    22                   Q       He was in narcotics at the

    23         time?

    24                   A       I don't know,        but I   know he was

)   25         in narcotics squad.            And he didn't do it



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     1                                   K.   James   McCready            197
)
     2         either.

     3                   Q       Didn't do what?

     4                   A     Whatever you're accusing me of

     5         doing.

     6                   Q       I'm not accusing you of

     7         anything.      I could not be clearer about

     8         that.     I'm asking questions.          If I was

     9         accusing you,      I wouldn't be shy about saying

    10         it.     I'm just asking you questions about

    11         what went on.

    12                           Whether you were involved in

    13         narcotics or not,       is it fair to say that the
)
    14         drug trade back in the late eighties kind of

    15         exploded with crack; do you remember that?

    16                   A       I guess.

    17                   Q       That crack came on the scene in

    18         the mid-eighties and between the

    19         mid-eighties and early nineties we had

    20         literally an explosion of drug trafficking,

    21         homicide,     violence,    because of crack and

    22         cocaine?

    23                   A       I guess it's fair to say.

    24                   Q       It was kind of a different time

)   25         if you remember it,          right?



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     1                                    K.   James    McCready            198

     2                   A       Yes.

     3                   Q       And were you aware of any

     4         prominent lawyers that were involved in

     5         narcotics back then?

      6                  A       No.

     7                   Q       Again,    it's not me I'm just

     8         asking the questions,           right?

     9                   A       Yeah.

    10                   Q       Didn't Tommy Spota have a

    11         partner who passed away of a drug overdose?

    12                   A       Tom Spota?      Not that I'm aware

    13         of.
)
    14                   Q       How about Billy Keahon,           the

    15         lawyer,       didn't he have some problem with

    16         narcotics?

    17                   A       I'm not sure.         I think he might

    18         have been smoking grass or something like

    19         that.     I'm not sure.

    20                   Q       Well,    at the time that your

    21         criminal trial was going on in front of

    22         Arthur Pitts -- Is that right?

    23                   A       Yeah.

    24                   Q       -- he was involved in a fairly

)   25         serious car accident himself; wasn't he?



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     1                                   K.    James   McCready             199

     2                   A       Could have been.         I'm not sure.

     3                   Q       Bill Keahon was involved in a

     4         very serious car accident?

     5                   A       It could have been,        I'm not

     6         sure.

     7                   Q       It involved alcohol and/or

     8         drugs?

     9                   A       I believe so.         I'm not sure.

    10                   Q       Were you aware that in addition

    11         to representing you that Tom Spota had

    12         previously represented Steuerman's family?

    13                   A       No.

    14                   Q       The other thing -- and I guess

    15         I ' l l continue on this,        give you a chance to

    16         respond to things -- Joe Creedon made

    17         admissions to a number of individuals,

    18         according to the public record and the

    19         hearings,     you're aware of that,         right?         Joe

    20         Creedon bragged about committing this

    21         murder?

    22                   A       Oh,   yeah.

    23                   Q       There's not any dispute about

    24         that,    right?

)   25                   A       I read about it but he didn't



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     1                                      K.   James    McCready              200
)
     2         do it.

     3                   Q       Well,      I understand that's your

     4         view,    but you have somebody here who is

     5         connected -- Did you know,                 for example,        that

     6         he admitted doing collections work for Todd

     7         Steuerman's drug trade?

     8                   A       I don't know.

     9                   Q       You didn't know that?

    10                   A       No.

    11                   Q       You're just learning it now for

    12         the first time?

    13                   A       I    don't know.         I've heard so

    14         much about him I don't remember half the

    15         stuff that I heard about him.

    16                   Q       Well,      we do know that

    17         Steuerman's son was selling cocaine from the

    18         bagel store,      right?

    19                   A       I had heard that,           yes.

    20                   Q       He actually got arrested and

    21         prosecuted for that,              right?

    22                   A       I heard that.

    23                   Q       And you're saying that you

    24         didn't know that Creedon was doing

)   25         collections work for him?



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     1                                  K.   James   McCready               201

     2                  A        No.

     3                  Q        You didn't know that.            Did you
     4         know that Jerry Steuerman had hired somebody

     5         to -- a motorcycle gang to kind of rough up

     6         some employees in a business dispute?

     7                  A        I think I know that story,            and

     8         I think that's just what it is.             It's a

     9         story.       I think Jerry made the whole thing

    10         up to be honest with you.

    11                  Q        In addition to the other

    12         information that we have about Jerry

    13         Steuerman, we know that his son is selling
)
    14         drugs out of the bagel store that he's

    15         operating and that he's one step removed

    16         from this guy Creedon who says that Jerry

    17         was offering him money to hurt Marty.                  And

    18         we know that Creedon has admitted in court

    19         under oath that he was collecting drug money

    20         for Todd.      Does this information add to your

    21         view of the Tankleff case at all?

    22                  A        No.   The only thing that adds
    23         to this case, the headache of -- because

    24         it's all bullshit,       all right.       He's full of

    25         shit.    I know he's full of shit, the whole



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     1                                    K.   James   McCready           202
)
     2        world knows he's full of shit.

     3                   Q      But when you say "he" who is

     4        he?

     5                   A      Creedon.

     6                   Q      Well,    he's not full of shit.            I

     7        mean he's under oath and I think Todd got

     8        convicted of selling cocaine,              right?

     9        Creedon says he collected money.                The fact

    10         that somebody sells drugs and has a

    11         collector that's not shocking to you;               is it?

    12                   A       That somebody          No,   that's not

    13         shocking to me but when --
)
    14                   Q       That kind of violence goes on

    15         all the time?

    16                   A       But my point is

    17                           MR.    DUNNE:    Let him finish.

    18                   A       His involvement in this case.

    19                   Q       But,    you know,     it's just not

    20         somebody who's shooting his mouth off in the

    21         street.       This is a guy who is connected to

    22         Steuerman's son with violent criminal

    23         conduct of collecting money for drug trade

    24         in the late eighties and early nineties.

)   25                   A       Yes.



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         1                                  K.   James   McCready             203

         2                         MR.   DUNNE:    Go ahead.

         3                  Q      And so when you say he's just

         4         shooting his mouth off about the murder,

         5         does the fact that he is so closely

         6         connected to Steuerman, does that add

         7         anything to your view of whether or not his

         8         admission to his bragging may have some

         9         validity?

        10                         MR.   DUNNE:    I'm going to object

        11                  to the form of the question and the

        12                  colloquy before it.          Go ahead.

        13                  A      No.
    )
        14                  Q      Would the fact that -- If I

        15         were to add in that another individual came

        16         forward and has made multiple admissions

        17         that he too was involved in the murder of

        18         the Tankleffs with Joe Creedon,           would that

        19         matter to you?

        20                  A      Which clown is this now?

        21                  Q      Well,   clown or not,      we have

        22         several of them.

        23                         MR.   DUNNE:    Note my objection

        24                  to the form of the last couple of

j       25                  questions.      Go ahead.



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     1                                   K.   James     McCready            204

     2                  Q       We have several of them.              But

     3         the fact is that you're aware of the record

     4         from the 440 here,        right,       that led to

     5         Marty's reversal of conviction and the

     6         exoneration;      you're aware of that record,

     7         right?

     8                          MR.   DUNNE:      I    object to the

     9                  exoneration part.

    10                          MR.   BARKET:         He's sitting over

    11                  here but go ahead.             You can

    12                  characterize it any which way you

    13                  want.
)
    14                  Q       You know the regard that took

    15         place here,      right?

    16                  A       They said they'd give him a new

    17         trial,   alright.      And all I        know because of

    18         the change in the law we couldn't retry him,

    19         alright.

    20                  Q       What stopped you from retrying

    21         him?

    22                  A       Because I      think he was

    23         convicted on the difference of human life

    24        murder on his mother.

)   25                  Q       Only to his mother.



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     1                                      K.   James   McCready             205
)
     2                  A           What?

     3                  Q           Only to his mother.        He could

     4         have been prosecuted for his father if they

     5         thought they he did it.

     6                              I'm not supposed to give you

     7         information.          Count that as a free bit of

     8         information.

     9                              MR.   DUNNE:    But you're assuming

    10                  that that's the reason why they

    11                  chose not to do it but anyway --

    12                  Q           Let's go back to the question.

    13         You're saying that the fact that Jerry

    14         Steuerman had the dispute,                that other people

    15         thought he was involved,              that he was the

    16         last person to be seen with Marty's father

    17         before he got attacked doesn't mean that

    18         Jerry did it,         you don't think he did it.

    19                              Now I'm asking you to add some

    20         more facts into it,           things that are actually

    21         facts.       Todd,    his son,      is selling drugs,

    22         cocaine,      out of the bagel store.            You say,

    23         oh,   that doesn't matter,            I   still don't think

    24         Jerry did it.          Now I'm asking you to add in

)   25         more facts,      which is Creedon who says he's



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     1                                   K.   James   McCready                 206

     2         collecting money for Todd Steuerman.                 He

     3         swore to it under oath at the hearing.

     4         You're saying that doesn't matter.                 Now I'm

     5         asking you to add more facts to it,                that

     6         Creedon as been boasting about committing

     7         this murder for a decade and you're saying

     8         that doesn't matter.           Now I'm adding more

     9         facts,   that other people that Creedon was

    10         involved with at the time,             that he committed

    11         crimes with,      they too are saying,        look,        we

    12         did this and here is how it happened,                and

    13         I'm asking you if that matters to you?

    14                           MR.   DUNNE:    Again,   I'm going to

    15                  object to the entire set of colloquy

    16                  and questions.          Go ahead and answer.

    17                  A        Absolutely not.

    18                  Q        Okay.

    19                  A        What was the term -- I think I

    20         read it somewhere.         Oh,   Judge Braslow,

    21         "nefarious scoundrels."           You've got a pretty

    22         damn good list of them right there.

    23                  Q        That's the people that would be

    24         involved in a brutal murder of family to

)   25         protect somebody's business interest like



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     1                                   K.   James   McCready             207

     2         Jerry Steuerman,        right?    You wouldn't

     3                           MR.   DUNNE:   Objection to the

     4                  form.

     5                  Q        You wouldn't get alibis,          you'd

     6         get nefarious scoundrels to be involved in

     7         the murders.

     8                           MR.   DUNNE:   Object to the form

     9                  on multiple grounds but go ahead.

    10                  Q        I mean it just kind of begs the

    11         question,    is there anything that would

    12         change your view?

    13                  A        No.

    14                  Q        Nothing?

    15                  A        No.

    16                  Q        No matter what evidence came

    17         forward your view is going to always be that

    18         you got it right,        that Martin Tankleff is

    19         guilty no matter what?

    20                  A        Absolutely.

    21                  Q        One of the things that came up

    22         from Creedon is that his son reported that

    23         Creedon admitted it to him in kind of a

    24         bizarre bragging to his son -- I guess

)   25         that's what criminals do -- look how tough I



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      1                                     K.   James    McCready             208
 /
      2         am,   I was involved in the Tankleff murders.

      3         You're aware of that,            right?

      4                   A         Yes.

      5                   Q         And in fact,     his son reports

      6         that Creedon reported                I'm not saying,          I'm

      7         not saying i t ' s true.          I'm just asking the

      8         question -- that you were given money -- I

      9         think the figure was $100,000 -- to keep

     10         Creedon out of it,           his name out of it?

     11                   A         I've heard that.

     12                   Q         Is that true?

     13                   A         And supposedly he was paid

     14         $50,000 to do the murder.

     15                   Q         Well,   where did that come from

     16         because you've said that before.                  You've

     17         said that on a couple of television shows

     18         that he was supposedly paid $50,000?

     19                   A         I don't know.         I don't know.

     20         Somebody came up with that.                As a matter of

     21         fact,   that's why I         had to laugh when -- what

     22         was it,       Dr.   Phil,   whatever,     I was being

     23         facetious.          He asked me something about that

     24         and I   said,       yeah,   right.    I   said,   so that

_)   25         means he took a $50,000 loss.                It cost him



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     1                                      K.   James   McCready              209

     2         $50,000 to do the murder now if I                 got

     3         100,000.     I being facetious.

     4                  Q        Without being facetious,              I'm

     5         just going to ask you flat out because I

     6         kind of have to,           but I really do want to ask

     7         you this.     Did you receive any money from

     8         Joe Creedon?

     9                  A        Are you out of your mind?

    10                  Q        I'm just asking the questions.

    11                  A        The answer is no.

    12                  Q        Did you receive any money from

    13         Jerry Steuerman?
)
    14                  A        No.

    15                  Q        Did you know Jerry Steuerman

    16         before these murders?

    17                  A        No.

    18                  Q        Jerry Steuerman the person who

    19         told you about the card game?

    20                  A        What's that?

    21                  Q        You said before that there was

    22         information -- you had information that this

    23         was a card game on route to the murders.

    24         Did you get the

    25                  A        I    could swear I had that,            yes.



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      1                                      K.    James   McCready             210

      2                  Q        Did Jerry Steuerman tell you

      3         about the card game?

      4                  A        No.

      5                  Q        Is that how you knew it was a

      6         card game because you knew Jerry Steuerman?

      7                  A        No.       I think I may -- I thought

      8         it might have come through

      9                  Q        Did you have a chance to talk

     10         to Sergeant Doyle over the break?

     11                  A        Yeah,      but we didn't talk about

     12         that.

     13                           Did you talk about this?
)                        Q

     14                  A        No.

     15                  Q        You do know there is a

     16     I   person

     17                           MR.     DUNNE:      Wait.    Finish the

     18                  answer.

     19                  A        I    don't know where I        got it

     20         from.    But I'm telling you it was not

     21         through Steuerman.             I    thought it came from

     22         Sergeant Doyle and I'm not sure.                  For

     23         whatever reason it seems to me like I                    knew

     24         about the card game,               that it was a card game

_)   25         or something.



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     1                                    K.   James   McCready            211

     2                  Q        This is a --

     3                  A        I don't know where or how I got

     4         that information.

     5                  Q        This is a high stakes poker

     6         game.    Several thousand dollars got traded

     7         every week,    right?

     8                  A        Right.

     9                  Q        Or every month, whatever the

    10         poker game was and it involved prominent

    11         people in the community,           right?

    12                  A        Yes.

    13                  Q        And this was a community where

    14         you worked,    right?

    15                  A        Yes,   but I didn't know any of

    16         them.

    17                  Q        There's a person by the name of

    18         Lenny Lombrano who's testified that he saw

    19         you and Jerry Steuerman together and that

    20         you guys had business dealings together.

    21                  A        I wouldn't know him if I

    22         tripped over him.

    23                  Q        Lenny Lombrano or Jerry

    24         Steuerman?

)   25                  A        I didn't know Jerry Steuerman



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     1                                  K.   James   McCready             212
)
     2        then and I still don't know who Lombrano is.

     3                  Q      Okay.     Well,   there is another

     4        individual,     William Sullivan, who ran a bar.

     5         I think it's called Kerrington's.              Are you

     6         familiar with that?           It's a bar you went to?

     7                  A        Yes.

     8                  Q        He worked there at the time as

     9         a host or maitre'        d or assistant manager and

    10         he says that he saw you and Steuerman there

    11         together on several occasions.

    12                  A        He's mistaken.      I've never been

    13         there; not with Jerry Steuerman.              I think
)
    14         the last time I was in that place was --

    15         Jerry -- the assistant district attorney

    16         that retired.       As a matter of fact,           I think

    17         he died now.       I think he's been dead a long

    18         time.

    19                  Q        There's another individual

    20         Kirsten Stanton who said -- Kirsten Stanton,

    21         she's a student in a class that you gave a

    22         speech to shortly after the conviction of

    23         Marty,   and she reports in an affidavit that

    24         you said that Jerry Steuerman is the nicest

)   25         guy in the world,        that you've known him for



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     1                                   K.   James    McCready             213

     2         years and that he couldn't have been

     3         involved in that.

     4                   A       (Laughing.)      I don't know where

     5         these people come out of the woodwork.

     6                   Q       I don't know where they come

     7         out the woodwork either, but Steuerman owned

     8         the bagel store in a community that you

     9         lived and worked in,           right?

    10                   A       Yes.

    11                   Q       He's involved in a high stakes

    12         poker game with other prominent people in

    13         the community, yes?

    14                   A       Yes.

    15                   Q       A pizza guy,     a bar owner and a

    16         student all say that you know him or knew

    17         him before the murders?

    18                   A       I don't care what they say.

    19         And by the way,         I'll take a polygraph exam

    20         on that if you'd like.

    21                   Q       Well,   I'll tell you what,          if

    22         you'll credit Marty's polygraph that he

    23         passed,       I'll give you one on that issue,

    24         how's that?        Is that a deal?

)   25                   A       No.



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     1                                   K.   James   McCready             214
)
     2                  Q        Because he took a polygraph

     3         after you wouldn't let him and he passed.

     4         Does that mean anything to you?

     5                           MR.   DUNNE:   Objection.        Guys

     6                  enough with the colloquy.            Get to

     7                  the questions.

     8                  Q        Did you do any investigation of

     9         Jerry Steuerman at all back in 1988 other

    10         than talk to him in his bagel store?

    11                  A        Well,   we went out to California

    12         and picked him up.

    13                  Q        Oh,   right.
)                                               And all the things

    14         that raise suspicion about Steuerman,                I

    15         literally forgot about that.             One of the

    16         things is that the guy fakes his own death,

    17         right?

    18                  A        Yeah.

    19                  Q        Changes his appearance and

    20         flees under an assumed name after emptying

    21         out a bank account?

    22                  A        You're right.

    23                  Q        That coupled with other things

    24         falls into the category,          no matter what you

)   25         think Marty did this?



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     1                                   K.    James   McCready            215

     2                   A       Did you see Jerry Steuerman on

     3         the witness stand for three days?

     4                   Q       I'm not supposed to answer

     5         questions but sure,        I ' l l do it.

     6                           MR.   DUNNE:    Would you like me

     7                   to object on your behalf?

     8                   Q       I've gone through the trial,

     9         yes.     I know what he said.

    10                   A       Alright, but you didn't see his

    11         face.

    12                   Q       No,   I did.     I actually did.

    13
)              You're not the only videotape I've seen.

    14                   A       Well,   I'm going to tell you

    15         right now there is no way Jerry Steuerman

    16         did this murder or was connected to this

    17         murder or hired anybody to do this murder.

    18                   Q       Because why?

    19                   A       Because Jerry Steuerman didn't

    20         do it.

    21                   Q       Well,   no,    I get the conclusion.

    22         The why part is, why do you say that?

    23                   A       Because I      interviewed him and

    24         Sergeant Doyle interviewed him at great

)   25         length and I'm telling you that the man that



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     1                                    K.   James   McCready            216

     2         I spoke to is a nefarious scoundrel,                I will

     3         say.     I   know kids that he cheated out of

     4        money in the bagel store.                As a matter fact,

     5         when I went to California to get him,                I made

     6         him give me ten bucks to give back to one of

     7         the kids that he stole ten bucks from.

     8                      Q    Sorry,    I'm not supposed to

     9         laugh but, okay.

    10                           Look,    you trust your judgement,

    11         right?

    12                      A    Yes,    I do.

    13                      Q    You trust your gut and it

    14         really may be right 90 percent of the time

    15         but would you grant me that it ain't

    16         perfect?

    17                      A    Oh,    I'm not perfect.

    18                      Q    So when you say that I           know

    19         Jerry Steuerman didn't do this because,

    20         although he's a nefarious scoundrel,                and he

    21         was the last to see Marty's parents alive,

    22         he's connected to Creedon and drugs and all

    23         this other stuff,          at some point does your

    24         gut yield to the evidence?

)   25                           MR.    DUNNE:    I will object to



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     1                                   K.   James    McCready            217
)
     2                  the form of the question.            Go ahead.

     3                  A        What you have is a bunch of

     4         bullshit from a bunch of morons,             alright.

     5         Don't get me going there either about what

     6         your investigator did with some of these

     7         witnesses.

     8                  Q        Get going with it.        What are

     9         you referring to?

    10                  A        Some of those witnesses weren't

    11     I   paid money?

    12                  Q        I get to ask questions and

    13         answer questions.
)
    14                           Are you aware that witnesses

    15         are allowed to be reimbursed for travel?

    16     I   You got paid to come up here today?

    17                  A        Yes.

    18                  Q        You got paid to get put up in a

    19         hotel?

    20                  A        Yes.

    21                  Q        You actually got paid money for

    22         your wages for today,          right?

    23                  A        Yes,   I'm up here representing.

    24                  Q        Let's just move from you,           a

    25         retired detective,        if you were a civilian



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     1                                   K.   James   McCready             218

     2         witness that lost time from a job at a State

     3         proceeding,    are you aware that it would be

     4         appropriate for the attorney to pay for the

     5         travel,   pay for the accommodations and pay

     6         for the lost wages;        is that fair?

     7                   A       More than fair.       You're right.

     8                   Q       Okay.    So the individuals that

     9         you say are,      whatever you described them,

    10         you've never spoken to any of them; have

    11         you?

    12                   A       No.

    13                   Q       Have you read their testimony?

    14                   A       No.

    15                   Q       And you certainly never

    16         investigated any of these allegations back

    17         in 1988; did you?

    18                   A       No.

    19                   Q       Four hours,    four-and-a-half

    20         hours after you arrived at the scene you,                   in

    21         your view,    solved this case by the ruse

    22         phone call that you made to Marty Tankleff?

    23                   A       Well,   that prompted him.

    24                   Q       And ever since then,       no matter

J   25         what the evidence is,          no matter what took



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 1                                      K.    James   McCready             219

 2        place,    your view is that Marty did this?

 3                  A        Yes.

 4                           MR.     DUNNE:      I ' l l object to the

 5                  form of the question.               Obviously the

 6                  answer stands.

 7                  Q        Didn't Marty tell you that

 8         there was people that could corroborate the

 9        business troubles between Tankleff and

10         Steuerman?

11                  A        There were people that could

12         corroborate?

13                  Q        Yeah.

14                  A        Steuerman told us all about it.

15         He wasn't hiding it.

16                  Q        How about Julie Mutchuler

17         (phonetic),      do you know her?

18                  A        I    think she works at the store.

19                  Q        Right.          That was a name that

20        Marty gave you that morning to say speak to

21         Julie.       She knows how bitter the fights are.

22         Did you ever talk to her about the fights?

23                  A        No.

24                  Q        Didn't Marty's father's maid

25        tell you all that there was a screaming



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 1                                      K.   James   McCready                220

 2         match on the phone between Steuerman and

 3         Tankleff the day of the murder,

 4         September 6th?           When I    say tell you,       I   mean

 5         tell the police.

 6                  A        I    don't recall that.          Is it

 7         possible,    yes.

 8                  Q        I want to talk to you a bit

 9         about the lie or lies you told to Marty.

10                           Marty says that you told him

11         that you conducted some kind of humidity

12         test and that you could tell that he had

13         taken a shower,          not the night before,             but

14         that morning.           Did you say that to him?

15                  A        I may have.         I don't remember

16         right now.     I may have because I             remember

17         talking about the shower.

18                  Q        You tell him there was a

19         humidity test that you took?                Was that true?

20         Was there such a humidity test?

21                  A        No.

22                  Q        Marty says that you told him

23         that you found his hair in his mother's

24         hand?

25                  A        No.



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     1                                    K.   James   McCready            221
)
     2                  Q        Did you say that to him?

     3                  A        No.

     4                  Q        And,    of course,    that was not

     5         true,   right?

     6                  A        No.

     7                  Q        None of Marty's hair was in

     8         Arlene's hands?

     9                  A        No.     I would never say

    10         something like that.            You know why?

    11                  Q        No.     Go ahead and tell me.

    12                  A        What if the hair in her hands

    13         was your hair?
)                                       I would look pretty silly,

    14         wouldn't I,      if I tell him           It's like

    15         telling a burglar,          I   know you broke into the

    16         place because we got your fingerprints.

    17         Well,   the burglar knew damn well he was

    18         wearing gloves so how the hell did I               get his

    19         fingerprints.       You never tell anybody

    20         something like that.

    21                  Q        You never tell anybody

    22         something like -- You don't lie about

    23         physical evidence that you have that

    24         implicates them?          That's not one of the lies

)   25         you would tell?



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      1                                    K.   James   McCready            222
~)

      2                           MR.    DUNNE:   Objection to the

      3                  form of the question.            Go ahead.

      4                  Q        Whether or not you would tell

      5         that lie,    you're saying you didn't.             Marty

      6         says you did,      you're saying you didn't?

      7                  A        No,    I didn't.

      8                  Q        Okay.     But you did make up this

      9         ruse about being pumped with adrenalin and

     10         so forth,    right?

     11                  A        Yes.

     12                  Q        Now,    obviously,    at this point

     13         in time,     you're subjectively-- By this
)
     14         point in time you subjectively believed that

     15         Marty committed this murder,             right?

     16                  A        Yes.

     17                  Q        So you're running a ruse or

     18         some trickery or deceit which you think

     19         you're allowed to do in order to get the

     20         guilty -- in your mind this ''guilty person"

     21         to confess,     right?

     22                  A        Yes.

     23                  Q        The purpose of doing this is to

     24         force him to tell you that he did this?

     25                  A        Yes.



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     1                                     K.    James   McCready            223

     2                   Q       That's why you're telling him

     3         this lie?

     4                   A       Yes.

     5                   Q       And you're doing that because

     6         you believe he was guilty and you had spent

     7         a couple of hours with him and you hadn't

     8         been able to get him to confess by

     9         confronting him with other facts or things,

    10         right?

    11                   A       Yeah.

    12                           MR.     DUNNE:    I object to the

    13                   form of the question but the answer
)
    14                   stands.

    15                   Q       As you were doing this,            did you

    16         consider the possibility that maybe you were

    17         just wrong,       that maybe the kid was just

    18         scared,       confused,    in shock?

    19                   A       No.

    20                   Q       So before Marty said he did it,

    21         you were convinced he did it?

    22                   A       I was pretty damn sure he did

    23         it at that point,          yes,    but we still didn't

    24         have enough.

)   25                   Q       Probable cause to lock him up.



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     1                                  K.   James   McCready             224
I    2                  A      Right,    yeah.

     3                  Q      You wanted that probable cause,

     4         you wanted that admission, you wanted that

     5         confession?

     6                  A      Yes.

     7                  Q      So you were trying to figure

     8         out ways to do it,       right?

     9                  A      Yes.

    10                  Q      And the way you came up with

    11         was this ruse about his father saying that

    12         he did it?

    13                  A      Yes, because he would not have

    14         known if his father came out of a coma or

    15         not.

    16                  Q      Well,    this is -- I don't want

    17         to say just another day at the office for

    18         you, but this is another day at work for

    19         you,   right?

    20                  A      Yes.

    21                  Q      You've done these kinds of

    22         things before over and over again,            correct?

    23                  A      Yes.

    24                         MR.    DUNNE:     Well,   I'm going to

    25                  object because I don't know what



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     1                                      K.   James   McCready             225

     2                  "things" are.

     3                  Q      What was the guy Schoendorf

     4         (phonetic)?       Didn't you give him some kind

     5         of ruse to get him to go for it,                if you

     6        will?

     7                  A        I    don't remember trying to use

     8         any ruse on him.            What I   specifically

     9         remember about Schoendorf was that he had

    10         told us that he had not come home that day

    11         so he couldn't possibly have done it.

    12                           But being a carpenter, on a

    13         kitchen table was a ruler,                a tape,   you know,
)
    14         tape ruler,    you know,          and it was still in

    15         the package and it was purchased at --

    16         ironically,    I named my company after this

    17         Nassau Suffolk Lumbar over in Smithtown,                       so

    18         I managed to go over to Smithtown and found

    19         out that -- I believe they got a copy of the

    20         receipt and I'm not sure if that had the

    21         time on it or not.             I don't remember all of

    22         that.    But how did the ruler get in the

    23         house if he didn't come home?                 You

    24         understand where I'm getting at?

)   25                  Q        Did you say something to him



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     1                                    K.   James   McCready            226
)
     2         about finding firearm?            Was his wife shot?

     3                   A       FOR?

     4                   Q       Yes.

     5                   A       His wife was shot,        yes.

     6                   Q       Did you tell him you found

     7         residue on his arms?

     8                   A       I don't remember.

     9                   Q       Okay.     And in any event,       as

    10         you're questioning Marty,           this is not your

    11         first rodeo so to speak,           right?

    12                   A       Right.

    13                   Q       You've questioned suspects

    14         before?

    15                   A       Yes.

    16                   Q       You know what you're doing.

    17         You're trying to extract a confession from

    18         the kid.      You think he did it and you're

    19         doing what you have to do to get the

    20         confession,     right?

    21                   A       Yes.

    22                   Q       How was he supposed to react?

    23         Let's just assume for a second that he was

    24         innocent.

    25                           MR.    DUNNE:   I'm going to object



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     1                                   K.    James   McCready            227
)
     2                   to the form of the question but go

     3                   ahead.

     4                   Q      How would an innocent person

     5        react to this?

     6                   A      As I said in court,         if I were

     7        him -- Ronnie Rother was crying.

     8                   Q      No, no,       no.

     9                   A      Wait a minute.          Let me finish

    10        my answer.

    11                   Q        I don't mean the crying.

    12                          MR.   DUNNE:        Let him finish.

    13                   Q        How would react to his lie
)
    14         about his father,        that's my question.

    15                   A        How did he --

    16                   Q        How would an innocent person --

    17         Assume for a second that Marty is innocent.

    18         Not how he would act,           his demeanor or

    19         crying.       How would he react to the lie?

    20                   A        If that were me sitting there

    21         and being accused of something I didn't do,

    22         I'd be all over whoever was asking me the

    23         questions or whatever screaming,              yelling and

    24         ranting and raving saying,              I didn't do it

)   25         and no way.        I mean --



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c)    1                                    K.   James   McCready             228

      2                  Q        Well,    let's back up for a

      3         second and take it one step at a time and

      4         see if we can look at it from a teenager's

      5         point of view who's found both his parents

      6         in the house; one dead, brutally,               and the

      7         other brutally attacked and dieing.                 You

      8         know that Marty was never in a precinct

      9         before under those circumstances,               right?

     10                  A        I don't know.         I   guess not.       I

     11         don't know.

     12                  Q        You would know if he had been,

     13         right?

     14                  A        Well, he had prior arrest or

     15         something?

     16                  Q        Right.

     17                  A        Sure.

     18                  Q        He had none of that,          right?

     19                  A        No.

     20                  Q        This for you is work.            You do
     21         it all the time.          This is a squad room that

     22        you live and breathe in every day,                right?

     23                  A        Yes.

     24                  Q        So you have a teenage boy.                His
     25        parents have been found the way they have



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     1                                   K.   James   McCready            229
)                                You're questioning him for
     2        been found.

     3        several hours now,         right?       The questioning

     4        started around 8:30 at the scene and

     5         continued now until 11:45,             11:50 at the

     6        precinct,     right?

     7                  A      Yes.

     8                  Q      You confronted him with what

     9         you think are inconsistencies;             something

    10         about the shower,        blood on his shoulder,

    11         things like that,        right?

    12                  A      Yes.

    13                  Q      And then you step out and you
)
    14         make this fake phone call and you come back

    15         and you tell him,         in essence,     we got you

    16         now.    Your father says you did it, pumped

    17         him full of adrenalin,            he said you're the

    18         one who attached him,          yes?

    19                  A        Yes.

    20                  Q        Assume for the time being that

    21         he believes you,         right.     That it never

    22         occurs to him that you would be lying about

    23         such a thing and that,            of course,   it would

    24         never occur to him that his father would be

    25         lying about that.          And just for the time



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     1                                    K.   James   McCready           230

     2         being,   just for now,          assume he's innocent.

     3         How would an innocent person react to that?

     4                          MR.    DUNNE:     I'm going to object

     5                  on numerous grounds on that but go

     6                  ahead and answer as best you can.

     7                  Certainly the form is improper.

     8                  A        I wouldn't care what you said

     9         to me.       If I didn't do it,         I didn't do it.

    10                  Q        Did you think about the

    11     I   possibility that what you were doing is

    12     I   making Marty doubt his own reality?

    13                           No.
)                       A

    14                  Q        But when you tell him that his

    15         father said he did it

    16                  A        Right.

    17                  Q        -- and if he did,        how would he

    18         put that together with the fact that he has

    19         no memory of it?

    20                           MR.   DUNNE:     On numerous grounds

    21                  that's an improper question but for

    22                  the purpose of now try and answer

    23                  that as best you can.             I ' l l pr serve

    24                  that for later.

)   25                  A        If I didn't do a crime such



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     1                                    K.   James   McCready            231

     2         as --

     3                  Q        Not you.        Seventeen-year-old

     4         boy --

     5                           MR.    DUNNE:     Bruce,   Bruce,   let

     6                  him finish his answer.

     7                  A        Seventeen-year-old boy,          my ass.

     8         I was in the United States Army when I was

     9         17 years old so --

    10                  Q        Life is different for you.

    11                  A        I don't like describing him as

    12         a little teenage boy.

    13                  Q        But wasn't he?        Wasn't he a

    14         teenage boy?

    15                  A        Yes.

    16                  Q        He was starting his first day

    17         of high school.          He wasn't in the Marines.

    18         He was a spoiled kid who lives on the north

    19         shore of Long Island?

    20                  A        First day of his senior year.

    21                  Q        Right.

    22                  A        Yeah.

    23                  Q        His activity wasn't in the

    24         Marines.     He's was boating,          going on his ATV

)   25         and hanging out with his friends.               He finds



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      1                                    K.   James   McCready             232
 )
      2        his parents that way and then he's in the

      3        homicide squad.           How does that person react?

      4                           MR.    DUNNE:     I'm objecting.

      5                   Wait.     Jimmy,      hold on a second.           Let

      6                   me make the record.

      7                           I'm objecting on numerous

      8                   grounds to the propriety of that

      9                   question.       It is Federal deposition.

     10                   Go ahead,      Jimmy,     you can answer.

     11                   Q       How does he react?         He just

     12         continues to deny it?             Calls you a liar?

     13         Calls his dad a liar?
 )
     14                   A       Yes.

     15                   Q       You don't think that it's even

     16         possible that it would -- that kind of

     17         information given to an innocent boy in that

     18         circumstance would make him doubt his own

     19         memory?

     20                   A       No.

     21                   Q       You don't think that it's even

     22         possible that him saying or you suggesting,

     23         whichever way it was,             could I have done it

     24         and blacked out was him trying to reconcile

·)   25         two irreconcilable facts,             that he had no



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     1                                   K.   James   McCready             233

     2         memory of committing this crime and that

     3         you're telling him his father said he did

     4         it?

     5                           MR.   DUNNE:    Again,   I'm

     6                  objecting to the form of the

     7                  question for the same reasons as

     8                  previously stated.

     9                  Q        That never occurred to you when

    10         you asked the question?

    11                  A        I believe now,       okay,    that he

    12         was using steroids.            I think they were

    13         affecting him.          I believe that now,        I didn't

    14         know that then.

    15                           MR. BARKET:      Okay.       We'll pick

    16                  up the steroids after.

    17                           THE VIDEOGRAPHER:        Going off

    18                  record at 4:18 p.m.

    19                           (At this time,       a brief recess

    20                  was taken.)

    21                           THE VIDEOGRAPHER:        Beginning of

    22                  Tape 5.        We're back on record at

    23                  4:32 p.m.       You may proceed.

    24         CONTINUED EXAMINATION BY

)   25         MR.   BARKET:



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     1                                       K.   James   McCready            234
)
     2                   Q          I think we were cut off because

     3         of the tape.          Just maybe the court reporter

     4         could read back the last question, which is

     5         lengthy,      as I    recall,      and then the beginning

     6         of the answer.

     7                              (Whereupon,      the requested

     8                   portion was read back by the court

     9                   reporter.)

    10                              MR.    DUNNE:    We'll take that up

    11                   when we come back.

    12                              MR.    BARKET:    Okay.   We'll take

    13                   that up when we come back.
)
    14                   Q          Before we get to the steroids,

    15         I   kind of want to go back to the question

    16     I   that I    asked which is,            it didn't occur to

    17         you in telling that kind of lie that you

    18         might cause someone to doubt their own

    19         memory?

    20                   A          No.

    21                   Q          Now,    in point of fact,        Marty's

    22         initial response to this was to try and

    23         explain it,      right?        To say,     well, my father

    24         may be saying that because I was the last

    25         person to treat him before the police got



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 1                                      K.   James    McCready             235

 2         there,   right?

 3                  A        Yes.

 4                  Q        And then,       I     think it was Rein

 5         who suggested to him,             no,    that he was

 6         unconscious,          that couldn't have happened,

 7         something along those lines?

 8                  A        I don't remember Norm saying

 9         anything like that about being unconscious.

10         I remember

11                  Q        You continued to press the

12         point though,          right?

13                  A        Right.

14                  Q        And then he offered to take a

15     I   polygraph,    right?

16                  A        What's that?

17                  Q        Then he offered to take a

18         polygraph?

19                  A        I    don't know what point in time

20         he offered to do that.

21                  Q        Didn't he offer           --
22                  A        I     forget what point in time it

23         is.   Maybe I         can find it here.

24                  Q        That's actually worth looking

25         at for a second.            Let's go to your



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     1                                      K.   James   McCready                236

     2         supplemental report which I think is                            you

     3         just have to give the number.

     4                  A        Fifty-nine.

     5                  Q        Fifty-nine.         Looking at Page 10

     6         of 14, bottom paragraph where you write,                         he

     7         said he would take a lie detector test.                          We

     8         then asked

     9                  A        Wait a minute.           Where is it?

    10                  Q        I     don't want to rush you.

    11                           MR.     DUNNE:     Point it out to

    12                  him.

    13                           MR.     BARKET:         did.
)                                                    I           I    thought

    14                  I   was doing that.

    15                  Q        One Page 10 about 10 lines up

    16         from the bottom.

    17                  A        Ten lines up from the bottom.

    18                           MR.     DUNNE:     Or nine.

    19                  A        Due to the fact that he was

    20         given adrenalin and then once out of his

    21         comatose state he said that he,                  Marty,    had

    22         stabbed him.

    23                           Yes,      I see it.      He said he

    24        would take a lie detector test.                    That's when

)   25        he said it,      yes.



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     1                                    K.   James   McCready             237
)
     2                   Q       Did you give him one?

     3                   A       No.

     4                   Q       Did you have the facility to

     5         give him a lie detector or polygraph?

     6                   A       Yes.

     7                   Q       You chose not to?

     8                   A       Yes.

     9                   Q       Again,   this was a room in the

    10         context in which you ran the show,             right?

    11                   A       Yes.

    12                   Q       Nobody was in that room unless

    13         you said they could go in there?

    14                   A       Pretty much.      Well,    if the

    15         sergeant wanted to come in he could come in.

    16                   Q       He would come in.         And point in

    17         fact,    if he wanted to come in he could,                 but

    18         the sergeant was going to leave it to your

    19         discretion as to what to do in that room,

    20         right?

    21                   A       Yes.

    22                   Q       There was -- And once you tell

    23         him this lie Marty's first reaction is what

    24         I said before is that his father may have

)   25         been saying that because he was the last



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     1                                    K.   James    McCready            238

     2         person to treat his dad before the police

     3         arrived,      right?

     4                   A       Yes.

     5                   Q       And then he said he would take

     6         a lie detector,         correct?

     7                   A       Yes.

     8                   Q       So he's still,         even in the face

     9         of this lie, even in the face of the fact

    10         that you're telling him his father has named

    11         him as the "murderer" or "attacker," he's

    12         still saying he didn't do it in trying to

    13         reconcile what his father said with what his

    14         memory is?

    15                           MR.    DUNNE:    No,    I'm objecting

    16                   to the form of that but go ahead.

    17                   A       Well,    you know -- What's the

    18         word I'm looking for?             He's still at that

    19         point,    I guess,      in a state of denial.

    20                   Q       But -- Sorry,         finish your

    21         answer.

    22                   A       Because the next thing he says

    23         we asked him,      you know,       what should we do to

    24         the person that did this and he said they

)   25         needed -- they needed to have psychiatric



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     1                                    K.   James   McCready           239

     2        help.     We asked him if he needed psychiatric

     3        help.     He then asked if he could have

     4        blacked out and done it.             We asked him what

     5        he thought,     he said maybe it was not him but

     6         another Marty Tankleff.

     7                         That's what I'm getting at

     8         about the steroids.             That's what I'm saying.

     9         I don't think that's necessarily incorrect

    10         what he said there because it probably

    11         wasn't his normal Marty Tankleff,             but if

    12         he's suffering from roid rage I think that's

    13         a very distinct possibility.
)
    14                  Q        There's a couple of things I

    15         want to talk to you about and the roid rage

    16         is part of it,      but the first thing is you

    17         say that he's still in a state of denial.

    18         That's an opinion that you're offering at

    19         that time,    right?

    20                  A        Yes.

    21                  Q        It could just be that he's

    22         saying that he didn't do it because he

    23         actually didn't do it?

    24                           MR.    DUNNE:    Objection to the

    25                  form but go ahead.



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 1                                    K.   James   McCready             240

 2                   A       I think he's just trying to

 3                   Q       Right,   but that's a value

 4         judgement you're making.            It's an

 5         assessment.       It's an opinion.         It's not

 6         fact,   right?

 7                   A       Right.

 8                   Q       So when you say that he's still

 9         in a state of denial that tells us a lot of

10     I   what you think at the time,             right?

11                   A       Yes.

12                   Q       You think he's guilty of

13     I   murder?

14                   A       Yes.

15                   Q       He hasn't said it to you yet.

16         He hasn't admitted anything to you yet,                    but

17         you think that's what happened here,               right?

18                   A       Yes.

19                   Q       You have not gotten any

20         forensics back yet,         you haven't spoken to

21         any witnesses hardly at all.              The entire

22         time this investigation has been going on

23         the only person you've spoken to is Marty

24         and you're convinced at 11:50 or 11:45 that

25         morning that Marty did this,             right?



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 1                                    K.   James   McCready                241

 2                   A       Yes.

 3                   Q       And you're doing what you have

 4         to do to get him to say he did it?

 5                   A       I'm trying to,        yes.

 6                   Q       Now,   you didn't give him a lie

 7         detector test,      right?

 8                   A       No.

 9                   Q       You then offered up this

10         suggestion that Marty was on steroids.                     I

11         mean you just did it now so I want to talk

12         about that a little bit, not that you did it

13         to Marty at the time.            And Detective Rein

14         did this too.

15                           We all are professionals,

16         right?    You're a police officer,             I'm a

17         lawyer.       We don't just say things,          right?

18                   A       Right.

19                   Q       We don't just make accusations

20         and conclusions.         There needs to be evidence

21         to support it,      right?

22                   A       Right.

23                   Q       Where did the evidence come

24         from that Marty was on steroids?

25                   A       I didn't think we had any but



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     1                                      K.    James    McCready            242

     2         what we did know

     3                   Q       Now.       Where does it come from

     4         now?

     5                   A       Well,      we know that he was

     6         stealing steroids from the gym over there.

     7                   Q       No,     we don't;        do we?

     8                   A       I     know he was ordering them,

     9         and I    know

    10                   Q       Well,      who told you he was

    11         ordering them?

    12                   A       I    think i t was Dan Hayes.

    13
)                        Q       Is that the same person who

    14         said that you were collecting money from

    15         Steuerman and is still on the take with the

    16         mob;    that Dan Hayes?

    17                   A       Yes.

    18                   Q       Well,      I    don't want to compare

    19         the two but are we going to believe the

    20         steroids and disbelieve the cop on the take

    21         or maybe Dan Hayes is just not a reliable

    22         reporter of the facts?

    23                           MR.     DUNNE:      I'm objecting again

    24                   on numerous grounds.               Go ahead.

    25                   Q       That's the information you



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     1                                    K.   James   McCready            243

     2         have?    How would you feel if we all went

     3         around and said,          you're on take with the

     4         Lucchese crime family because Dan Hayes said

     5         so?

     6                           MR.    DUNNE:     Again, objection.

     7                  Bruce, that's not a question that's

     8                  going to

     9                           MR. BARKET:        Sorry.   Sorry.
    10                  I'll withdraw it.

    11                  Q        The fact that Dan Hayes said

    12         something doesn't make it so; does it?

    13                  A        No,    it doesn't make it so.

    14                  Q        And he's told just flagrant

    15         lies about you,         correct?

    16                  A        Yes,    he has.

    17                  Q        Okay·     So the fact that --

    18                  A        But he also told us that he

    19         discussed the steroids with Seymour.

    20                  Q        Well,    unfortunately, Seymour is

    21         not around to ask that.

    22                  A        I realize that.

    23                  Q        Anybody can say they discussed

    24         anything with Seymour and we'll never know

)   25         if that's true or not.



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     1                                   K.   James   McCready             244

     2                           So there's no blood test that

     3         indicates that he had steroids on him,

     4         right?

     5                  A        No.

     6                  Q        And point of fact,      what Dan

     7         Hayes says is not that Marty was stealing

     8         steroids,    it's that he caught Marty ordering

     9         supplements and that they never made their

    10         way to Marty,      right?

    11                  A        I don't remember right off the

    12         top.

    13                  Q        Well,   you're the one who's kind

    14         of making this accusation based on what

    15         Hayes tells you.

    16                           MR.   DUNNE:   Objection to the

    17                  colloquy there.         Go ahead.

    18                  Q        Isn't it true that what Hayes

    19         reports is he caught Marty ordering

    20         supplements,      not steroids, took them from

    21         him before he ever got them and the kid

    22         never got the steroids or supplements,

    23         sorry.    Thank you.

    24                  A        I don't know that he got them

)   25         or he didn't get them.



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     1                                    K.   James   McCready            245

     2                  Q        But then why would you offer up

     3         this blatant

     4                  A        Because

     5                  Q        Why would you offer up and

     6         Detective Rein that Marty was on steroids

     7         when the only evidence of it is something

     8         that Hayes said 20 years ago when Hayes is

     9         the same person calling you a dirty cop?

    10                           MR.   DUNNE:    Objection to the

    11                  form of the question.            Go ahead.

    12                  A        Because Marty,        what I'm saying

    13         to you today,      okay,    is that that is -- I
)
    14         think that's very important in terms of

    15         actually,    it would be in terms of his

    16         defense that he had been using steroids.

    17                  Q        Speaking as someone who

    18         occasionally engages in criminal defense

    19         work,   I ' l l ask if maybe it's better to let

    20         the defense attorneys do the defense

    21         attorney stuff because steroid defense is

    22         not a good one for Marty because he never

    23         took them,    there's no blood work.           He's

    24         saying he didn't do it.

)   25                           MR.   BARKET:    My objection to



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     1                                    K.   James   McCready           246
)
     2                  the recent exchange there but the

     3                  record should be clear to what I'm

     4                  objecting to.

     5                  Q        I'm asking you questions about

     6         this.    You're saying you thought he was on

     7         steroids and the only evidence that you have

     8         of that,     the only evidence in the planet is

     9         something that Hayes told some police

    10         officer 24 years ago;           is that right?

    11                  A        Yes.

    12                  Q        There is no blood test,          there

    13         is no other witnesses,            no other
)
    14         corroboration.          It's the flagrant mere

    15         allegations from Hayes,            right?

    16                  A        Yes.

    17                  Q        And the allegation isn't even

    18         that he gave Marty steroids,             saw Marty

    19         taking them,      it's that he found Marty

    20         ordering some kind of supplement that he

    21         took from Marty before he got them.

    22                           MR.    DUNNE:    Objection.      I don't

    23                  know that you've established that

    24                  that's his perspective.

)   25                  Q        Is that your memory of it?



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     1                                    K.   James     McCready            247

     2                   A       Yes.

     3                   Q       Yes?

     4                   A       Yes.

     5                   Q       Okay.     So can we kind of put to

     6         bed the steroids?

     7                           MR.    DUNNE:     No.    Objection to

     8                   the form of that.          Come on,       Bruce,

     9                   you know better.

    10                   Q       Now,    I want to talk to you a

    11         little bit about the small talk,                  if you

    12         will,    that you all engaged in.             I    think it

    13
)              kind of starts around Page 6,               if you will,

    14         of your supplemental report.                I don't know

    15         if there is a specific line?

    16                   A       Yeah.     Yes.

    17                   Q       Actually,       it's the second full

    18         paragraph.

    19                   A       Yes.

    20                   Q       Excuse me.       The interview of

    21        Martin Tankleff began with small talk

    22        between Martin and myself and Detective

    23         Rein.

    24                           You talked about the surgery,

)   25         right?



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     1                                    K.   James   McCready            248

     2                   A       Yes.

     3                   Q       You asked him about high school

     4         and girls,    correct?

     5                   A       Yes.

     6                   Q       And you also asked him about

     7         cars,   correct?

     8                   A       About what?

     9                   Q       His car, what kind of car he

    10         drives?

    11                   A       Yes.

    12                   Q       And he told you about the car?

    13                   A       Yes.
)
    14                   Q       Now,    in the course of

    15         discussing with him girls and high school,

    16         did you talk to him at all about sports?

    17                   A       No,    not that I recall.        There

    18         was something about --

    19                   Q       I'm talking now just about this

    20         phase of small talk that you were discussing

    21         with him.     You talked about his family.                 You

    22         learned that he was adopted then,             right?

    23                   A       Right.

    24                   Q       You talked about going to

)   25         college?



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         1                                   K.   James   McCready             249
    )
         2                  A        Yes.

         3                  Q        Talked about his ATV and his

         4         boat?

         5                  A        Yes.

         6                  Q        Yes?

         7                  A        Yes.

         8                  Q        And if -- I mean am I right

         9         that Marty in the course of this small talk

        10         is telling you that obviously he lives where

        11         he lives,    right,      which is a very exclusive

        12         residence?

        13                  A        He what?

        14                  Q        He lives where he lives, very

        15         exclusive residence?

        16                  A        Yeah.

        17                  Q        Not only in Belle Terre but

        18         kind of "the" spot in Belle Terre where you

        19         have this house overlooking the sound and

        20         Connecticut and so forth,          right?

        21                  A        Yes.

        22                  Q        Not oceanfront but sound front

        23         right?

        24                  A        Yes.

)       25                  Q        He has a Lincoln that's his,



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     1                                   K.   James   McCready              250

     2         right?

     3                   A       Yes.

     4                   Q       He has a boat that he has

     5         access to,       right?

     6                   A       Well,   that was a bone of

     7         contention with him and his father about the

     8         boat.

     9                   Q       We'll talk about the

    10         contentious part of it,          but he has a boat

    11         that he has access to,          whether it's limited

    12         or not,       he has a boat.     An ATV he has access

    13         to?
)
    14                   A       I believe so.

    15                   Q       That's not such a bad life;               is

    16         it?

    17                   A       No.

    18                   Q       He told you about how his

    19         parents met,       yes?

    20                   A       Yes.

    21                   Q       Said that there was an affair?

    22                   A       Yes.

    23                   Q       He talked about their

    24         relationship with each other and with him?

    25                   A       Yes.



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 1                                    K.   James   McCready            251

 2                  Q        Now,   at some point,      you begin

 3         to ask him questions about what happened

 4         that day,    right?

 5                  A        Yes.

 6                  Q        And he tells you that he

 7         showered the night before,              correct?

 8                  A        Yes.

 9                  Q        And he tells you that he used

10         two towels after the shower;              is that right?

11                  A        I believe so.

12                  Q        And he tells you that he used

13         one for his head and one he put around his

14         waist when he got out of the shoulder;                is

15         that right?

16                  A        Yes.

17                  Q        When you went into his room and

18         you looked around,         did you see towels?

19                  A        I don't recall.         I don't know

20         if I have it here.          I   think I wrote down --

21         It may be in my notes.

22                           No,    I don't have any notes on

23         that.

24                  Q        Let's just see if we can

25         refresh your memory a bit.



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     1                                    K.   James   McCready            252

     2                           MR.    BARKET:   Can I have these

     3                  two pictures marked,           please.

     4                           (Whereupon,      Plaintiff's

     5                  Exhibits 88 through 90 were marked

     6                  for identification.)

     7                  Q        Can you take a look at what's

     8         been marked as Plaintiff's Exhibit 88

     9         through 90,     and I     guess if you start with 90

    10         I ' l l see if that refreshes your memory of

    11         that being Marty's bed and bedroom and the

    12         towels on it?

)   13                  A        Yeah.     Yes.

    14                  Q        Okay.     So he told you that

    15         there was two -- and so Marty told you that

    16         he had two towels from the night before and,

    17         in fact,     there were two towels found in his

    18         room where he said they were,             right?

    19                  A        Yes.

    20                  Q        Okay.     And when you were in

    21         Marty's room,      you looked around; didn't you?

    22                  A        Yes.

    23                  Q        And by the time you were doing

    24         the second walk-thru,           you knew that the

J   25         parents had been brutally attacked,                right?



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     1                                      K.   James   McCready            253

     2                  A        Yes.

     3                  Q        You knew that there was a knife

     4         wound on the mother at least,               right?

     5                  A        Yes.

     6                  Q        And you knew that -- Did you

     7         know that the father had been bludgeoned at

     8         that point in time?

     9                  A        No.

    10                  Q        Did you know that the mother

    11         had been bludgeoned?

    12                  A        No,    I didn't know she was

    13         bludgeoned at that point in time.
)
    14                  Q        You didn't see the bruises on

    15         the side on her head and her ear almost

    16         chopped off?

    17                  A        No.    I   didn't see any wounds to

    18         the back of her head.

    19                  Q        I   know that you all said the

    20         back,   but we'll go through the autopsy in a

    21         little bit, maybe tomorrow.

    22                           Do you know that the wounds in

    23         her head were on the top of her head,                  on the

    24         front of her head,           and I believe the left

)   25         side of hear head and that one of them



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         1                                        K.   James   McCready              254
    )
         2         actually almost literally took off a piece

         3         of her ear it was such a severe hit?

         4                      A       No,   I   don't recall that.

         5                      Q       You don't recall that?

         6                      A       No.

         7                      Q       You all think it was the back

         8         of the head that she was hit on only.

         9         Right?

        10                      A       What's that?

        11                      Q       You all think she was hit in

        12         the back of head?

        13
)                               A       No.

        14                              MR.   DUNNE:     Objection to form

        15                      but go ahead.

        16                      A       I don't know.          I   looked at her

        17         but I    don't touch the bodies.                 I    just looked

        18         at her,      but I don't recall exactly.                  You

        19         know,    I       remember the biggest thing I

        20         remember is a big gash on her.                       It looked

        21         like,    you know,         like a big long gash.

        22                              MR.   BARKET:     Let's do this.

        23                      Mark this as 91.

        24                              (Whereupon,      Plaintiff's Exhibit

)       25                      91 was marked for identification.)



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 1                                    K.   James   McCready            255

 2                           MR.    BARKET:    This is 92.       This

 3                  is 93 and this is 94.

 4                           (Whereupon,      Plaintiff's

 5                  Exhibits 92 through 94 were marked

 6                  for identification.)

 7                  Q        I want to show -- You recognize

 8         these photographs,         right?

 9                  A        Yeah.

10                  Q        Sure.     You recall actually

11         seeing them and you recall the pictures

12         themselves,    right?

13                  A        Yeah.

14                  Q        You were at this scene?

15                  A        Yeah,    but I wasn't there when

16         these pictures were taken.

17                  Q        But you observed what the

18         pictures depict and you looked at these

19         pictures before.

20                           Now,    at the time that you were

21         there,   no one prevented you from looking at

22         the left side of her head; did they?

23                  A        No,    but I didn't

24                  Q        No one prevented you from

25         seeing the portion of her ear that was



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     1                                    K.   James    McCready           256

     2         smashed off,      right?

     3                  A      Nobody prevented me from seeing

     4         anything but

     5                         MR.     DUNNE:    Let him finish.

     6                  A      These photos are taken with

     7         flash and everything else.               I, mean,   you

     8         know,   I could see but it wasn't as clear as

     9         these photographs are.

    10                  Q        I thought it was bright light,

    11         perfectly light, TV set

    12                         MR.     DUNNE:     No,   Bruce, he

    13                  qualified it with the flash.
)
    14                  A        You could see her clearly but I

    15         couldn't see the detail of her injuries in

    16         terms of -- and besides,           I thought there was

    17         another photo where -- I don't know where

    18         that picture is.          I remember a big gash.

    19                  Q        Well,    you would agree with me

    20         in looking at it -- and we're looking now at

    21         93 -- the most obvious injury there is to

    22         the left side of her head.               It has blood and

    23         it's obviously--

    24                  A        Yeah, but --

    25                           MR.   DUNNE:     I'm objecting to



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     1                                   K.   James   McCready             25 7
)
     2                  the form.       That's your

     3                  characterization of what you're

     4                  looking at in the picture.

     5                  Q        I'm asking if you would agree

     6         with me about the characterization.                You're
     7         not saying to me that you're looking at

     8         these pictures --

     9                  A        I'm not sure what I'm seeing

    10         here because

    11                  Q        You don't think that's

    12         obviously injuries to the left side of her

    13         head?

    14                  A        Oh,   I see this here

    15         (indicating), but I can't see what was

    16         actually over there        (indicating)

    17                  Q        You can't see it in the

    18         photograph because you can't bend around.

    19         It's not three dimensional but at the time

    20         you were able to look at her,            right?

    21                  A        Yes, but I don't recall seeing

    22         it.

    23                  Q        You don't recall seeing that

    24         her head was smashed in on the left side?

    25                  A        No.



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     1                                   K.   James   McCready             258

     2                  Q      I mean Rein,        I think,   said the

     3        same thing.        I don't know if he observed it

     4        or not but you're there and you're telling

     5        us,   really, that you didn't know that she

     6        was bludgeoned in the head after looking at

     7         her in person?

     8                         MR.     DUNNE:     I think he asked

     9                  and answered that.

    10                  Q        Is that what you're saying?

    11                  A        I didn't notice.

    12                  Q      Maybe you just -- Did you

    13         forget what it was and now that you're
)
    14         looking at the pictures you remember that

    15         she actually had her head smashed in?

    16                  A        No.    I didn't notice.          I didn't

    17         make note of it at the time and I don't

    18                  Q        Whether you made note --

    19                  A        From what I saw,       I only thought

    20         that she was stabbed,            cut, whatever.

    21                  Q        Well, whether you made note of

    22         it or not, the information; i.e.,              literally,

    23         the victim was available to you to see,

    24         correct?

)   25                  A        At what?



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         1                                      K.   James   McCready              259

         2                   Q       The time that you were in the

         3         room this information, the facts about her

         4         head being hit on the left side,                that was

         5         available to you.            You could have seen it

         6         whether you say you did or didn't see it?

         7                   A       I didn't see it.

         8                           MR.     DUNNE:     Objection to the

         9                   form and he's answered the question

        10                   four times now.

        11                           MR. BARKET:         He's saying he

        12                   didn't see it.

        13                           MR.     DUNNE:     Right.
    )
        14                   A       I     just remember the slashes or

        15         whatever.       I didn't know exactly what -- And

        16         as I said,      I don't go touching, moving

        17         bodies.       We don't do that.

        18                   Q       Neither does a photographer,

        19         right?

        20                   A       Right, but I didn't know about

        21         any head injuries.

        22                   Q       Well,      I've heard your testimony

        23         and I heard Rein's testimony in that and

        24         I've read Sergeant Doyle's testimony that

)       25         he --



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     1                                   K.   James   McCready            2 60

     2                           MR.   DUNNE:    Do we have a

     3                  question?

     4                  Q        -- is not sure.       What I'm

     5         asking you is that nothing prevented you

     6         from observing the injuries that are clearly

     7         depicted in these photographs,            right?

     8                           MR.   DUNNE:    And he already

     9                  answered that.

    10                  A        I didn't see it.       What am I

    11         going to tell you?         I didn't notice.          I

    12         didn't realize that there was blunt force or

    13         however you want to phrase it injuries.

    14                  Q        In the bedroom, when you looked

    15         around -- I want to show you the photographs

    16         of the bedroom.         What do you recall from the

    17         bedroom?     The bed,     yes?

    18                  A        Yeah.

    19                  Q        The

    20                  A        Oh, that obviously there was an

    21         obvious struggle in there.

    22                  Q        No,   no, no,   I'm talking about

    23         Marty's bedroom.

    24                  A        Yeah,   I don't --

)   25                  Q        Well,   you actually -- Let me go



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     1                                    K.   James    McCready             261

     2         back to the obvious struggle.                Obvious

     3         struggle between whom and where?

     4                  A        In this room,         in the master

     5         bedroom.

     6                  Q        Between Arlene Tankleff and her

     7         attacker or attackers?

     8                  A        Yes.

     9                  Q        And as it turns out she had

    10         some defensive wounds on her arms,                correct?

    11                  A        Yes.

    12                  Q        And her knuckles were bruised

    13         as well,     right?

    14                  A        I believe so.

    15                  Q        She was,      I think,     5'10,

    16         191 pounds;     is that what the autopsy said?

    17                  A        I ' l l have to take your word for

    18         it.   I don't know.

    19                           MR.    DUNNE:     Bruce,    you have a

    20                  breaking point at some point?                 I'm

    21                  getting close.            If you're going to

    22                  go into the autopsy that's probably

    23                  going to be lengthy,            right?

    24                           MR.    BARKET:     That's okay.        Let

)   25                  me wrap this up.



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     1                                    K.   James     McCready            262
)
     2                  Q        Actually,       5' 6,   191 pounds?

     3                  A        Okay.

     4                  Q        Marty didn't have a single

     5         scratch on him; did he?

     6                  A        Not that I'm aware of, no.

     7                  Q        You actually examined him?

     8                  A        Right.

     9                  Q        And had pictures taken of him,

    10         right?

    11                  A        Yes.

    12                           MR. BARKET:         And could I have

    13                  these two marked,           please.

    14                           (Whereupon,       Plaintiff's

    15                  Exhibits 95 and 96 were marked for

    16                  identification.)

    17                  Q        I want to show you these two

    18         pictures.     This is Marty at the headquarters

    19         after you all interrogated him,                right?

    20                  A        Yes.

    21                  Q        Looking at his face there,

    22         would it be fair to say that that's kind of

    23         a quintessential "deer in the headlights"

    24         look?

    25                           MR.    DUNNE:     Objection to the



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      1                                   K.   James   McCready             263
)
      2                  form of that question.

      3                  Q        Look at Marty's face.

      4                  A        Which one?     Which picture?

      5         This one     (indicating)?

      6                  Q        Yeah.

      7                  A        What about him?

      8                  Q        Does he look stunned or shocked

      9         to you there?

     10                  A        Yes.

     11                  Q        How about the other pictures,

     12         does he looked stunned or shocked?

     13
)                        A        Well,   it seem to me he always

     14         looked like that.

     15                  Q        That's the way you observed him

     16         at the time when you pulled up?

     17                  A        What's that?

     18                  Q        That's the way you observed him

     19         at 8:30 in the morning when you pulled up,

     20         that same blank expression?

     21                  A        He had the same blank

     22         expression on his face at the trial.                 It

     23         didn't change.       I mean he's still got it

     24         right now.

_)   25                           MR. BARKET:     Okay.     Thanks.



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 1                                  K.    James    McCready            264

 2                  We're good.

 3                         THE VIDEOGRAPHER:          We're off

 4                  record at 5:05p.m.

 5                          (Time noted:          5:05p.m.)

 6

 7

 8

 9                                       K.   JAMES McCREADY

10

11              Subscribed and sworn to before me

12              this       day of ----------' 2013.

13

14

15

16             NOTARY PUBLIC

17

18

19

20

21

22

23

24

25



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     1                                                                    266
)
     2        ERRATA SHEET FOR THE TRANSCRIPT OF:
              Case Name:   Martin Tankleff vs
     3        The County of Suffolk
              Deposition Date: December 11, 2012
     4        Witness:   K. James McCready

     5
                                       CORRECTIONS
     6
               PG    LN     NOW READS      SHOULD READ      REASON FOR
     7

     8

     9

    10

    11

    12

    13
)
    14

    15

    16

    17

    18

    19

    20

    21
                                           Signature
    22

    23
               Subscribed and sworn to before me
    24         this ______ day of _________ , 2013.

    25
                          (NOTARY PUBLIC)


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     1                                                                    267
)
     2                                    CERTIFICATION

     3                  I,   DOLLY FEVOLA, a Notary Public in

     4        and for the State of New York,            do hereby certify:

     5                  THAT the witness whose testimony is herein

     6        before set forth,        was duly sworn by me; and

     7                  THAT the within transcript is a true record

     8         of the testimony given by said witness.

     9                  I further certify that I am not related,

    10         either by blood or marriage,           to any of the parties

    11         to this action; and

    12                  THAT I am in no way interested in

    13         the outcome of this matter.
)
    14                  IN WITNESS WHEREOF,        I have hereunto

    15         set my hand this 17th day of January,               2013.

    16

    17

    18                              __;Q'!!_~!f-d:!c_~>,_
    19                                       DOLLY FEVOLA

    20

    21

    22

    23

    24

    25



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